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                            United States District Court
                            Eastern District of Michigan


 PUBLIC INTEREST LEGAL
 FOUNDATION,

                                            Plaintiff,
    v.

 JANICE M. WINFREY, in her official Civ. No. 19-___________
 capacity as Detroit City Clerk, and GEORGE
 AZZOUZ, in his official capacity as Director of
 Elections for the City of Detroit,

                                        Defendants.

                  Complaint for Declaratory and Injunctive Relief

         Plaintiff Public Interest Legal Foundation (“Plaintiff” or “Foundation”), by

and through its attorneys, brings this action for violations of Section 8 of the National

Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20507, against Janice M.

Winfrey, in her official capacity as the Detroit City Clerk, and George Azzouz, in

his official capacity as Director of Elections for the City of Detroit. In support of its

action, the Foundation shows the Court as follows:

                        JURISDICTION AND VENUE

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331, as the action arises under the laws of the United States. This Court also has

jurisdiction under 52 U.S.C. § 20510(b), as the action seeks injunctive and

declaratory relief under the NVRA.
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       2.    Venue in this Court is proper under 28 U.S.C. § 1391(b), because a

substantial part of the events or omissions giving rise to the claim occurred in this

district.

                                  PARTIES

       3.    The Plaintiff, the Public Interest Legal Foundation, Inc., (the

“Foundation”) is a non-partisan, nonprofit, public interest organization incorporated

and based in Indianapolis, Indiana. The Foundation seeks to promote the integrity of

elections nationwide through research, education, remedial programs, and litigation.

The Foundation has dedicated significant time and resources to ensure that voter

rolls in the City of Detroit are free from ineligible registrants. The Foundation

produces and disseminates reports, articles, blog and social media posts, and

newsletters in order to advance the public education aspect of its organizational

mission.

       4.    Defendant Janice M. Winfrey is the City Clerk for the City of Detroit.

The City Clerk is the “Chief Elections Officer of the City.” City of Detroit, City

Clerk, https://detroitmi.gov/government/city-clerk. In Michigan, “[c]ity and

township clerks maintain the registration records for their respective jurisdictions

and are responsible for administering all federal, state, county and local elections.”

Michigan’s Elections System Structure Overview, MICH. SEC’Y               OF   STATE,

https://www.michigan.gov/sos/0,4670,7-127-1633_8716-27476--,00.html.


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Defendant Winfrey oversees and maintains Detroit’s voter registration records and

is responsible for executing state and federal laws that require the removal of

ineligible registrants, such as the NVRA. According to the City Clerk’s website,

“Among the City Clerk’s powers and duties are: … 5. To give such notices of all

registrations and elections and to perform duties prescribed in connection with such

registration and elections.” City of Detroit, City Clerk, https://detroitmi.gov/

government/city-clerk.

      5.     Defendant George Azzouz is the Director of Elections for the City of

Detroit. “Under the direction of the City Clerk and in accordance with general

policies of the Election Commission, the Director shall supervise, plan and monitor

all activities and operations incidental to the conduct of elections and voter

registration.” Detroit City Code Sec. 3-104.

      6.     All Defendants are sued in their official capacities only.

                           FACTUAL BACKGROUND

Statutory Background

      7.     Section 8 of NVRA requires states to “conduct a general program that

makes a reasonable effort to remove the names of ineligible voters from the official

lists of eligible voters by reason of – (A) the death of the registrant; or (B) a change

in the residence of the registrant[.]” 52 U.S.C. § 20507(a)(4).




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      8.     Section 8 of the NVRA also requires that states shall “complete, not

later than 90 days prior to the date of a primary or general election for Federal office,

any program the purpose of which is to systematically remove the names of

ineligible voters from the official lists of eligible voters.” 52 U.S.C.

§ 20507(c)(2)(A). Section 8 of the NVRA mandates that any such list maintenance

programs or activities “shall be uniform, nondiscriminatory, and in compliance with

the Voting Rights Act of 1965 (52 U.S.C. § 10301 et seq.).” 52 U.S.C.

§ 20507(b)(1).

      9.     Upon information and belief, Defendants are not complying with the

above-referenced federal-law requirements in performing their duties to maintain the

City of Detroit’s voter rolls, including but not limited to failing to conduct lawful

programs to remove ineligible registrants from the voter rolls by reason of the death

of the registrant. As a result, the City of Detroit’s voter rolls contain thousands of

ineligible deceased registrants, some who have been dead for extraordinary amounts

of time, and the Defendants do not have a reasonable list maintenance program to

detect and remove deceased registrants from the rolls.

      10.    Defendants are responsible for allowing these circumstances to occur

and persist. By failing to implement a program that takes reasonable steps to cure

these circumstances, Defendants have violated and are continuing to violate the

NVRA and other federal voter list maintenance statutes.


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      11.    As an integral part of its public interest mission, the Foundation

disseminates information about compliance by state and local officials with federal

election statutes, including election integrity statutes. A central activity of the

Foundation is to promote election integrity and compliance with federal and state

statutes which ensure the integrity of elections. Defendants’ violations of the NVRA

have impaired and will continue to impair the Foundation from carrying out this

mission, and thus the Foundation has itself has been harmed and continues to be

harmed by Defendants’ noncompliance with the NVRA.

      12.    The failure of the Defendants to comply with their obligations under

federal voter registration laws has undermined the confidence of Detroit’s properly

registered voters in the integrity of the voter registration rolls and, accordingly, has

undermined the integrity of elections held both within the City of Detroit and across

the State of Michigan.

Defendants’ Obligation to Conduct List Maintenance

      13.    Defendants are responsible for maintaining Detroit’s voter rolls. “City

and township clerks maintain the voter registration records for their respective

jurisdictions and are responsible for administering all federal, state, county, city,

township and village elections.” Michigan Election Officials’ Manual, Chapter 1,

page 5, available at https://www.michigan.gov/documents/sos/I_Structure_of_

MI_Elections_System_265982_7.pdf.


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       14.    Michigan law provides guidance for how Defendants are to maintain

the voter rolls:

       (1)    A clerk may conduct a program to register qualified electors or
              to remove names of registered voters who are no longer qualified
              to vote in the city or township from the registration records of
              that city or township. A clerk who conducts a program to register
              voters or to remove names under this section shall administer the
              program in a uniform manner to the entire city or township. The
              clerk shall use nondiscriminatory procedures that comply with
              the requirements of the voting rights act of 1965, Public Law 89-
              110, 79 Stat. 437.

       (2)    The clerk shall complete any program to remove names
              conducted under this section 90 days or more before the date of
              a federal election. The 90-day deadline under this subsection
              does not apply to the removal of names from the registration
              records of a city or township under 1 of the following
              circumstances:

              (a) At the request or authorization of a voter.
              (b) Upon the death of a voter.
              (c) Upon notice that a voter has moved from the city or township
              and has completed an application at the new address.

       (3)    Subject to the requirements of this section, a clerk may use 1 or
              more of the following to conduct a program to register voters or
              remove names under this section:
              (a) A house-to-house canvass.
              (b) A general mailing to voters for address verifications.
              (c) Participation in the national change of address program
                    established by the postal service.
              (d) Other means the clerk considers appropriate.

MICH. COMP. LAWS § 168.509dd.

       15.    According to Michigan law, “The secretary of state shall notify each

clerk of the following information regarding residents or former residents of the

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clerk’s city or township: … (c) Death notices received by the secretary of state.”

MICH. COMP. LAWS § 168.509z.

      16.    Pursuant to Michigan law,

      At least once a month, the county clerk shall forward a list of the last
      known address and birth date of all persons over 18 years of age who
      have died within the county to the clerk of each city or township within
      the county. The city or township clerk shall compare this list with the
      registration records and cancel the registration of all deceased electors.

MICH. COMP. LAWS § 168.510.

      17.    Michigan law provides that “[t]he several township, city and village

clerks may conduct a house-to-house canvass or use such other means of checking

the correctness of registration records as may seem expedient.” MICH. COMP. LAWS

§ 168.515.

      18.    The Michigan Election Officials’ Manual is a document that “is

designed to serve as a lasting information resource on election related matters.”

Introduction,   Michigan       Election    Officials’     Manual,     available    at

https://www.michigan.gov/documents/sos/June_2011_Clerk_Accredi_Manual_

Cover-Content_362765_7.pdf. Pursuant to the Michigan Election Officials’ Manual,

Defendant Winfrey is “authorized to cancel a voter’s registration record” under

certain circumstances, including but not limited to when she “receives or obtains

information that the voter has died.” Michigan Election Officials’ Manual, Chapter

2, Page 20, available at https://www.michigan.gov/documents/sos/II_Voter_


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Registration_265983_7.pdf. The Michigan Election Officials’ Manual provides the

following examples of sources for such information: “QVF inbox notification;

county clerk; death notices published in newspaper; personal firsthand knowledge.”

Id.

      19.    Michigan’s State Plan under the Help America Vote Act further

demonstrates that local election officials such as Defendants are charged with

complying with the NVRA. For example, Michigan’s State Plan states that “[i]n

order to provide local election officials with the tools to comply with the National

Voter Registration Act (NVRA), the State of Michigan enhanced the [Qualified

Voter File] to automate the cancellation process….the QVF will automatically

forward lists of registered voters subject to cancellation to each election official.”

Publication of State Plan Pursuant to the Help America Vote Act, 70 FR 69530,

69546 (Nov. 16, 2005).

Evidence of the City of Detroit’s Unreasonable List Maintenance Efforts

      20.    According to the official results for the November 8, 2016 general

election, the City of Detroit had 511,786 registrants. https://detroitmi.gov/

document/november-8-2016-official-general-election-results. According to the U.S.

Census Bureau’s 2016 American Community Survey 1-year Estimates, the City of

Detroit had a citizen, voting-age population of approximately 479,267. American




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Community Survey estimates available at https://factfinder.census.gov. Based on

this data, Detroit has more registered voters than adult citizens of voting age (106%).

       21.   An analysis by a third-party data firm indicates that Detroit’s

implausible registration rate has persisted for many years. Crain’s Detroit Business,

Detroit has more registered voters than residents over 18, Census finds, Aug. 22,

2011, available at https://www.crainsdetroit.com/article/20110822/BLOG097/

110829985/detroit-has-more-registered-voters-than-residents-over-18-census.

“Detroit’s voter rolls have been plagued by duplicate, incorrect or invalid

registrations for a long time, and bringing the lists into compliance is a Herculean

task.” Id.

       22.   Detroit’s inflated registration rates are indicative of obsolete and

inaccurate registrations, including registrants who are ineligible by reason of death,

relocation, or non-U.S. citizenship.

The Foundation’s Efforts to Remedy the Problems on Detroit’s Rolls

       23.   If bringing the City of Detroit’s list maintenance practices into

compliance with the NVRA is a Herculean task, then the Foundation is Iolaus due

to the extraordinary measures the Foundation has taken in order to help Defendants

remedy the problems with Detroit’s voter rolls.

       24.   The Foundation first started to attempt to cure problems with Detroit’s

list maintenance practices when it requested list maintenance records from the City


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of Detroit on October 3, 2017, more than two years prior to the filing of this

Complaint.

      25.    During 2018, the Foundation continued probing the reasons for the City

of Detroit’s inflated registration rates.

      26.    In 2019, the Foundation purchased the State of Michigan’s entire voter

roll as of April 1, 2019.

      27.    The Foundation analyzed the City of Detroit’s official voter registration

list from the April 1, 2019 State of Michigan voter roll (hereinafter “Detroit’s voter

registration list”). The Foundation then identified records listing years of birth

indicating registrants of 105 years of age and older, with some records listing dates

of birth in the nineteenth century. According to the Foundation’s research, the oldest,

active registrant in the City of Detroit was purportedly born in 1823, 14 years before

Michigan was admitted to the Union as the 26th state.

      28.    The Foundation also checked birthdates from Detroit’s voter

registration list against records in the Social Security Death Index. After matching

other biographical information, the Foundation found a significant number of

deceased registrants whose registrations should have been canceled, but remain

registered to vote in Detroit. Some have been registered to vote for an extraordinary

length of time after passing. This indicates systematic list maintenance failures,

including a failure to investigate and act on official leads from the Secretary of State,


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MICH. COMP. LAWS § 168.509z, and county clerks, MICH. COMP. LAWS § 168.510,

and a failure to conduct periodic, manual review of the voter file to identify

implausible and impossible dates of birth.

      29.      Conversely, a review of the same data found that at least one minor

registered to vote well before the allowable age of 17 ½.

      30.      The Foundation’s analysis also found apparent duplicate and triplicate

 registrations for the same person. Such duplicate and triplicate registrations

 demonstrate that Detroit is allowing the same individuals to register to vote multiple

 times and thus is failing to implement a reasonable list maintenance program. Based

 on the Foundation’s research, Defendants are not doing an adequate job checking

 for existing registrations and/or not cancelling previous registrations when found.

 Such duplicate registrations are in direct violation of MICH. COMP. LAWS §

 168.505(l).

      31.      On May 23, 2019, the Foundation sent a statutory notice letter to

Defendant Winfrey pursuant to 52 U.S.C. § 20510(b), notifying her that the City of

Detroit was in violation of the NVRA. A true and accurate copy of the statutory

notice letter is attached hereto as Exhibit A (hereinafter “Notice Letter”). The Notice

Letter informed Defendant Winfrey “that the City of Detroit is not in compliance

with Section 8.” Exhibit A at 1. The Notice Letter explained that, the Foundation’s

“review of Detroit’s official registration list indicates that [Defendant Winfrey’s]


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office is not making a reasonable effort to remove the names of deceased registrants,

as required by the NVRA.” Id. at 2. The Notice Letter also stated that, based on the

Foundation’s research, “it appears [Defendant Winfrey’s] office is not doing an

adequate job checking for existing registrations and/or not cancelling previous

registrations when found.” Id. at 3.

      32.    The Notice Letter also included a request to inspect certain list

maintenance records pursuant to the NVRA. Id. at 4-6.

      33.    Pursuant to 52 U.S.C. § 20510(b)(1), also on May 23, 2019, the

Foundation mailed the Notice Letter to the Michigan Secretary of State, the chief

election official of Michigan. See, Exhibit A at 6.

      34.    The Notice Letter also stated that a lawsuit may be brought to ensure

compliance with the requirements of the NVRA. Id. at 3-4.

      35.    The Foundation did not receive a response from Defendants regarding

the Notice Letter.

      36.    On July 8, 2019, the Foundation again wrote to Defendant Winfrey,

informing her that “Detroit is engaged in ongoing violations of the NVRA and

Michigan law.” A true and correct copy of the letter is attached hereto as Exhibit B.

The Foundation also stated that “[a]ction must be taken immediately to ensure that

Detroit’s registration lists are current and accurate for elections in 2019, 2020 and




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beyond. Our representatives plan to visit your office on July 30, 2019.” Id.

(emphasis in original).

      37.    Defendant Azzouz responded by email on July 9, 2019. A true and

correct copy of the email is attached hereto as Exhibit C. Defendant Azzouz stated

that the office has “been gathering data for [the Foundation’s] review since [the

office] received [the Foundation’s] request.” Exhibit C at 2. Mr. Azzouz also

confirmed the Foundation’s visit on July 30, 2019. Id.

      38.    On July 30, 2019, two representatives of the Foundation drove the

nearly 300 miles from the Foundation’s office to Defendants’ office in Detroit to

discuss the need for remedial action. Defendant Azzouz and another member of

Defendant Winfrey’s staff met with the representatives of the Foundation. During

the meeting, Defendant Azzouz admitted that the registrant identified by the

Foundation in the Notice Letter as purportedly born in 1823 was still registered to

vote in Detroit. Defendant Azzouz did not commit to taking any remedial action.

      39.    The Foundation also purchased access to third party databases,

including the Social Security Death Index, obituary databases, and other verifiable

death records. Access to such databases is priced per individual researched. The

Foundation is a nonprofit organization. Therefore, in order to conserve resources,

the Foundation narrowed the Detroit’s voter registration list to only those registrants




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exceeding 85 years in age. The Foundation then compared that extract against the

verifiable death record databases.

      40.    The Foundation compiled the information from its research in

spreadsheets, which included, inter alia, the name, address, voter identification

number, and date of death for each likely deceased registrant and the list of all likely

duplicated registrations. On September 13, 2019, the Foundation sent Defendants

this information. A copy of the letter sent is attached hereto as Exhibit D (with

certain information redacted for this filing). The Foundation requested a follow-up

meeting to discuss the Defendants’ remedial actions.

      41.    The Foundation’s research resulted in a list of 2,503 registrants who are

indicated as deceased in one or more databases of death records. Exhibit D at 2. See

also, Exhibit E (an accurate representation of the list of names of likely deceased

registrants provided to the Defendants, including only the first name and last initial,

and with other personal information removed or redacted for this filing).

      42.    The Foundation separated the list of names into two categories. The

first category contained 2,138 registrants that were either matched against the Social

Security Death Index alone or the Social Security Death Index and an obituary. See

Exhibit E at 1-47. The second category contained 365 registrants that were matched

against an obituary or other verifiable death records. Exhibit E at 48-55.




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      43.    Of the registrants flagged by the Foundation as likely deceased, sixty-

five percent, or 1629 registrants, have been deceased for more than 10 years. Of

those, 898 registrants have been deceased for more than 15 years, 324 registrants

have been deceased for more than 20 years, and 13 have been deceased for more

than 25 years.

      44.    The Foundation’s research is replicable. The Defendants could have

found the same information online for the purpose of maintaining the City of

Detroit’s voter rolls. For example, the Foundation located obituaries published in

local newspapers. See, e.g., Exhibit D at 3. The Foundation, through a simple

internet search, was also able to find a picture of the grave marker for one individual

included on the Foundation’s list of likely deceased registrants. See Exhibit F. The

Defendants could find the same information and use it to conduct voter list

maintenance. See Michigan Election Officials’ Manual, Chapter 2, Page 20

(“VOTER REGISTRATION CANCELLATIONS: A clerk is only authorized to

cancel a voter’s registration record under the following circumstances…• The clerk

receives or obtains information that the voter has died.”)

      45.    The Defendants have many tools available to conduct list maintenance

and, yet, they are failing to reasonably maintain the City of Detroit’s voter rolls.




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      46.      On information and belief, the actual number of registrants who are

likely deceased is higher than the 2,503 found in the Foundation’s limited search of

registrants aged 85 and older.

      47.      The Foundation also expended staff time to examine the City of

Detroit’s voter rolls for likely duplicate entries by identifying registrations with

identical or closely matching names, addresses, and birthdates. The Foundation’s

comparison yielded a list of 2,384 entries that are likely duplicates or triplicates.

Exhibit D at 4. See also, Exhibit G (an accurate representation of the list of names

of likely duplicate or triplicate registrants provided to the Defendants, including only

the first name and last initial, and with other personal information removed or

redacted for this filing.) The Foundation took the added step of cataloging the likely

duplicate and triplicate registrations into categories based on patterns identified

within the data. For example, the Foundation found 301 entries where the

information on the voter roll was identical. Exhibit D at 4. The Foundation also

found 289 entries with a likely clerical typographical error. Id.

      48.      The Defendants did not respond to the Foundation’s September 13,

2019 letter.

      49.      On October 10, 2019, the Foundation emailed the Defendants,

requesting information on actions taken in response to the research provided by the

Foundation. A true and correct copy of the email is attached hereto as Exhibit H.


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      50.    The Defendants did not respond to the Foundation’s email dated

October 10, 2019.

      51.    On November 4, 2019, the Foundation again emailed the Defendants

regarding the research provided concerning potentially deceased registrants on

Detroit’s voter rolls. Exhibit H at 1-2. The Foundation stated that representatives

planned to visit the office on November 15, 2019. On November 5, 2019, a member

of Defendants’ staff responded stating that she would check her colleagues’

schedules and respond by the end of the week. Id. at 1. After the time period provided

by the staff member for a response lapsed with no further communications, the

Foundation again emailed the Defendants stating its intention to visit the office on

November 15, 2019 to discuss list maintenance records and seek to implement a

remedy to cure Detroit’s practice of failing to remove ineligible registrants. Id.

      52.    On November 15, 2019, two representatives of the Foundation again

drove the nearly 300 miles from the Foundation’s office to Defendants’ office in

Detroit. The representatives met with Defendant Azzouz. Only after arriving was the

Foundation informed that Defendant Winfrey was not in the office.

      53.    Defendant Azzouz informed the Foundation that Defendants forwarded

the Foundation’s spreadsheet regarding likely duplicate registrations to the Secretary

of State’s office and had done nothing further regarding that information.




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      54.    Defendant Azzouz informed the Foundation that Defendants had taken

no action regarding the spreadsheet containing likely deceased registrants. When

asked what action would be taken, Defendant Azzouz did not commit to taking any

remedial action and indicated that he would need to speak with Defendant Winfrey.

The Foundation has not received any further correspondence from Defendants.

      55.    On November 22, 2019, over two years since its first request for

information and nearly six months after its Notice Letter, the Foundation sent

Defendants one final letter stating that legal action would follow unless Defendants

reach some type of plan to remedy these failures to conduct reasonable list

maintenance and remove deceased registrants, those who have moved and those who

are ineligible to vote ab initio by November 29, 2019. A true and correct copy of the

letter sent is attached hereto as Exhibit I. The Foundation did not receive a response.

      56.    On information and belief, Defendants have not taken any remedial

action regarding the evidence of potentially deceased, ineligible and duplicate

registrants provided by the Foundation.

      57.    The Foundation has spent considerable time and financial resources in

an effort to improve voter rolls in the City of Detroit. Defendants’ inaction has

harmed and continues to harm the Foundation.

      58.    As part of its mission, Plaintiff Foundation reviews voter rolls across

the country, including but not limited to those in the City of Detroit, to determine


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that registered voters are eligible to vote based on the requirements of state and

federal law.

       59.     For example, in 2018, the Foundation released a report entitled “Motor

City Mayhem” that detailed its research into Michigan’s voter registration rolls. The

report showed how noncitizens were caught within Michigan’s voter registration

process—particularly in the Detroit metro area. The report also explained problems

related to voter duplication and implausibly old dates of birth listed on active

registration files.

       60.     Defendant’s failure to take reasonable efforts to remove ineligible

registrants for the registrations rolls in the City of Detroit caused the Foundation to

divert financial resources to identify concrete examples for Defendants. Defendants’

failure to act upon the evidence provided by the Foundation caused the Foundation

to expend additional time and money in order to attempt to remedy the problem.

Defendants’ ongoing failure to comply with the NVRA continues to frustrate,

impede, and harm the efforts of the Foundation.

                                       COUNT I

          (Violation of the NVRA: Failure to Conduct List Maintenance)

       61.     Plaintiff Foundation realleges paragraphs 1 through 60 as if fully stated

herein.




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      62.    Defendants have failed to make reasonable efforts to conduct voter list

maintenance programs, in violation of Section 8 of NVRA, 52 U.S.C. § 20507.

      63.    Plaintiff Foundation has suffered an irreparable injury as a direct result

of Defendants’ violation of Section 8 of the NVRA, 52 U.S.C. § 20507. Defendants’

failure to comply with the NVRA has aggrieved and continues to aggrieve Plaintiff

by impairing its essential and core mission of fostering compliance with federal

election laws, promotion of election integrity and avoiding vote dilution when

ineligible voters participate in elections. Defendants’ failure to comply with the

NVRA has caused and continues to cause Plaintiff pecuniary injury.

      64.    Plaintiff will continue to be injured by Defendants’ violations of

Section 8 of the NVRA because confidence in the legitimacy of elections in the City

of Detroit will be undermined unless and until Defendants are enjoined from

continuing to violate the law.

      65.    Plaintiff Foundation has no adequate remedy at law.


                          PRAYER FOR RELIEF

      WHEREFORE, the Foundation prays for entry of a judgment:

      1.     Declaring Defendants to be in violation of Section 8 of the NVRA;

      2.     Permanently enjoining Defendants from violating Section 8 of the

NVRA;



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       3.     Ordering the Defendants to develop and implement reasonable and

effective registration list maintenance programs to cure failures to comply with

Section 8 of the NVRA and ensure that ineligible registrants are not on the City of

Detroit’s rolls;

       4.     Ordering the Defendants to pay the Foundation’s reasonable attorney’s

fees, including litigation expenses and costs, pursuant to 52 U.S.C. § 20510(c); and

       5.     Granting the Foundation further relief that this Court deems just and

proper, including potential preliminary injunctive relief to ensure that Defendants’

failures to comply with Section 8 of the NVRA are cured prior to the 2020 primary

and general elections.


Dated: December 10, 2019               Respectfully submitted,


                                       For the Plaintiff Foundation:


                                       /s/ Robert L. Avers
                                       Robert L. Avers (P75396)
                                       DICKINSON WRIGHT PLLC
                                       350 S. Main Street
                                       Suite 300
                                       Ann Arbor, MI 48104
                                       Tel: (743) 623-1672
                                       Fax: (844) 670-6009
                                       ravers@dickinsonwright.com

                                       Kaylan L. Phillips*
                                       PUBLIC INTEREST LEGAL FOUNDATION
                                       32 E. Washington Street, Suite 1675

                                      21
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                                     Indianapolis, IN 46204
                                     Tel: (317) 203-5599
                                     Fax: (888) 815-5641
                                     kphillips@publicinterestlegal.org

                                     *Application for Admission Pending




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                           United States District Court
                           Eastern District of Michigan


    PUBLIC INTEREST LEGAL
    FOUNDATION,

                                          Plaintiff,
     v.

    JANICE M. WINFREY, in her official Civ. No. 19-___________
    capacity as Detroit City Clerk, and GEORGE
    AZZOUZ, in his official capacity as Director of
    Elections for the City of Detroit,

                                        Defendants.

                             INDEX OF EXHIBITS


Exhibit                   Description
A                         NVRA Notice Letter
B                         July 8, 2019 Letter
C                         July 2019 Email Chain
D                         September 13, 2019 Letter
E                         List of Registered Voters Who Are Likely Deceased
F                         Picture of Grave Marker
G                         List of Registered Voters Who Are Likely Duplicates
H                         October and November 2019 Email Chain
I                         November 22, 2019 Letter
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                                                  May 23, 2019

VIA FAX 313-224-1466
AND CERTIFIED MAIL
Ms. Janice M. Winfrey
Detroit City Clerk
Chairwoman, Detroit Election Commission
2 Woodward Ave., Ste. 200
Detroit, MI 48226

         Re:      Notice of Violation - National Voter Registration Act
                  Notice of Violation - Michigan Law
                  NVRA Request for Records

Dear Ms. Winfrey:

I am writing pursuant to 52 U.S.C. § 205010(b) to put you and the Michigan Secretary of State
on notice that the City of Detroit is not in compliance with Section 8 of the National Voter
Registration Act of 1993 (“NVRA”), which requires election officials to make a reasonable
effort to maintain voter registration lists that are free of dead registrants, free of registrants who
have moved to other jurisdictions, and to systematically remove the names of other ineligible
registrants. 52 U.S.C. §§ 20507(a)(3), (4)(A)-(B), 20507(c)(2)(A)-(B).

I.    Evidence of Inadequate List Maintenance

      1. Detroit’s Implausible Registration Rate

According to the official results for the November 8, 2016 general election, the City of Detroit
had 511,786 registrants.1 According to the U.S. Census Bureau’s 2016 American Community
Survey 1-year Estimates, the City of Detroit had a citizen, voting-age population of
approximately 479,267.2 Based on this data, Detroit has more registered voters than adult
citizens of voting age (106%). Using the data available for the 2012 general election, Detroit’s
registration rate exceeds 113% (568,854/500,188).3 Analysis by a third-party data firm indicates
that Detroit’s implausible registration rate has persisted for nearly a decade.4

Detroit’s inflated registration rates are indicative of obsolete and inaccurate registrations,
including registrants who are ineligible by reason of death, relocation, felony conviction, or non-


1
  https://detroitmi.gov/document/november-8-2016-official-general-election-results.
2
  American Community Survey estimates available at factfinder.census.gov.
3
  https://detroitmi.gov/document/november-6-2012-general-official-election-results-summary.
4
  Crain’s Detroit Business, Detroit has more registered voters than residents over 18, Census finds, Aug. 22, 2011,
available at https://www.crainsdetroit.com/article/20110822/BLOG097/110829985/detroit-has-more-registered-
voters-than-residents-over-18-census.

                     32 E. Washington Street, Suite 1675, Indianapolis, Indiana 46204
                  Telephone: 317.203.5599 Fax: 888.815.5641 PublicInterestLegal.org
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U.S. citizenship.5 Such extreme rates undermine public confidence in the electoral process and
should therefore prompt a response by using all available tools and technologies to address the
problem.

       2. Deceased Registrants and Implausible Dates of Birth

Our review of Detroit’s official registration list indicates your office is not making a reasonable
effort to remove the names of deceased registrants, as required by the NVRA. 52 U.S.C. §
20507(a)(4)(A). Using the City’s official voter roll extract from April 2019, we identified
records listing years of birth indicating ages of 105 and older, with some records listing dates of
birth in the nineteenth century. According to the City’s records, the oldest, active registrant was
purportedly born in 1823, 14 years before Michigan was admitted to the Union as the 26th state.
We first discovered and publicized this in October 2018 and are shocked to see this registrant is
still on the roll.6

We also checked birthdates against records in the Social Security Death Index. After matching
other biographical information, we found a significant number of deceased people whose
registrations should have been canceled, but remain registered to vote in Detroit. This indicates
systematic list maintenance failures, including a failure to investigate and act on official leads
from the Secretary of State, MCL § 168.509z, and county clerks, MCL § 168.510, and a failure
to conduct periodic, manual review of the voter file to identify implausible and impossible dates
of birth. Conversely, a review of the same data found that at least one minor registered to vote
well before the allowable age of 17 ½.

       3. Duplicate and Triplicate Registrations

Our analysis also found apparent duplicate and triplicate registrations for the same person.
Federal law requires that list maintenance be “conducted in a manner that ensures that . . .
duplicate names are eliminated from the computerized list” of registrants. 52 U.S.C. §
21083(a)(2)(B)(iii).

The NVRA requires your office to make a reasonable effort to remove the names of registrants
who have moved to a different jurisdiction or failed to respond to official mailings. 52 U.S.C. §
20507(a)(4)(B). The NVRA also requires cancellation for criminal conviction and mental
incapacity, as provided by state law. 52 U.S.C. § 20507(3)(B).7 When the same registrant is

5
  Federal courts have found that such an impossibly or implausibly high registration rate creates an inference that an
election official has neglected her duty to reasonably maintain an accurate and current voter registration roll. See
Am. Civ. Rights Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 793 (W.D. Tex. 2015) (finding a “strong
inference”); Bellitto v. Snipes, 302 F. Supp. 3d 1335, 1358 (S.D. Fla. 2017) (finding a “reasonable inference”); see
also Voter Integrity Project NC, Inc. v. Wake Cnty. Bd. of Elections, 301 F. Supp. 3d 612, 620 (E.D.N.C. 2017).
6
  PILF; Motor Voter Mayhem: Michigan’s Voter Rolls in Disrepair (October 22, 2018),
https://publicinterestlegal.org/blog/motor-voter-mayhem-michigans-voter-rolls-in-disrepair/
7
  Under Michigan law, “[a]n individual who is confined in a jail after being convicted and sentenced is not eligible
to register to vote.” MCL § 168.492a; see also MCL § 168.758b (“A person who, in a court of this or another state
or in a federal court, has been legally convicted and sentenced for a crime for which the penalty imposed is
confinement in jail or prison shall not vote, offer to vote, attempt to vote, or be permitted to vote at an election while
confined.”).
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listed more than once on the official list of eligible registrants, it risks the possibility that the
duplicate (or triplicate) entry will not be flagged for cancellation. In that regard, Detroit’s failure
to identify and investigate duplicate registrations is not “reasonable,” in violation of the NVRA.
52 U.S.C. § 20507(a)(4).

Furthermore, Michigan law places an affirmative duty on election officials to confirm whether an
applicant is already registered to vote, and if so, initiate the cancellation of the previous
registration:

        At the time an elector is applying for registration, the registration officer shall
        ascertain if the elector is already registered as an elector. If the elector is previously
        registered, the elector shall at the time of applying for registration sign an
        authorization to cancel a previous registration.

MCL § 168.505(1).

Based on our research, it appears your office is not doing an adequate job checking for existing
registrations and/or not cancelling previous registrations when found. Regardless, duplicate
registrations are in direct violation of MCL § 168.505(l). Further, MCL 168.509m(1)(d) provides
that voter registration laws exist “[t]o increase the integrity of the voting process by creating a
single qualified voter file that will permit the name of each citizen of this state to appear only once
and that is compiled from other state files that require citizens to verify their identity and
residence.” Thus, having duplicate and triplicate registrations on your voter roll is in direct
violation of Michigan law.

      4. Placeholder Registration Data

Perhaps part of the duplicate problem is the use of “placeholder” registration dates when some
applications are being processed. Whether it is to later identify applications that are duplicative,
or for some other reason, the date of “1/1/1900” appears as the registration date in multiple
duplicate voter registrations on the voter roll. If this is an internal tickler system to check for
previous applications, then it is not working. In any event, the use of fictitious dates within the
voter roll makes the roll inaccurate and incorrect. Purposely maintaining a voter roll that is
inaccurate and incorrect is a violation of the NVRA.

      5. Insufficient Address Confirmation Mailings

According to the most recent data received from the City, the number of confirmation notices
being sent is too low for the numbers of registrants on the roll. This is evident by the registration
rate being higher than the actual voting-age population in the city, as stated earlier. As you know,
change of address information, as well as other reliable indicators, trigger a mandatory
confirmation notice process under the NVRA in order to keep the roll current and accurate.

II.   Notice of Violations

This letter serves as your 90-day notice pursuant to the NVRA’s private-right-of-action
provision, 52. U.S.C. § 20510(b), of violations of Section 8 of the NVRA, 52 U.S.C. § 20507.
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The City of Detroit is engaged in ongoing violations of the NVRA and Michigan law. As the
City’s chief election official, you are responsible for ensuring that the City complies with the
NVRA and state law.

To in effort to avoid litigation, we are willing to discuss our findings with your office, help
identify why the violations are occurring and confirm how you plan to bring Detroit into
compliance with the law. In the absence of such a plan, we will have no alternative but to pursue
remedies through litigation.

As required by 52 U.S.C. § 20510(b)(1), the Secretary of State, Michigan’s chief election
official, is receiving notice of the aforementioned NVRA violations.

III. Request for Inspection of Records

Section 20507(i) of the NVRA requires your office to make available for public inspection “all
records concerning the implementation of programs and activities conducted for the purpose of
ensuring the accuracy and currency of official lists of eligible voters.” 52 U.S.C. § 20507(i).

Initial Requests

   1. Records or reports detailing the:
         a. number of new registration applications received for years 2014 to YTD 2018;
         b. number of non-duplicate rejected or invalid registrations received/processed for
            years 2014 to YTD 2018;
         c. the number of duplicate registrations identified and processed for merging/
            “purging” for years 2014 to YTD 2018;
         d. the number of registrant name or address changes for years 2014 to YTD 2018;
            and
         e. the number of pre-existing registrants who moved into from elsewhere in Florida
            for years 2014 to YTD 2018.

   2. Records indicating processes, policies, or procedures governing the detection and
      handling of registration records that appear to be duplicated.

   3. Records or reports detailing the number of registrants (delineating between active and
      inactive) able to participate in the following general elections:
          a. November 4, 2014;
          b. November 8, 2016; and
          c. November 6, 2018.

   4. Records or reports detailing the number of confirmation notices sent to registrants due to
      inactivity or evidence of outdated address for the years 2014 to date.
          a. Records or reports detailing the number of notices received back by your office
              confirming registration for the years 2014 to date.
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           b. Records or reports detailing the number of notices received back by your office
              asking that the registration in question should be invalidated or removed for the
              years 2014 to date.
           c. Records or reports detailing the number of notices returned back to your office as
              undeliverable for the years 2014 to date.
           d. Records or reports detailing the number of notices whose statuses were unknown
              for the years 2014 to date.

   5. Records or reports indicating the total number of records re-classified as INACTVE for
      the years 2014 to date.

   6. Records or reports detailing the total number of registrants removed from the rolls for the
      years 2014 to date.
         a. Records or reports detailing the number of registrants removed due to relocation
             outside of your jurisdiction for the years 2014 to date.
         b. Records or reports detailing the number of registrants removed due to death for
             the years 2014 to date.
         c. Records or reports detailing the number of registrants removed due to felony
             conviction for the years 2014 to date.
         d. Records or reports detailing the number of registrants removed due to official
             declaration of mental incompetence for the years 2014 to date.
         e. Records or reports detailing the number of registrants removed due to requests
             from registrants or their relatives/agents for any reasons outside of felony status,
             mental capacity, death, relocation, or eligibility for the years 2014 to date.

   7. Records or reports detailing the number of voter applicants without the requisite Social
      Security or driver’s license numbers whom are instead assigned unique identifiers
      pursuant to 52 U.S.C. § 21083(5)(A)(ii) and related state statutes/rules for the years 2014
      to date.

   8. Records or reports detailing the number of voter applicants providing unverifiable or
      invalid Social Security or driver’s license numbers identified pursuant to 52 U.S.C. §
      21083(5)(A)(iii) and related state statutes/rules for the years 2014 to date. These records
      would ideally contain indications as to which identifiers given were flagged for validity
      (without disclosing the actual ID numbers) with corresponding records revealing actions
      taken thereafter by the voter registrar to cure or resolve the discrepancies.

   9. Procedural guides or narrative descriptions governing when and how your Office is
      allowed to enter placeholder data within a registration file in the absence of data supplied
      by the prospective or current registrant (e.g. date of birth, name(s), date of registration,
      etc.).

Congress enacted Section 8 of the NVRA to protect the integrity of the electoral process.
Allowing the names of ineligible registrants to remain on the voting rolls harms the integrity of
the electoral process and undermines voter confidence in the legitimacy of elections.
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We urge you, as the chief election official for the City of Detroit, to take immediate steps to
bring the City into compliance with federal and state law by addressing the inaccuracies and
irregularities on Detroit’s official list of eligible registrants. Pursuant to Section 20507(i) of
NVRA, I request an opportunity to inspection such records when we meet to discuss a remedial
plan, or at another mutually agreeable time.

Should you need to contact the firm regarding this request, please contact me at
lchurchwell@publicinterestlegal.org.

Thank you for your service on this matter.

Sincerely,




Logan Churchwell
Communications & Research Director
Public Interest Legal Foundation
lchurchwell@publicinterestlegal.org


cc:

Jocelyn Benson
Secretary of State
Richard H. Austin Building
430 W. Allegan, 4th Floor
Lansing, MI 48933

Michigan Department of State
Bureau of Elections
Richard H. Austin Building
430 W. Allegan, 1st Floor
Lansing, MI 48933

Detroit Department of Elections
2978 W. Grand Blvd.
Detroit, MI 48202
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                                             July 8, 2019

VIA FAX 313-224-1466
AND CERTIFIED MAIL
Ms. Janice M. Winfrey
Detroit City Clerk
Chairwoman, Detroit Election Commission
2 Woodward Ave., Ste. 200
Detroit, MI 48226

       Re:     NVRA Violation and Inspection Visit

Dear Ms. Winfrey:

On May 23, 2019, we notified you and the Michigan Secretary of State that your office is not in
compliance with the list maintenance requirements of Section 8 of the National Voter
Registration Act of 1993 (“NVRA”) and certain Michigan laws (attached).

Our letter explained that the City of Detroit has persistently maintained registration lists that
include more registrants than adult citizens of voting age. We outlined specific areas where your
list maintenance programs and activities are deficient and offered to meet with you to discuss
how to remedy those ongoing problems. We also asked to inspect records concerning your list
maintenance activities pursuant to the NVRA’s public inspection rights. 52 U.S.C. § 20507(i).
We have not received any response from your office.

Action must be taken immediately to ensure that Detroit’s registration lists are current and
accurate for elections in 2019, 2020 and beyond. Our representatives plan to visit your office on
July 30, 2019. During our visit, we intend to review and make copies of records we have asked
to inspect, present our findings concerning Detroit’s list maintenance activities, and discuss a
remedial plan. If you are unavailable on July 30, please provide alternative dates that you are
available to meet with us. If we do not hear from you, we will assume July 30 is acceptable.

The City of Detroit is engaged in ongoing violations of the NVRA and Michigan law. As the
City’s chief election official, you are responsible for ensuring that the City complies with the
NVRA and state law. We prefer to resolve this matter without court intervention. However, if the
violations described in our May 23 notice letter are not corrected within 90 days of its receipt, we
will pursue legal remedies in federal court, as authorized by the NVRA. 52 U.S.C. §
20510(b)(2).

Should you need to contact us regarding this matter, please contact me at
lchurchwell@publicinterestlegal.org.

Thank you for your service on this matter.


                   32 E. Washington Street, Suite 1675, Indianapolis, Indiana 46204
                Telephone: 317.203.5599 Fax: 888.815.5641 PublicInterestLegal.org
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Sincerely,




Logan Churchwell
Communications & Research Director
Public Interest Legal Foundation
lchurchwell@publicinterestlegal.org


cc:

Jocelyn Benson
Secretary of State
Richard H. Austin Building
430 W. Allegan, 4th Floor
Lansing, MI 48933

Michigan Department of State
Bureau of Elections
Richard H. Austin Building
430 W. Allegan, 1st Floor
Lansing, MI 48933

Detroit Department of Elections
2978 W. Grand Blvd.
Detroit, MI 48202
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                        Exhibit C
                                                                      https://outlook.office.com/mail/search/id/AAQkADlmYmEwZGY4LTk...
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         RE: Notice of Violation - NVRA/ Notice of Violation - Michigan Law/ NVRA Request
         for Records
         George Azzouz <azzouzg@detroitmi.gov>
         Mon 7/29/2019 12:23
         To: Logan Churchwell <lchurchwell@PublicInterestLegal.org>
         Good a ernoon Mr. Churchwell,

         Please note that we will be available to meet with you and your colleagues at 11:00 am on the scheduled
         date.

         Thank you.




         From: Logan Churchwell [mailto:lchurchwell@PublicInterestLegal.org]
         Sent: Monday, July 29, 2019 11:01 AM
         To: George Azzouz <azzouzg@detroitmi.gov>
         Subject: Re: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records

         Open of business

         From: George Azzouz <azzouzg@detroitmi.gov>
         Sent: Monday, July 29, 2019 10:59:23 AM
         To: Logan Churchwell <lchurchwell@PublicInterestLegal.org>
         Subject: RE: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records

         It is, what me should we expect you

         From: Logan Churchwell [mailto:lchurchwell@PublicInterestLegal.org]
         Sent: Monday, July 29, 2019 10:27 AM
         To: George Azzouz
         Cc: Noel Johnson; Kaylan Phillips
         Subject: Re: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records

         Mr. Azzouz- Thank you, data received. I'm copying my colleagues Kaylan Phillips and Noel Johnson to
         this email. They will be on point for the visit tomorrow morning. Wan ng to verify: is the mee ng
         address at 2978 W. Grand Blvd.?
         Thanks

         From: George Azzouz <azzouzg@detroitmi.gov>
         Sent: Wednesday, July 10, 2019 15:29
         To: Logan Churchwell <lchurchwell@PublicInterestLegal.org>
         Subject: RE: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records

         Good a ernoon Mr. Churchwell,

         Per our email, the ﬂash drive with the requested informa on was mailed to you today, via cer ﬁed mail.


1 of 3                                                                                                                 12/3/2019, 10:54
                                                               https://outlook.office.com/mail/search/id/AAQkADlmYmEwZGY4LTk...
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         George Azzouz, Director
         Detroit Department of Elec ons
         2978 W. Grand Blvd
         Detroit, MI 48202
         (313) 876-0222
         azzouzg@detroitmi.gov


         From: Logan Churchwell [mailto:lchurchwell@PublicInterestLegal.org]
         Sent: Tuesday, July 09, 2019 4:55 PM
         To: George Azzouz <azzouzg@detroitmi.gov>
         Cc: Janice Winfrey <winfreyj@detroitmi.gov>; Gina Avery-Walker <averyg@detroitmi.gov>
         Subject: Re: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records


         Mr. Azzouz- glad to hear from you. Please send records to:

         ATTN: Noel Johnson
         PILF
         32 East Washington Street
         Suite 1675
         Indianapolis, IN 46204-3594


         From: George Azzouz <azzouzg@detroitmi.gov>
         Sent: Tuesday, July 9, 2019 16:32
         To: Logan Churchwell
         Cc: Janice Winfrey; Gina Avery-Walker
         Subject: No ce of Viola on - NVRA/ No ce of Viola on - Michigan Law/ NVRA Request for Records

         Good a ernoon Mr. Churchwell,

         I’m responding to the communica on sent to Detroit City Clerk Janice M. Winfrey on July 9, 2019
          regarding our vo ng records.

         I apologize for the delayed response. We have been gathering data for your review since we received
         your request. Please send me your address so that we can provide you with a ﬂash drive that
         contains the informa on you requested. We look forward to seeing you and discussing the
         informa on on July 30, 2019.

         Thank you.


         George Azzouz, Director
         Detroit Department of Elec ons
         2978 W. Grand Blvd
         Detroit, MI 48202
         (313) 876-0222



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                                                      https://outlook.office.com/mail/search/id/AAQkADlmYmEwZGY4LTk...
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         azzouzg@detroitmi.gov




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                        Exhibit E
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                 A            B
1    Last Name          First Name
2    S                  PEARL
3    G                  EVERETT
4    V                  FLORENCE
5    V                  IRENE
6    B                  SOPHIE
7    R                  THERESA
8    W                  CARRIE
9    B                  ALEXANDER
10   E                  ROSALIE
11   G                  ANNE
12   E                  LEONA
13   D                  THEODORE
14   P                  THOMAS
15   D                  GORDON
16   D                  LENORE
17   S                  MILDRED
18   R                  KATHERINE
19   H                  JOHN
20   J                  IRENE
21   M                  ANNA
22   R                  WILLIE
23   B                  IRMA
24   Y                  CLAUS
25   G                  EARNEST
26   S                  FRANCES
27   D                  JEROME
28   G                  LILLIAN
29   R                  EUGENE
30   G                  RUBY
31   W                  GENTLE
32   B                  WALTER
33   L                  JANE
34   H                  ANNIE
35   E                  LILLIAN
36   B                  EDMUND
37   F                  LIZZIE
38   L                  FRANCINE
39   H                  ROBERT
40   G                  ANTONIO
41   A                  CLEO
42   M                  EDWARD
43   J                  JAMES
44   N                  SEABRONE
45   B                  FRANCEOLA
46   B                  CHARLES
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            A                 B
47   J                  JAMES
48   H                  CLEARIE
49   L                  WILLA
50   G                  ANNIE
51   H                  LOUIS
52   E                  JAMES
53   L                  FRANK
54   D                  WARREN
55   C                  WILLIE
56   H                  JAMES
57   M                  HELEN
58   P                  DORA
59   L                  SELMA
60   I                  AMELIA
61   M                  BERTHA
62   B                  JAMES
63   D                  ROBERT
64   K                  FRANK
65   H                  TOMMY
66   U                  EMMA
67   D                  RUTH
68   L                  NATHANIEL
69   G                  LOLA
70   R                  LEONIA
71   J                  RUBEN
72   B                  JOHN
73   G                  DENNIS
74   S                  LEGERTHA
75   S                  ROBERT
76   D                  HENRY
77   B                  MARTHA
78   W                  LILLIAN
79   R                  GEORGE
80   W                  C
81   L                  DOLLIE
82   G                  ZIGMUND
83   S                  EVA
84   F                  STANLEY
85   G                  ELEANOR
86   L                  BERNA
87   L                  EVELYN
88   F                  RONALD
89   J                  MILTON
90   D                  STANLEY
91   D                  HENRY
92   B                  NAOMI
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             A                 B
 93   C                  VANDORA
 94   H                  BEN
 95   H                  VIRGINIA
 96   C                  WILLIE
 97   S                  MARY
 98   E                  MARY
 99   W                  MINER
100   J                  ARTHUR
101   W                  KEVIN
102   L                  RAYMOND
103   W                  DAN
104   G                  EDNA
105   M                  WILLIE
106   C                  GENELLA
107   R                  SOPHIA
108   B                  GERTRUDE
109   S                  CHESTER
110   E                  DAVE
111   B                  RANEY
112   F                  HELEN
113   A                  JENNIE
114   B                  RHEA
115   M                  NATHANIEL
116   P                  EARNEST
117   S                  HAROLD
118   S                  WILLIE
119   K                  DOROTHY
120   M                  MARY
121   P                  ANDREW
122   C                  RUBY
123   S                  CLOTELL
124   E                  ROSIE
125   P                  ANGIE
126   K                  ROSA
127   B                  ETHEL
128   C                  FLORENCE
129   T                  MARY
130   L                  KANIE
131   R                  FRANK
132   T                  KATHLEEN
133   P                  OSSIE
134   M                  MANUEL
135   J                  KATHERINE
136   H                  GEORGE
137   B                  JOHNNIE
138   E                  ELIJAH
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             A                 B
139   D                  MARY
140   P                  BERTHA
141   K                  RUBY
142   S                  MATTIE
143   S                  MARY
144   P                  FRED
145   W                  WILLIE
146   M                  GOLDIE
147   B                  ANNIE
148   S                  ROSE
149   B                  RUBY
150   D                  ANNE
151   M                  RUBEN
152   G                  BESSIE
153   B                  JEAN
154   L                  BERNICE
155   B                  IVORY
156   H                  BERTHA
157   E                  DELLA
158   P                  ODELLA
159   M                  SAMUEL
160   T                  HENRY
161   F                  UREL
162   U                  HATTIE
163   M                  NANNIE
164   M                  EVA
165   M                  EMMALINE
166   W                  MARY
167   T                  WALTER
168   K                  EARL
169   T                  EASTER
170   J                  LEONA
171   J                  LOUVENIA
172   G                  JAMES
173   M                  ODESSA
174   W                  EDDIE
175   K                  IRENE
176   H                  HELEN
177   C                  SAKIE
178   K                  THELMA
179   H                  LESLIE
180   H                  MAMIE
181   L                  BESSIE
182   T                  VIENNNA
183   C                  GREGORY
184   B                  JOSEPH
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             A                 B
185   S                  SUSIE
186   G                  JOHN
187   D                  OTIS
188   M                  EDITH
189   C                  MARTHA
190   N                  VIOLA
191   W                  BESSIE
192   L                  OLIVE
193   G                  LEONA
194   W                  LOUISE
195   C                  WILLIAM
196   N                  BYTHEL
197   J                  WILLIAM
198   J                  WILLIE
199   C                  JOHN
200   A                  ETHEL
201   W                  HARRY
202   R                  FRANCES
203   C                  ISABELLA
204   R                  BOOKER
205   T                  PAULINE
206   S                  EARNEST
207   M                  PATRICIA
208   J                  BEATRICE
209   K                  ANN
210   J                  EZELL
211   G                  HATTIE
212   W                  HELEN
213   H                  JOHNNIE
214   W                  KATHERINE
215   B                  WILLIE
216   H                  JOSEPHINE
217   F                  EDDYE
218   N                  JOSEPH
219   N                  ALVERNA
220   L                  JOHN
221   L                  PAULINE
222   S                  JOHN
223   O                  ETHEL
224   B                  ANDREW
225   O                  MARIE
226   H                  DOREEN
227   H                  LORETTA
228   A                  TULA
229   D                  JOHN
230   T                  LENORA
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             A                 B
231   G                  CARRIE
232   G                  LYDIA
233   S                  LENA
234   A                  SARAH
235   J                  RICHMOND
236   H                  ERNESTINE
237   L                  NOVELLA
238   K                  LILLIE
239   W                  HELEN
240   M                  ALFORD
241   K                  JAMES
242   K                  ESSIE
243   W                  KATHERINE
244   R                  FLORA
245   H                  MARY
246   D                  GILBERT
247   J                  ELIZABETH
248   S                  JEWEL
249   F                  VIOLA
250   H                  EVA
251   D                  JACK
252   S                  HURCHEL
253   M                  MILDRED
254   S                  HELEN
255   D                  THERESA
256   R                  WILLIAM
257   T                  ELLEN
258   M                  EULA
259   M                  IDA
260   Z                  RUTH
261   M                  SADIE
262   A                  ANNIE
263   M                  IDELLA
264   D                  QUEEN
265   P                  LEO
266   B                  ERNEST
267   C                  MARY
268   P                  AUDRA
269   F                  EUORA
270   S                  ROBERT
271   E                  ERNEST
272   W                  CLARENCE
273   C                  MERVIN
274   B                  LOUISE
275   P                  ANNA
276   W                  NAOMI
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             A                 B
277   L                  GLOVER
278   S                  PEARLIE
279   M                  BERTHA
280   C                  STANLEY
281   R                  HATTIE
282   D                  MATILDA
283   T                  HISAKO
284   M                  GENEVA
285   J                  CLARA
286   S                  EMMA
287   G                  ANNIE
288   R                  JOSEPHINE
289   H                  VIVIAN
290   A                  MELVIN
291   W                  EARL
292   C                  GENE
293   M                  WILLIE
294   M                  FRANK
295   A                  ARTHUR
296   M                  WESLEY
297   S                  BLANCHE
298   A                  BEATRICE
299   R                  LABON
300   C                  JOHN
301   V                  JOHN
302   R                  MARY
303   A                  VELMA
304   C                  EARNEST
305   R                  WILLIE
306   H                  ERNEST
307   D                  EVA
308   M                  TOMMIE
309   S                  EMMA
310   M                  DAVID
311   R                  JIM
312   H                  VALREE
313   W                  SARAH
314   W                  MARY
315   C                  VAN
316   W                  LUTHER
317   M                  JOHN
318   J                  MICHAEL
319   C                  FRANCES
320   N                  EVELYN
321   W                  CLEVELAND
322   P                  RALPH
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             A                 B
323   J                  WILMA
324   H                  JOHN
325   M                  STELLA
326   N                  PEARLINE
327   W                  ROSE
328   J                  LOUIS
329   J                  PHILLIPS
330   M                  MARY
331   E                  THELMA
332   J                  DOLORES
333   W                  BESSIE
334   G                  THERESA
335   O                  MARGARET
336   G                  FRANK
337   S                  AGATHA
338   Y                  WILLIE
339   S                  MARY
340   M                  MARGARET
341   L                  MARY
342   D                  RUTH
343   M                  EDWARD
344   M                  HELEN
345   T                  KATIE
346   A                  ANNIE
347   R                  LILLIE
348   P                  VERNA
349   S                  EDNA
350   T                  HENRIETTA
351   P                  WOODROW
352   K                  JULIA
353   J                  EULAH
354   R                  INDIA
355   H                  EVELYN
356   H                  BLANCHE
357   H                  MILDRED
358   P                  ROSALIA
359   H                  AMANDA
360   W                  JIMMIE
361   C                  WALTER
362   J                  BROUGHTON
363   K                  LILLIAN
364   S                  BERNICE
365   M                  LOUISE
366   E                  JERUSHA
367   W                  BERTHA
368   K                  ZEALIA
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             A                B
369   S                 MARY
370   A                 ANNE
371   N                 ELVA
372   H                 ELIZABETH
373   J                 STERLING
374   C                 AVIS
375   B                 DAVID
376   C                 ROBERT
377   H                 JOHNNIE
378   C                 ANNIE
379   J                 SAM
380   C                 CASELL
381   D                 LINSEY
382   J                 ROOSEVELT
383   W                 EDGAR
384   D                 ARDICE
385   M                 JESSIE
386   D                 MARY
387   M                 ANDREW
388   S                 FRANK
389   S                 THORNTON
390   A                 BEVERLY
391   R                 IRENE
392   M                 MARY
393   W                 ETHEL
394   A                 CLAUDINE
395   N                 ELLA
396   F                 INEZ
397   L                 THELMA
398   K                 PAULINE
399   H                 HENERIETTA
400   W                 CHARLES
401   V                 CHARLIE
402   H                 ARMA
403   T                 THOMAS
404   H                 HELEN
405   S                 LUCILLE
406   U                 W
407   W                 CHARLES
408   E                 LULA
409   S                 JULIA
410   H                 GRACE
411   S                 ERNESTINE
412   D                 ODESSA
413   C                 J
414   B                 LENNIS
       Case 1:20-cv-00708-CCCECF
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             A                B
415   N                 RUDEIN
416   H                 JAMES
417   C                 LORINE
418   J                 ANNIE
419   C                 MARY
420   J                 LUCILLE
421   M                 HARRY
422   I                 JOHNNIE
423   T                 PETER
424   H                 JOHN
425   H                 OLGA
426   S                 HELEN
427   W                 GENEVIEVE
428   P                 CASMIR
429   L                 STEVE
430   B                 RUBY
431   M                 EDNA
432   C                 MAGNOLIA
433   T                 KAROLINA
434   G                 ROBERTA
435   N                 NELLIE
436   L                 LOIS
437   C                 ELLEN
438   W                 HATTIE
439   L                 JEAN
440   M                 EVANGELINE
441   M                 LULABELLE
442   E                 MAUDE
443   B                 ROGER
444   T                 WILLIAM
445   R                 ONA
446   M                 LILLIAN
447   W                 FRANCES
448   M                 JOHN
449   H                 BESSIE
450   F                 JOSEPHINE
451   J                 EUGENE
452   M                 HENRIETTA
453   B                 ANNIE
454   T                 CATHERINE
455   B                 ASLENNER
456   B                 EDD
457   M                 MALVIN
458   G                 MOLLIE
459   S                 THOMAS
460   K                 OPHELIA
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             A                B
461   C                 SUMARA
462   M                 JAMES
463   T                 ANNIE
464   M                 CLEO
465   S                 LUCILE
466   C                 CURTIS
467   D                 WILLA
468   D                 WILLA
469   J                 JAMES
470   R                 LOUISE
471   J                 WILLIE
472   G                 HELEN
473   H                 MARY
474   H                 ALBERTA
475   W                 LOUISE
476   O                 CLARA
477   H                 VELMA
478   J                 LILLIAN
479   A                 JAMES
480   G                 MOLLE
481   S                 EVELYN
482   T                 JUANITA
483   M                 SALLIE
484   S                 LOIS
485   J                 RUTH
486   C                 SIMON
487   G                 ELIZA
488   T                 ROSA
489   B                 BETTY
490   P                 JEAN
491   K                 ADAM
492   M                 JOHN
493   B                 BETTE
494   R                 MARY
495   B                 HELEN
496   S                 ALFRED
497   J                 JAMES
498   W                 ALBERTA
499   C                 JOEL
500   S                 SYLVESTER
501   W                 MARY
502   R                 MARY
503   T                 MAXIMO
504   H                 ELIZABETH
505   J                 BEN
506   M                 MARY
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             A                B
507   S                 MARTIN
508   D                 MARGARET
509   M                 MILDRED
510   L                 MARGARET
511   L                 BERNARD
512   H                 CHARLES
513   H                 EVELYN
514   S                 CHARLES
515   L                 EUNICE
516   L                 CLARA
517   B                 JAMES
518   J                 VIRGINIA
519   W                 NANNIE
520   C                 MARTHA
521   B                 CORA
522   C                 ELSIE
523   W                 HARVELL
524   M                 MARY
525   H                 LOUIS
526   F                 LILLIE
527   W                 HELENE
528   H                 VINNIE
529   P                 PERCY
530   D                 FLORINE
531   G                 MILDRED
532   P                 ELEANORE
533   L                 IDA
534   R                 FRANK
535   D                 ELIZABETH
536   B                 MARY
537   B                 FLORENCE
538   B                 CARRIE
539   W                 LOIS
540   S                 JOHNNIE
541   M                 CORA
542   D                 ORENE
543   S                 BEULAH
544   W                 NADINE
545   C                 MARY
546   H                 ANNE
547   D                 ERNEST
548   W                 VELMAR
549   M                 MAPLE
550   S                 GENEVIEVE
551   C                 JAMES
552   W                 RICHARD
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             A                B
553   C                 ANN
554   D                 FRANCES
555   P                 BERNARD
556   B                 IZEST
557   S                 ANNA
558   W                 MATTIE
559   C                 HATTIE
560   G                 SUSIE
561   R                 ETHEL
562   Y                 DOYLE
563   M                 JUANITA
564   M                 RUTH
565   M                 OLIVE
566   S                 IRENE
567   T                 JESSIE
568   L                 SOPHIE
569   P                 FRANK
570   N                 JENNIE
571   B                 IMELDA
572   K                 MARIAN
573   L                 PAULINE
574   H                 ANNIE
575   L                 CALLIE
576   T                 WILLIE
577   P                 IGNACY
578   B                 PEARLIE
579   H                 WILLIAM
580   R                 BERYL
581   S                 MINNIE
582   W                 THOMAS
583   B                 THERESA
584   M                 ARDELIA
585   G                 DOROTHY
586   C                 TABITHA
587   W                 MARY
588   N                 JOHN
589   J                 ELIZABETH
590   O                 ETHEL
591   T                 MARY
592   B                 IRENE
593   M                 OBIE
594   H                 ELIZABETH
595   B                 SARAH
596   W                 JOHN
597   L                 LEROY
598   C                 HOWARD
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             A                B
599   W                 ELVIRA
600   H                 ERNESTINE
601   P                 LENNIE
602   P                 HENRY
603   K                 GENEVA
604   J                 MARK
605   M                 MARY
606   F                 EDNA
607   T                 STEPHEN
608   J                 ROSA
609   M                 SARAH
610   K                 REGENE
611   W                 RUTH
612   G                 ALBERT
613   C                 CARRIE
614   M                 LAURA
615   R                 LILLIE
616   L                 MARION
617   B                 OCTAVIA
618   W                 ZACK
619   C                 OLGA
620   B                 C
621   H                 IDELLA
622   S                 MARY
623   F                 GEORGIA
624   P                 FRANK
625   M                 ROBERT
626   M                 AMELIA
627   B                 NETTIE
628   W                 ANNIE
629   A                 HOBERT
630   S                 MINNIE
631   M                 EVERLENA
632   D                 RUDOLPH
633   F                 ROOSVELT
634   W                 AUSTRALIA
635   B                 MAVIS
636   H                 CORNELIA
637   C                 VIOLA
638   L                 ROSIE
639   J                 ELIZABETH
640   R                 MARTHA
641   W                 WILLIE
642   G                 WILLIE
643   P                 MARY
644   C                 PEARL
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             A                B
645   B                 EVELYN
646   G                 EDWARD
647   L                 JUSTINA
648   L                 FANNIE
649   V                 THEODORE
650   M                 PETRONIA
651   D                 WILLIAM
652   T                 ROY
653   S                 JOSEPH
654   W                 DOLLIE
655   S                 ROSE
656   M                 EMMA
657   A                 DOROTHY
658   G                 LEON
659   H                 ELIZABETH
660   H                 WINSTON
661   W                 SARAH
662   F                 OLGA
663   S                 RUTH
664   G                 LUCRETIA
665   C                 WILLIE
666   B                 MILDRED
667   T                 ROBERTO
668   S                 MCKINLEY
669   B                 YVONNE
670   T                 MILDRED
671   F                 ROBERT
672   B                 CLARA
673   R                 FLORENCE
674   G                 JOSEPHINE
675   S                 MARQUETTE
676   S                 MARY
677   A                 ROSALIUS
678   T                 HENRIETTA
679   B                 J
680   H                 ADA
681   J                 LOUISE
682   L                 ESTELLA
683   J                 EXIE
684   B                 ELIZABETH
685   D                 EARL
686   H                 MATTIE
687   S                 ETHEL
688   B                 ARTHUR
689   E                 ESTHER
690   G                 MARGARET
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             A                B
691   C                 MARY
692   P                 MARJORIE
693   D                 WILLIE
694   M                 LORENZO
695   W                 HELEN
696   H                 CELESTE
697   A                 MOSES
698   D                 BERNICE
699   M                 ALICE
700   S                 GWENDOLYN
701   W                 RUTH
702   S                 RUNETTE
703   M                 TRAVIS
704   K                 SUSIE
705   B                 BOOKER
706   G                 MANERVIA
707   R                 ROBERT
708   W                 DAVID
709   T                 EVA
710   H                 FRANK
711   S                 WINIFRED
712   R                 LOUIS
713   B                 IKE
714   T                 ELIZABETH
715   H                 MAE
716   H                 LULU
717   G                 MAXINE
718   B                 JAMES
719   J                 IDA
720   J                 JOHN
721   C                 MARY
722   M                 LEO
723   L                 HENRIETTA
724   B                 WILLINE
725   C                 JOHN
726   H                 ADELE
727   F                 BESSIE
728   B                 CHARLIE
729   S                 ELIZABETH
730   H                 NETTIE
731   S                 W
732   B                 FLORENCE
733   W                 MARQUERITE
734   C                 MELVIN
735   G                 ELIZABETH
736   J                 CECILIA
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             A                B
737   M                 VIRGINIA
738   L                 ELIZABETH
739   H                 OTTIS
740   Y                 BETTY
741   J                 HELEN
742   J                 RITA
743   C                 CHARLIE
744   W                 WILLIE
745   G                 ERMA
746   C                 PAUL
747   G                 REBECCA
748   G                 WALTER
749   M                 MARY
750   R                 DELFINA
751   H                 ELSIE
752   W                 VERNELL
753   L                 JOSEPH
754   B                 MARIE
755   C                 JOHN
756   K                 GEORGE
757   M                 GERTRUDE
758   R                 ALICE
759   W                 STANLEY
760   B                 ANNE
761   D                 CHARLEY
762   L                 HATTIE
763   S                 DIANA
764   L                 MATTIE
765   M                 MARY
766   C                 SAM
767   B                 MAGGIE
768   W                 INEZ
769   V                 NARDA
770   B                 MARY
771   B                 MARY
772   D                 JAMES
773   S                 MOZELLA
774   W                 PEARL
775   S                 CHARLOTTE
776   B                 LILLIE
777   S                 LUCY
778   F                 RUTH
779   W                 WILLIE
780   T                 NELLIE
781   M                 MARY
782   W                 ODESSA
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             A                B
783   J                 MINNIE
784   B                 LILLIAN
785   V                 NELLIE
786   A                 JULIES
787   W                 RUBY
788   P                 LOTTIE
789   S                 CLEMENTINE
790   H                 HATTIE
791   H                 HELEN
792   S                 DOROTHY
793   R                 ROSETTA
794   B                 DOUGLAS
795   T                 MABEL
796   S                 LILLIE
797   C                 JAMES
798   C                 JOHNNIE
799   W                 FRED
800   R                 CLEO
801   C                 NAOMA
802   H                 MAGGIE
803   R                 SHEPHERD
804   B                 EUGENE
805   K                 DORIS
806   S                 DOROTHY
807   L                 SANFUS
808   F                 GERTRUDE
809   W                 ALBERTA
810   P                 NELLIE
811   M                 SARAH
812   J                 EDWARD
813   R                 NELLIE
814   B                 LAURA
815   W                 T
816   A                 NELLIE
817   R                 JAMES
818   S                 ARTHUR
819   J                 MARY
820   M                 NELLIE
821   G                 CHARLENE
822   L                 CECILE
823   D                 RICHARD
824   M                 MAYBELL
825   H                 JODIE
826   S                 THOMAS
827   S                 ELIZABETH
828   H                 BERNICE
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             A                B
829   M                 ROBERT
830   D                 ELMA
831   A                 EDWIN
832   W                 MAMIE
833   K                 VIOLA
834   C                 ALBERTA
835   K                 WALTER
836   M                 SATHNARAIN
837   Z                 HELEN
838   R                 EMELIA
839   M                 HELEN
840   K                 LEO
841   D                 SOPHIA
842   C                 RUTH
843   L                 JESSIE
844   P                 EDWARD
845   C                 SUSIE
846   P                 AUGUSTUS
847   C                 MAURICE
848   G                 MARGARET
849   W                 OSCAR
850   W                 JANIE
851   T                 LULA
852   H                 THOMAS
853   G                 RUFUS
854   W                 EMILY
855   L                 ROSA
856   W                 SARAH
857   W                 PHENOGRAPHY
858   H                 VERNELL
859   S                 IRENE
860   W                 GENEVIEVE
861   M                 STEPHANIE
862   S                 JOHN
863   S                 ELETHA
864   K                 FRANCES
865   H                 CAVALIERA
866   S                 PAULINE
867   H                 J
868   R                 HELEN
869   S                 ERNESTINE
870   G                 CHARLES
871   W                 BILLIE
872   J                 LILLIE
873   W                 MARY
874   B                 ALLEN
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             A                B
875   C                 CASS
876   T                 MIRIAM
877   L                 CHARLES
878   C                 ANNIE
879   C                 ANDREW
880   B                 EMMA
881   S                 JAMES
882   L                 LOYCE
883   N                 CURTIS
884   J                 THELMA
885   T                 FANNIE
886   D                 GEORGE
887   G                 GEORGIA
888   K                 JAMES
889   C                 CLEO
890   K                 DAVID
891   H                 LAURA
892   W                 MARY
893   J                 HORACE
894   B                 MABEL
895   D                 INEZ
896   P                 VIRGIL
897   A                 ALVIN
898   S                 JULIA
899   B                 CLARENCE
900   M                 ALVIN
901   R                 CHRISTINE
902   G                 JOE
903   H                 SINDY
904   J                 JIMMIE
905   E                 EARNEST
906   S                 REBECCA
907   A                 PEARL
908   T                 ALICE
909   B                 GERTRUDE
910   R                 MABEL
911   B                 RAYFORD
912   C                 MAGGIE
913   T                 HERMINE
914   M                 ROSE
915   W                 CHESTER
916   A                 BYRDA
917   M                 LULA
918   H                 BERTHA
919   P                 LUTE
920   G                 BEULAH
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             A                B
921   V                 JUANITA
922   L                 ROBERT
923   H                 MILDRED
924   H                 GLADYS
925   W                 ULIS
926   M                 OLA
927   H                 JOHN
928   D                 MILDRED
929   W                 VIVIANO
930   H                 LEE
931   J                 JIMMIE
932   D                 JOSIE
933   A                 SUSIE
934   E                 THELMA
935   T                 DESSIE
936   M                 LIZZIE
937   S                 ATHELINE
938   L                 CARL
939   L                 MARJORIE
940   M                 ERBIE
941   C                 BERTHA
942   R                 CHESTER
943   J                 MARY
944   M                 JOAN
945   E                 ROBERT
946   D                 MARTHA
947   W                 CECILIA
948   P                 LOTTIE
949   T                 WANDA
950   B                 ROBERT
951   M                 GEORGE
952   F                 ERNESTINE
953   E                 SYLVESTER
954   K                 IRENE
955   D                 SCHLEY
956   A                 MARINA
957   R                 CARMEN
958   C                 FAYE
959   O                 SALVADOR
960   B                 FRANKIE
961   B                 BILLIE
962   A                 LOUISE
963   H                 STANLEY
964   P                 RAMONA
965   D                 WANDA
966   A                 PAULINE
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              A                B
 967   C                 MARTIN
 968   G                 INEZ
 969   R                 PHILLIP
 970   G                 MARTIN
 971   S                 ROBBIE
 972   J                 MARY
 973   E                 RUTH
 974   K                 MAGGLINE
 975   M                 VIRINIA
 976   S                 ANNIE
 977   H                 BILLIE
 978   H                 NORMAN
 979   T                 JAMES
 980   D                 ROSCOE
 981   H                 MATTIE
 982   G                 HELEN
 983   C                 ZAELDIA
 984   C                 VELMA
 985   M                 MARY
 986   D                 EVELYN
 987   M                 BERNICE
 988   L                 GENEVA
 989   P                 BEATRICE
 990   R                 JEANNETTE
 991   M                 ANNA
 992   Z                 ELEANOR
 993   R                 MILDRED
 994   T                 JOHN
 995   D                 LENORA
 996   G                 ROBERT
 997   L                 CORENA
 998   W                 THELMA
 999   B                 SOPHIE
1000   B                 EDWARD
1001   R                 SIRNORMOS
1002   B                 NETTIE
1003   D                 EDWARD
1004   R                 JULIAN
1005   O                 ROBERT
1006   M                 GRACE
1007   S                 JOHN
1008   T                 ARTHUR
1009   D                 JANIE
1010   S                 LETITIA
1011   B                 GARNETT
1012   T                 WILLIS
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              A                B
1013   B                 GLADYS
1014   G                 JANIE
1015   V                 HELEN
1016   G                 MARIAN
1017   S                 ARNETT
1018   M                 MARGARET
1019   M                 JAMES
1020   M                 GERTRUDE
1021   B                 JOSEPH
1022   P                 HAZEL
1023   J                 CHARLIE
1024   W                 RUTH
1025   S                 ROBERT
1026   T                 VEOLA
1027   S                 ELLA
1028   C                 WILLIE
1029   P                 ANNIE
1030   R                 MINNIE
1031   F                 LILLIE
1032   H                 LEONA
1033   D                 LUCILLE
1034   H                 MARTHA
1035   J                 BENNIE
1036   P                 JOHN
1037   S                 CATHERINE
1038   K                 ROSETTA
1039   H                 ARTHUR
1040   W                 CATHERINE
1041   C                 FRANCES
1042   R                 DOROTHY
1043   W                 GEORGE
1044   B                 JULIAN
1045   M                 CHRISTINE
1046   A                 KATHERINE
1047   H                 MAREBECCA
1048   M                 EDITH
1049   C                 CLEOLA
1050   W                 EDNA
1051   K                 RICHARD
1052   G                 MARY
1053   C                 JOSEPH
1054   B                 ALEXANDER
1055   J                 BERNICE
1056   D                 GROVER
1057   B                 GIUSEPPE
1058   M                 DMYTRO
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              A                B
1059   P                 VIRGINIA
1060   E                 CORA
1061   K                 PATRICIA
1062   R                 JOHN
1063   W                 RUBY
1064   R                 EDNA
1065   L                 MARY
1066   M                 MARY
1067   S                 JESSIE
1068   J                 NADINE
1069   T                 BERNICE
1070   J                 WILLIAM
1071   U                 MINNIE
1072   W                 EDWARD
1073   W                 CHARLOTTE
1074   M                 EDNA
1075   R                 RUBEN
1076   J                 VIENEY
1077   B                 JOHN
1078   W                 PAULINE
1079   A                 MARIA
1080   H                 MARY
1081   H                 ROBERT
1082   C                 PINKIE
1083   B                 CECIL
1084   H                 JANIE
1085   J                 ROSETTA
1086   T                 DOROTHY
1087   S                 JOHN
1088   G                 MILLER
1089   P                 MARY
1090   J                 BERNICE
1091   M                 MINNIE
1092   S                 JUDAN
1093   L                 ALMA
1094   H                 FREDDIE
1095   S                 SYLVIA
1096   A                 BEATRICE
1097   M                 ROBERT
1098   C                 CHARLES
1099   E                 GEORGIA
1100   H                 GRACE
1101   F                 MARGARITE
1102   J                 JAMES
1103   M                 EMMA
1104   C                 BERNELLIE
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              A                B
1105   G                 JAMES
1106   H                 CARMEL
1107   C                 INEZ
1108   M                 ROSELLA
1109   J                 FLORENCE
1110   R                 ALBERT
1111   J                 BERNICE
1112   S                 ANNIE
1113   T                 BERNICE
1114   G                 MARIAN
1115   A                 JOHN
1116   T                 RUBY
1117   P                 BETTY
1118   J                 L
1119   W                 JOHN
1120   J                 EVELYN
1121   C                 MATTIE
1122   G                 LELA
1123   W                 ESTHER
1124   T                 PAULINE
1125   R                 MATTIE
1126   C                 MARGARET
1127   W                 JOHN
1128   W                 JAMES
1129   G                 CARRIE
1130   B                 MAGGIE
1131   S                 ELDORIS
1132   J                 JUANITA
1133   D                 JANE
1134   E                 JAMES
1135   W                 ELIJHA
1136   T                 ANNIE
1137   M                 JIMMIE
1138   B                 ROSA
1139   M                 ODAMELL
1140   R                 MARION
1141   M                 CORINNE
1142   R                 C
1143   B                 ROBERT
1144   N                 ALFONZA
1145   R                 CORNELIA
1146   W                 CLARICE
1147   R                 FRANCES
1148   P                 SHIRLEY
1149   S                 HAZEL
1150   J                 MARY
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              A                B
1151   S                 SARA
1152   P                 VERA
1153   T                 AUDREY
1154   H                 MARTHA
1155   M                 MARION
1156   M                 JARIE
1157   W                 PEARL
1158   D                 LAURA
1159   D                 CHRISTINE
1160   L                 OLLIE
1161   H                 GLADYS
1162   E                 DORIS
1163   W                 DANIEL
1164   D                 ARTHUR
1165   D                 ARTHUR
1166   M                 CARRIE
1167   S                 STANISLAUS
1168   J                 WILMA
1169   D                 ELSIE
1170   B                 ANNA
1171   A                 CONRAD
1172   C                 GENEVA
1173   F                 PHYLLIS
1174   W                 IRINE
1175   M                 FRANCES
1176   M                 MARY
1177   S                 ALMA
1178   D                 CLIFTON
1179   T                 LESTER
1180   W                 EARLINE
1181   H                 MYRTLE
1182   M                 JESSIE
1183   E                 WILLIAM
1184   B                 THRESA
1185   B                 FRANK
1186   H                 BEATRICE
1187   B                 LESTER
1188   N                 CHANCEL
1189   C                 ANGEL
1190   W                 ALENE
1191   B                 ARTHUR
1192   R                 LOUISE
1193   W                 WARDEAN
1194   L                 MAVIS
1195   S                 ELIZABETH
1196   B                 WILLIE
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              A                B
1197   C                 JESSIE
1198   D                 LENORA
1199   P                 WESLEY
1200   M                 ARTHUR
1201   K                 HOWARD
1202   M                 LOUISE
1203   A                 MARGARET
1204   L                 IRENE
1205   B                 FRANK
1206   J                 LUE
1207   H                 LILLIAN
1208   F                 NATHANIEL
1209   C                 JOHN
1210   P                 ELWOOD
1211   M                 MILDRED
1212   S                 MARIE
1213   O                 CAZEMBE
1214   C                 EVA
1215   O                 HERMAN
1216   W                 LEE
1217   A                 ROSE
1218   A                 LESSIE
1219   T                 FORDA
1220   R                 WILLIAM
1221   D                 WILLIE
1222   J                 EDWARD
1223   S                 MARETTA
1224   B                 JEAN
1225   D                 ROBERT
1226   J                 ETHEL
1227   S                 AURELIA
1228   C                 AILEEN
1229   D                 OSCAR
1230   P                 CALVIN
1231   P                 CALVIN
1232   B                 WYSA
1233   H                 IDA
1234   S                 MARIA
1235   W                 BEN
1236   S                 CAROLINE
1237   M                 WILLIE
1238   B                 CORINE
1239   B                 HELEN
1240   M                 JAMES
1241   C                 DAVID
1242   T                 WILLIAM
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              A                B
1243   P                 JESSE
1244   D                 ELIZABETH
1245   P                 AGNES
1246   C                 WILLIE
1247   C                 LILLIE
1248   H                 WILLIA
1249   D                 LEONA
1250   M                 MANDIE
1251   D                 MYRTLE
1252   C                 ANNIE
1253   J                 ETHEL
1254   W                 AMELIA
1255   P                 HAROLD
1256   S                 DOROTHY
1257   P                 PAULINE
1258   B                 ELISE
1259   P                 HATTIE
1260   H                 WILLIE
1261   J                 EUGENIA
1262   S                 HENRY
1263   B                 RUTH
1264   C                 LUCILLE
1265   J                 DAISY
1266   W                 MAGGIE
1267   C                 LAVONIA
1268   M                 GERTRUDE
1269   A                 ROBERT
1270   S                 FERDINAND
1271   C                 ABRAHAM
1272   M                 LORRAINE
1273   O                 AZALEE
1274   L                 GERALDINE
1275   C                 HENRY
1276   R                 BERTHA
1277   C                 BOBBIE
1278   M                 SHERWIN
1279   S                 THELMA
1280   G                 MARGARET
1281   G                 FANNY
1282   R                 MELVIA
1283   Z                 MORRIS
1284   W                 MINNIE
1285   M                 ARTHUR
1286   S                 GILBERT
1287   P                 MARY
1288   R                 ROOSEVELT
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              A                B
1289   M                 ESSIE
1290   W                 MARY
1291   H                 LAWERENCE
1292   B                 GEORGE
1293   D                 REBECCA
1294   A                 ANDRAL
1295   J                 MABEL
1296   E                 THOMAS
1297   C                 MATTIE
1298   S                 JOHNSON
1299   D                 AUGUSTA
1300   J                 NELLIE
1301   S                 JAMES
1302   C                 ROSA
1303   R                 ADELA
1304   P                 JERRY
1305   W                 JOHN
1306   R                 ABRAHAM
1307   B                 JAMES
1308   H                 ANNA
1309   W                 JAMES
1310   S                 ETHEL
1311   R                 JIMMIE
1312   C                 TINY
1313   K                 LOUISE
1314   S                 HAROLD
1315   G                 MOSLEH
1316   S                 TACKETT
1317   B                 MARTHA
1318   K                 OWEN
1319   M                 JOHN
1320   K                 JOSEPHINE
1321   D                 VIVIAN
1322   G                 WILLARD
1323   C                 MATTIE
1324   O                 MARGARET
1325   B                 THELMA
1326   M                 HILDA
1327   H                 GLORIA
1328   H                 JAMES
1329   S                 DORCELLA
1330   M                 JESSE
1331   C                 MARJORIE
1332   M                 DAVID
1333   J                 THELMA
1334   S                 MARION
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              A                B
1335   J                 HATTIE
1336   B                 WILLIE
1337   P                 MARY
1338   W                 JOSEPH
1339   N                 RUBY
1340   L                 JACOB
1341   J                 LEON
1342   A                 ARTIMESE
1343   C                 EVA
1344   L                 RUTHIE
1345   C                 COREAN
1346   M                 LUCY
1347   P                 ANNIE
1348   A                 GEORGE
1349   P                 MARJORIE
1350   E                 JOSEPHINE
1351   B                 LILLIE
1352   R                 NOBLE
1353   J                 JOSEPH
1354   W                 EULA
1355   H                 MARY
1356   W                 DORIS
1357   B                 JULIETTE
1358   D                 JOHNNIE
1359   S                 MILAN
1360   C                 REGINA
1361   W                 EARNESTINE
1362   J                 LINZIE
1363   T                 JAMES
1364   C                 KAMELLA
1365   G                 DOREANA
1366   M                 WILLIE
1367   H                 BERTHA
1368   B                 JIMMIE
1369   E                 ELEANOR
1370   M                 THEODORE
1371   G                 QUEENIE
1372   M                 CLARA
1373   M                 MARGARET
1374   R                 OLLIE
1375   A                 LOUISE
1376   S                 LOUISE
1377   P                 ROSANNA
1378   J                 WILLIAM
1379   H                 JOSEPH
1380   S                 HERMAN
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              A                B
1381   T                 WALTER
1382   F                 GLADYS
1383   C                 ALBERTA
1384   B                 ISAAC
1385   S                 CARRIE
1386   M                 MILDRED
1387   P                 BENJAMIN
1388   I                 AUDREY
1389   D                 EDNA
1390   P                 I
1391   K                 BEVERLY
1392   T                 ALMOND
1393   R                 JAMES
1394   C                 ROSIE
1395   D                 GEORGE
1396   W                 SHELDON
1397   H                 LILLIE
1398   Z                 ADA
1399   G                 BESSIE
1400   T                 MARIANNE
1401   H                 GLORIA
1402   T                 ALEXANDER
1403   C                 FRANCES
1404   R                 LETHA
1405   S                 ERNEST
1406   W                 NELLIE
1407   C                 CATHERINE
1408   T                 WILLIAM
1409   V                 FELIX
1410   A                 MOLLIE
1411   K                 EUGENE
1412   R                 ZOETTA
1413   R                 JOHN
1414   M                 CHARLES
1415   N                 LEON
1416   G                 ORALIA
1417   C                 DOLORES
1418   H                 ANNIE
1419   M                 VIRGINIA
1420   H                 LULA
1421   W                 LILLIE
1422   P                 ARVELLA
1423   F                 GENEVA
1424   A                 LOVIE
1425   D                 ROSIE
1426   S                 JUANITA
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              A                B
1427   B                 WILLIAM
1428   W                 MATTIE
1429   R                 LEARA
1430   T                 RUTH
1431   C                 LAVENDORA
1432   D                 SAMUEL
1433   W                 WILLIE
1434   C                 JAMES
1435   D                 PAULINE
1436   I                 LELA
1437   P                 JOHN
1438   W                 LEOLA
1439   D                 THEOPHILUS
1440   A                 CHARLES
1441   R                 PAUL
1442   W                 WILLIE
1443   K                 FLORENCE
1444   W                 OREE
1445   S                 CHARLIE
1446   W                 ARIE
1447   S                 JIMMY
1448   S                 REGINA
1449   M                 JACQUELINE
1450   T                 BEATRICE
1451   E                 JESSE
1452   L                 THEODORE
1453   J                 LILLIAN
1454   A                 EDNA
1455   M                 ALICE
1456   A                 EVA
1457   R                 BELLE
1458   C                 EDNA
1459   B                 MARY
1460   H                 DOROTHY
1461   M                 CHRISTINE
1462   B                 RICHARD
1463   M                 KWASI
1464   T                 ELOISE
1465   P                 ERNEST
1466   C                 ALICE
1467   L                 DANIEL
1468   D                 FLORENCY
1469   W                 ROBERT
1470   E                 J
1471   J                 EDWARD
1472   T                 FRED
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              A                B
1473   S                 JAMES
1474   T                 THOMAS
1475   S                 JONNIE
1476   K                 ELIZABETH
1477   K                 WILLIE
1478   J                 MARY
1479   M                 RUTH
1480   W                 ROBERT
1481   M                 ANNIE
1482   T                 DAISY
1483   N                 MATTIE
1484   R                 CLAY
1485   C                 HENRY
1486   D                 MARY
1487   W                 LAVERN
1488   W                 HARDY
1489   C                 DONALD
1490   L                 ROBERT
1491   M                 THELMA
1492   K                 JOSEPH
1493   F                 FRANK
1494   W                 FRANK
1495   S                 PARASKEWIA
1496   S                 MARIE
1497   R                 EDWARD
1498   J                 KATHERINE
1499   G                 ELIZA
1500   D                 CATHERINE
1501   Y                 D
1502   A                 GEORGE
1503   R                 LULA
1504   L                 LESTER
1505   P                 FRANKIE
1506   D                 JOSEPH
1507   H                 THOMAS
1508   S                 LENA
1509   B                 MARIE
1510   J                 FRANCES
1511   C                 JAMES
1512   N                 BEATRICE
1513   F                 BERNICE
1514   W                 ROBERT
1515   B                 FRANK
1516   T                 DOROTHY
1517   D                 WILLIAM
1518   T                 SANTOS
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              A                B
1519   Y                 ELIZABETH
1520   M                 NIEVES
1521   O                 ORETHA
1522   D                 MARTHA
1523   M                 CAROLINE
1524   P                 LUPE
1525   W                 EDDIE
1526   D                 CARL
1527   K                 DOLORES
1528   S                 RUTH
1529   M                 ALICE
1530   M                 DORIS
1531   C                 MARVEL
1532   B                 CLEDUS
1533   E                 GERALDINE
1534   D                 MAGGIE
1535   M                 JOHN
1536   F                 LEROY
1537   T                 CORINE
1538   J                 CORA
1539   P                 LENA
1540   L                 NADINE
1541   M                 LOIS
1542   P                 MOSES
1543   B                 GEORGE
1544   B                 MYRTLE
1545   S                 SARAH
1546   W                 JOSEPH
1547   H                 GLADYS
1548   J                 ROSEMARY
1549   S                 ALTA
1550   J                 MARY
1551   M                 ANNETTE
1552   B                 ROSE
1553   B                 GERALDINE
1554   F                 DOROTHY
1555   A                 DOROTHY
1556   J                 VIRGINIA
1557   Y                 JAMES
1558   S                 CURTIS
1559   D                 JULIA
1560   Y                 GERTIE
1561   P                 MARY
1562   N                 CHRISTINE
1563   R                 IDELL
1564   R                 CALVIN
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              A                B
1565   E                 CHARLES
1566   K                 EARNEST
1567   L                 BETTY
1568   Y                 FRANCES
1569   W                 ERSARENE
1570   R                 NATHANIEL
1571   W                 WILLARD
1572   W                 MARY
1573   C                 ANNIE
1574   B                 HOWARD
1575   L                 ERNEST
1576   B                 JUANITA
1577   O                 ROBERT
1578   T                 MARY
1579   M                 RUBY
1580   R                 MITCHELL
1581   N                 CLARENCE
1582   F                 FRANCES
1583   A                 ELOUISE
1584   C                 HENRY
1585   R                 ALLIE
1586   C                 GODFREY
1587   P                 EMERSON
1588   O                 WILLIAM
1589   W                 JAMES
1590   R                 JAMES
1591   M                 BETTY
1592   W                 WILLIE
1593   P                 CLARA
1594   S                 JULIA
1595   B                 JIMMIE
1596   R                 CASADA
1597   L                 HENERY
1598   O                 EDWARD
1599   D                 BEVERLY
1600   J                 LANCASTER
1601   D                 MARTHA
1602   P                 ANNIE
1603   C                 ALICE
1604   J                 FRED
1605   B                 ANDERSON
1606   P                 HATTIE
1607   N                 DOLORES
1608   A                 DOROTHY
1609   S                 LOUIS
1610   F                 DOMENIC
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              A                B
1611   J                 LILLIE
1612   C                 MARTHA
1613   T                 CHARLES
1614   L                 ROBERT
1615   J                 GERALDINE
1616   A                 WILLIAM
1617   H                 ELIZABETH
1618   B                 ROBBIE
1619   S                 ROBERT
1620   H                 JOHN
1621   C                 DARRYL
1622   B                 LEROY
1623   M                 HENRY
1624   V                 MARGARET
1625   S                 ARETHA
1626   J                 THOMAS
1627   F                 FLORA
1628   M                 MELVIN
1629   F                 FLORA
1630   K                 MILDRED
1631   K                 RUBY
1632   S                 JOSEPHINE
1633   G                 VIOLA
1634   S                 JOSEPH
1635   B                 EMETERIO
1636   K                 ALPHONSO
1637   L                 VIVIAN
1638   N                 SARAH
1639   J                 DOROTHY
1640   N                 ROSETTA
1641   M                 PORGIE
1642   S                 ROBERT
1643   O                 CURTIS
1644   W                 HAROLD
1645   H                 DOROTHY
1646   D                 OLLIE
1647   V                 WILLIAM
1648   B                 THEOPHILUS
1649   B                 GLORIA
1650   M                 ADELINE
1651   H                 HELEN
1652   P                 GRACIE
1653   S                 RUBY
1654   S                 WILLIE
1655   B                 MARION
1656   D                 FLORA
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              A                B
1657   M                 JAMES
1658   Y                 THEODORE
1659   R                 ANNIE
1660   T                 QUEEN
1661   P                 VERNA
1662   H                 WANDA
1663   B                 MABEL
1664   B                 MALACHI
1665   W                 LILLIE
1666   W                 THELMA
1667   A                 ULYSSES
1668   W                 MYRTLE
1669   R                 BETTY
1670   G                 DORIS
1671   S                 R
1672   W                 ELROY
1673   C                 HENRIETTA
1674   C                 VIRGINIA
1675   M                 ANNIE
1676   D                 MARY
1677   M                 CHARLES
1678   J                 HERMAN
1679   A                 LEOLA
1680   W                 MABEL
1681   W                 ESSIE
1682   M                 BROWNIE
1683   A                 BRONIZZIE
1684   H                 WILLIS
1685   T                 BARBARA
1686   B                 CLEO
1687   A                 JOANNE
1688   S                 SARAH
1689   W                 ROSIE
1690   L                 FRANCES
1691   D                 ELIDA
1692   J                 JAMES
1693   P                 PAULINE
1694   M                 EDYTHE
1695   A                 JOSEPH
1696   M                 GERALDINE
1697   D                 EUNICE
1698   J                 WILLIE
1699   H                 FRED
1700   F                 WILLIAM
1701   W                 CLARA
1702   T                 CHRISTINE
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              A                B
1703   F                 EDDIE
1704   C                 VIRGINIA
1705   H                 HENRY
1706   W                 DAVID
1707   C                 ORA
1708   G                 MARIA
1709   H                 LILA
1710   M                 VIRGINIA
1711   E                 JOSE
1712   W                 GUS
1713   H                 RUTH
1714   A                 ROSCOE
1715   K                 JAMES
1716   H                 JEAN
1717   E                 BETTY
1718   C                 SARA
1719   S                 RAYMOND
1720   J                 SARAH
1721   T                 THELMA
1722   P                 ERMA
1723   B                 VELMA
1724   B                 JIMMIE
1725   M                 ROSE
1726   R                 ARTHUR
1727   M                 DELORIS
1728   K                 JERRY
1729   S                 PHYLLIS
1730   S                 SARI
1731   A                 CECILE
1732   B                 BERNIE
1733   K                 ROSE
1734   S                 JAMES
1735   H                 FRANK
1736   P                 BOOKER
1737   B                 JAMES
1738   M                 MARY
1739   W                 JOHNNIE
1740   C                 OTHELIA
1741   P                 BEATRICE
1742   H                 CORNELL
1743   D                 JAMES
1744   R                 HATTIE
1745   S                 DOLORES
1746   W                 VERNA
1747   T                 VELMA
1748   S                 LOUISE
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              A                B
1749   M                 SAM
1750   B                 MARGIE
1751   N                 ELBERT
1752   R                 NORMA
1753   A                 MARJORIE
1754   H                 COLEN
1755   L                 O
1756   M                 LORETTA
1757   J                 ROSA
1758   E                 ERVIE
1759   T                 LULA
1760   J                 AMY
1761   P                 MORRIS
1762   H                 BERTHA
1763   W                 EDD
1764   W                 GEORGINA
1765   H                 GWENDOLYN
1766   H                 HENRY
1767   J                 CLARICE
1768   K                 MARION
1769   R                 CURTIS
1770   J                 LOUIS
1771   S                 CLODEAN
1772   M                 ARON
1773   C                 CARRIE
1774   D                 MACK
1775   D                 ALFRED
1776   G                 ETHEL
1777   W                 EUGENE
1778   G                 CAROLYN
1779   J                 CHARLES
1780   S                 BETTY
1781   M                 DELORES
1782   L                 THERNELL
1783   D                 JESSE
1784   T                 GRACE
1785   M                 SHIRLEY
1786   A                 MABEL
1787   S                 JUANITA
1788   U                 WILLIAM
1789   M                 ELIZABETH
1790   H                 MINNIE
1791   V                 CANDIDA
1792   B                 ELOISE
1793   C                 ESTHER
1794   R                 WILLIE
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              A                B
1795   W                 ABRAHAM
1796   S                 HERMAN
1797   H                 DOROTHY
1798   J                 LOTTIE
1799   S                 FREDERICK
1800   G                 GERALDINE
1801   B                 MARY
1802   G                 EUNICE
1803   H                 HELEN
1804   C                 ENRICO
1805   T                 ROSIE
1806   D                 AMANDA
1807   R                 HUBERT
1808   R                 HUBERT
1809   A                 LUZ
1810   H                 EDD
1811   S                 WILLIAM
1812   W                 ROBERT
1813   D                 LUCILLE
1814   C                 JOSEPH
1815   S                 DELMER
1816   H                 JACK
1817   C                 MELVIN
1818   P                 MONROE
1819   W                 SADIE
1820   B                 MARIE
1821   C                 HILDEGARDE
1822   H                 ELLA
1823   N                 MITCHELL
1824   W                 LEROY
1825   S                 EDWARD
1826   B                 BEATRICE
1827   S                 FRANK
1828   A                 CHARLES
1829   J                 ROBERT
1830   G                 EVELYN
1831   B                 VIRGINIA
1832   S                 ADDIE
1833   J                 ZENNETTE
1834   L                 ALPHONSO
1835   C                 BETTY
1836   G                 DOLORES
1837   G                 DOROTHY
1838   W                 ELIZABETH
1839   V                 ALMA
1840   P                 LILLIE
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              A                B
1841   L                 CONSTANCE
1842   M                 PAULINE
1843   S                 FRANK
1844   D                 DOLORES
1845   D                 THURMAN
1846   E                 CAMETRESE
1847   B                 L
1848   H                 IRENE
1849   H                 SAMUEL
1850   M                 GEORGE
1851   R                 RUBY
1852   R                 ROBERT
1853   G                 ROBERT
1854   J                 HERMAN
1855   F                 WILLIE
1856   H                 VELMA
1857   G                 JOE
1858   G                 FREDDIE
1859   P                 JOSEPHINE
1860   H                 COSTRELLA
1861   H                 BEATRICE
1862   N                 JEAN
1863   S                 MERLINE
1864   H                 GUSSIE
1865   A                 HAROLD
1866   W                 DOROTHY
1867   J                 BENNY
1868   S                 DOLLIE
1869   H                 GRADY
1870   W                 MODEST
1871   S                 CLEOPATRA
1872   F                 WARDELL
1873   W                 J
1874   M                 MARGARET
1875   H                 MARGARET
1876   H                 MABLE
1877   M                 MAXINE
1878   P                 LUIS
1879   D                 JEAN
1880   S                 NINFA
1881   S                 HARRIET
1882   T                 SAM
1883   C                 ANNIE
1884   B                 GWENDOLYN
1885   V                 FRANCESCO
1886   G                 YSABEL
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              A                B
1887   M                 JULIA
1888   T                 MARIE
1889   W                 ESTELLA
1890   H                 JAMES
1891   L                 FRANK
1892   A                 JACK
1893   S                 GLORIA
1894   G                 ROXANA
1895   R                 QUINCY
1896   H                 JOSEPHINE
1897   C                 RITA
1898   T                 JOHN
1899   B                 GERTRUDE
1900   M                 ABDUL
1901   C                 ROBERT
1902   H                 LAVADA
1903   W                 SYLVIA
1904   M                 MARGARET
1905   L                 LOGAN
1906   T                 PECOLIA
1907   C                 NANCY
1908   B                 CHARLES
1909   P                 CARRIE
1910   J                 MARGARINE
1911   P                 WILLIAM
1912   D                 THOMAS
1913   B                 MILFORD
1914   S                 CHRISTINE
1915   S                 ANNIE
1916   L                 JAMES
1917   D                 JAMES
1918   R                 JIMMIE
1919   P                 MARY
1920   W                 JOHN
1921   H                 OCIA
1922   M                 JOHN
1923   S                 ROSA
1924   Y                 ROSIE
1925   T                 THELMA
1926   C                 EDDIE
1927   M                 CHARLES
1928   S                 ALMA
1929   S                 WILLIE
1930   C                 ANNA
1931   R                 EDNA
1932   G                 PAULINE
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              A                B
1933   C                 LOUISE
1934   B                 FAY
1935   J                 MARQUETTE
1936   S                 LOUIS
1937   T                 SALLY
1938   J                 ROBERT
1939   J                 WILLIE
1940   C                 GEORGIA
1941   H                 DOROTHY
1942   T                 CLINT
1943   L                 TONYA
1944   B                 JIM
1945   C                 EDWARD
1946   R                 WILLIAM
1947   S                 CLEORA
1948   F                 JOHN
1949   T                 DOROTHY
1950   R                 ROBERT
1951   J                 LEOLA
1952   B                 AUDREY
1953   J                 CALVIN
1954   C                 DONALD
1955   O                 CALVIN
1956   F                 MARIA
1957   C                 VERA
1958   T                 CLAUDE
1959   G                 CHARLES
1960   H                 ARNIE
1961   C                 EDNA
1962   W                 ETHEL
1963   S                 RACHEL
1964   W                 HATTIE
1965   I                 W
1966   S                 JEAN
1967   S                 ABRAHAM
1968   H                 BURNETTE
1969   P                 VERN
1970   A                 HELEN
1971   W                 ALICE
1972   R                 EVA
1973   S                 MAXINE
1974   W                 MARGARET
1975   A                 CLAUDE
1976   C                 HENRY
1977   B                 LOUVENIA
1978   C                 BETTIE
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              A                B
1979   O                 MAY
1980   L                 HOLLIE
1981   B                 TARLEE
1982   W                 RUTH
1983   S                 KATHARINE
1984   C                 ERIC
1985   P                 LARNELL
1986   B                 WILLIE
1987   K                 BERNICE
1988   H                 FLORA
1989   P                 MARY
1990   W                 MARGARET
1991   B                 LEO
1992   G                 JACQUELYN
1993   B                 BERNICE
1994   S                 HAROLD
1995   D                 HELEN
1996   C                 CARLEAN
1997   B                 DORIS
1998   S                 SWEETIE
1999   F                 MICHAEL
2000   D                 ELLA
2001   A                 HELEN
2002   P                 EARLINE
2003   G                 WILLIAM
2004   S                 REBECCA
2005   R                 DORIS
2006   G                 DELORES
2007   I                 ELIZABETH
2008   B                 LOUIS
2009   J                 WILLIAM
2010   B                 MAE
2011   R                 LUCILLE
2012   L                 ALICE
2013   C                 HENRY
2014   C                 OLLIE
2015   B                 FRANKIE
2016   S                 BEATRICE
2017   S                 FRANCES
2018   S                 GRADY
2019   M                 FRED
2020   N                 MAPLE
2021   W                 PETRONIUS
2022   B                 JUANITA
2023   B                 JEANETTE
2024   M                 JOHNETTA
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              A                B
2025   U                 EARL
2026   N                 DORTHY
2027   R                 BERNICE
2028   S                 BETTY
2029   L                 BESSIE
2030   B                 CHESTER
2031   W                 GEORGE
2032   W                 JANE
2033   G                 HEARD
2034   C                 CLARENCE
2035   J                 ANN
2036   S                 SYLVIA
2037   A                 CALVIN
2038   W                 JOYCE
2039   B                 JULIA
2040   M                 DELORES
2041   C                 LUCY
2042   O                 EDDIE
2043   J                 CHARLIE
2044   A                 LEON
2045   B                 JESSIE
2046   D                 THELMA
2047   F                 CURTIS
2048   T                 JOE
2049   M                 WILLIE
2050   V                 JUAN
2051   A                 BERTA
2052   T                 MARJORIE
2053   B                 FRIEDA
2054   H                 GEORGIA
2055   B                 REBECCA
2056   H                 ROSIE
2057   C                 FLOYD
2058   M                 EZELL
2059   W                 OCIE
2060   C                 HENRY
2061   H                 LENA
2062   S                 EDWINA
2063   B                 CLAUDIS
2064   S                 KATHERINE
2065   W                 DARLENE
2066   H                 MARSHALL
2067   W                 RUTHIE
2068   L                 ESTELLA
2069   M                 MOSE
2070   H                 ROBERT
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              A                B
2071   B                 JIMMIE
2072   H                 DOROTHY
2073   B                 ORA
2074   M                 ALBERT
2075   L                 DAISY
2076   T                 DONALD
2077   W                 VERNA
2078   S                 JAMES
2079   W                 RETHA
2080   W                 CURLIE
2081   G                 EUGENE
2082   M                 GLORIA
2083   W                 DORIS
2084   D                 REBECCA
2085   N                 CHARLES
2086   D                 LILLIE
2087   D                 DOROTHY
2088   M                 WILLIE
2089   E                 LOUISE
2090   A                 MARY
2091   M                 JUNE
2092   W                 LEVI
2093   O                 FRANCES
2094   R                 ELMIRA
2095   R                 DOROTHY
2096   S                 EDDIE
2097   M                 ROSE
2098   R                 MYRTLE
2099   L                 RACHEL
2100   J                 JUANITA
2101   H                 ARVADIA
2102   G                 JALENE
2103   T                 JOSEPHINE
2104   L                 MARIAN
2105   G                 PEARLIE
2106   R                 EDWARD
2107   R                 EUNICE
2108   H                 GLADYS
2109   C                 LAURA
2110   O                 IDA
2111   H                 MERCEDES
2112   R                 CHARLIE
2113   H                 JAMES
2114   S                 ALFONSO
2115   J                 CATHERINE
2116   W                 BARBARA
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              A                B
2117   D                 RICHARD
2118   B                 DOROTHY
2119   W                 JOAN
2120   M                 KATHERINE
2121   B                 ERMA
2122   G                 JAMES
2123   G                 BOBBIE
2124   T                 NANCY
2125   K                 LESLIE
2126   T                 RUBY
2127   C                 ROSIE
2128   B                 JUANITA
2129   M                 STELLA
2130   A                 JOHN
2131   H                 HOOVER
2132   H                 ARTHUR
2133   F                 ARNOLD
2134   P                 DANIELA
2135   G                 PERCY
2136   G                 OTIS
2137   C                 JOAN
2138   C                 JOHN
2139   S                 CLIFFORD
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           A         B
 1   Last Name   First Name
 2   K           FRANCES
 3   P           ARQUILLA
 4   M           PERCY
 5   M           ROSA
 6   G           MARY
 7   M           EUNICE
 8   E           WILLIE
 9   P           ROSAMUN
10   B           OLIVER
11   S           WILMA
12   L           FLOYD
13   D           MARY
14   B           MAGGIE
15   C           HERBERT
16   B           CLARA
17   H           VIOLA
18   M           SALLY
19   B           HAZEL
20   M           SUSIE
21   O           ZYGMUNT
22   M           BERTHA
23   A           CLEO
24   W           MARY
25   D           WILLIAM
26   S           EMMETT
27   F           EDNA
28   H           LILLIE
29   M           THOMAS
30   T           MATTIE
31   W           QUEEN
32   J           EDDIE
33   S           NANCY
34   S           WALTER
35   T           HELEN
36   F           EMMA
37   B           CASINA
38   A           ANNIE
39   W           BIRDIE
40   W           EMMA
41   J           LAVADA
42   H           LOUISE
43   R           BERNICE
44   L           JEANETTA
45   M           EDITH
46   W           EULA
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         A          B
47   M          JOHN
48   F          VIOLET
49   W          CHARLES
50   D          HENRY
51   C          JULIA
52   M          GAINES
53   T          MARY
54   J          LAURA
55   B          GRACE
56   B          MATTIE
57   B          JOHN
58   R          SUSAN
59   C          ADA
60   B          RUTH
61   T          MYRTIS
62   M          CECIL
63   S          ETHEL
64   B          ANTHONY
65   L          SYLVIA
66   M          MATTIE
67   G          INEZ
68   M          LUVENIA
69   A          DELLA
70   D          ESTHER
71   H          LILLIAN
72   T          ETHEL
73   U          MARGARET
74   O          ZERIC
75   B          VIOLETTE
76   T          DELORES
77   W          ERNESTINE
78   N          ALFRED
79   C          WILLIE
80   B          MARY
81   T          HUDA
82   L          HELEN
83   C          MILDRED
84   J          DOROTHY
85   K          CHARLES
86   G          ELEANOR
87   M          LUCILLE
88   T          QUEEN
89   W          EVELYN
90   S          WILLIE
91   H          SARA
92   J          ROSE
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          A          B
 93   J          MARGARET
 94   J          JULIA
 95   W          M
 96   H          ANNIE
 97   P          KATIE
 98   D          LEOLA
 99   C          HELEN
100   G          PAUL
101   C          RENE
102   R          DAVID
103   S          OWEN
104   R          MARY
105   S          MYRTLE
106   D          VERA
107   E          CLAYBORN
108   H          VIRGINIA
109   F          HENRY
110   D          SARAH
111   A          URIAH
112   H          ALICE
113   W          HERBERT
114   B          GLADYS
115   R          LOUISE
116   K          EATON
117   J          GORDON
118   P          LUCILLE
119   M          FLORENCE
120   B          OTIS
121   B          BEN
122   T          LUCILLE
123   M          CALISTA
124   T          MYRES
125   L          EDWARDO
126   S          BETTY
127   T          PRISCILLA
128   F          ESTALEEN
129   O          IRVIN
130   P          JOHN
131   H          MARGARET
132   M          JOSEPH
133   M          IRA
134   B          OPAL
135   S          JAMES
136   S          JAMES
137   D          VERA
138   R          KATIE
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          A          B
139   E          SADIE
140   T          BEN
141   B          ELSIE
142   F          SOPHIA
143   R          LUCILE
144   A          FRANK
145   M          LILLIAN
146   H          NANNIE
147   W          RUFUS
148   N          HENRIETTA
149   M          MARTIN
150   M          MARGARET
151   C          LAURA
152   V          SYLVIA
153   M          ALBERT
154   M          CLARA
155   D          MELVIN
156   P          LELA
157   R          GUADALUP
158   D          LEONA
159   C          RUBY
160   C          ERNEST
161   B          CHARLES
162   J          CLARENCE
163   H          MAE
164   W          L
165   A          JAMES
166   K          JOHN
167   E          SADIE
168   B          RUBY
169   P          VIRGINIA
170   A          THELMA
171   B          ELI
172   W          SARAH
173   A          ANNIE
174   D          ESTELLA
175   C          ANN
176   J          SHIRLEY
177   B          HELEN
178   M          VIOLA
179   W          DORIS
180   K          ROBERT
181   K          AMY
182   D          MELVIN
183   W          NELLIE
184   M          MARGARET
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          A          B
185   A          WITALT
186   G          ELIGA
187   R          KATIE
188   H          MARTHA
189   M          EARNESTIN
190   S          LEON
191   S          LOIS
192   D          LIBBIE
193   T          CHRISTINE
194   H          JAMES
195   H          LOUISE
196   B          LEGERTHA
197   P          JANE
198   D          CRISTINO
199   M          JOSEFINA
200   C          GEORGE
201   K          J
202   P          RUBY
203   S          ESTELLE
204   D          AUDREY
205   J          MAE
206   M          WILMA
207   W          LEE
208   S          MAGGIE
209   B          ED
210   J          JUSTINE
211   T          OMER
212   J          ALBERT
213   L          RANEY
214   J          ANNIE
215   A          MARY
216   B          LOUISE
217   A          ANN
218   G          MARY
219   T          BESSIE
220   S          BEATRICE
221   G          LUCY
222   F          CHARLCIE
223   B          ELLEN
224   W          CALVIN
225   W          CALVIN
226   P          MARY
227   S          EUZELLA
228   G          ANN
229   I          EUGENE
230   V          DONALD
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          A          B
231   P          ROBERT
232   C          DORETHA
233   N          VENICE
234   C          JIMMIE
235   L          WILLIE
236   B          DOROTHY
237   J          MARY
238   S          ZENOBIA
239   F          LEILA
240   P          LLOYD
241   L          BESSIE
242   M          WILLIE
243   R          GWENDOLY
244   R          KATE
245   J          JAMES
246   H          MCKINLEY
247   R          PAULINE
248   W          COSTON
249   S          LELA
250   M          HAROLD
251   C          GERTIE
252   G          MILDRED
253   I          LEILA
254   J          LENORA
255   T          MARY
256   J          WALTER
257   L          ROSIE
258   S          SAMUEL
259   C          LOUISE
260   B          WILLIE
261   D          ANDREW
262   H          ISABEL
263   T          THOMAS
264   E          MINNIE
265   S          HENRY
266   H          JOHNNIE
267   K          MARGARET
268   S          PRESCOVA
269   N          THOMAS
270   M          EARNEST
271   W          JAMES
272   B          DELORES
273   W          KATHRYN
274   M          LILLIAN
275   M          HELEN
276   C          ERNESTINE
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          A         B
277   H          EARNESTIN
278   B          MARY
279   G          LEROY
280   G          DELILAH
281   T          ANNIE
282   P          ADA
283   M          CHARLES
284   M          ROBERSINE
285   B          LUCILLE
286   W          MARGARET
287   N          HERSCHEL
288   M          ELIZABETH
289   B          JESSE
290   B          DORIS
291   W          NAOMI
292   H          ONEAL
293   T          REGINA
294   A          MATTIE
295   M          THELMA
296   N          JOSEPHINE
297   M          CHARLIE
298   C          HATTIE
299   C          THOMAS
300   C          WILLIAM
301   G          LEON
302   E          EMMALYNE
303   W          HELEN
304   Y          HASELTEEN
305   W          DANIEL
306   I          ZONNIE
307   M          DENOTRA
308   B          CHARLES
309   W          JOSEPHINE
310   C          HAROLD
311   C          BARBARA
312   K          EG
313   H          KATIE
314   B          MATTIE
315   C          LULA
316   L          MYRTLE
317   J          CORNELIA
318   A          MOHAMED
319   Y          GRACIE
320   B          SHIRLEY
321   S          RUBY
322   B          GEORGE
       Case 1:20-cv-00708-CCCECF
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          A         B
323   E          BERNARD
324   P          SQUIRE
325   W          MARY
326   T          HELEN
327   M          JACQUELIN
328   M          ANNA
329   S          JAMES
330   Y          ELSA
331   M          LILLIE
332   S          JOSEPHINE
333   N          EUGENE
334   K          NICODEMU
335   F          LOUIS
336   F          LEMAR
337   W          LOUISE
338   B          MARGARET
339   K          WEALTHY
340   T          THELMA
341   W          ELLA
342   M          CLEASTER
343   P          BARBBRA
344   K          MOHEDOIN
345   F          JOE
346   B          EDWARD
347   E          MAXINE
348   H          FRANCES
349   B          GERTRUDE
350   L          LUYVICE
351   T          BEN
352   G          ROBERT
353   M          THELMA
354   R          ANNIE
355   S          BARBBRA
356   S          PEDRO
357   J          GUY
358   R          ELIZABETH
359   J          MARTHA
360   G          CHARLES
361   K          JUNETTA
362   A          HUBERT
363   G          CARMEN
364   R          MANUEL
365   A          ROSIE
366   R          RAYMOND
Case Case  1:20-cv-00708-CCC ECF
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            C            D
1    LAST_NAME      FIRST_NAME
2    C              ROBIN
3    J              ROBIN
4    R              BOBBIE
5    R              BOBBIE
6    M              INGRID
7    W              INGRID
8    B              PHYLLIS
9    B              PHYLLIS
10   W              TWANA
11   W              TWANA
12   H              SHANNA
13   P              SHANNA
14   F              SARALINA
15   S              SARALINA
16   D              CHRISTA
17   D              CHRISTA
18   G              DEVON
19   G              DEVON
20   H              LILLIA
21   S              LILLIA
22   A              ROSALIND
23   T              ROSALIND
24   B              MICHELLE
25   L              MICHELLE
26   R              JASON
27   R              JASON
28   A              LOLA
29   P              LOLA
30   D              CATHY
31   H              CATHY
32   A              ANTOINETTE
33   B              ANTOINETTE
34   R              ANGELICA
35   R              ANGELICA
36   L              ALYCIA
37   L              ALYCIA
38   C              CYNTHIA
39   C              CYNTHIA
40   S              TAMARA
41   S              TAMARA
42   F              KALIMAH
43   W              KALIMAH
44   H              MELODYE
45   S              MELODYE
46   J              CHRISTINA
      Case 1:20-cv-00708-CCCECF
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          C              D
47   J              CHRISTINA
48   C              SPARKLE
49   C              SPARKLE
50   J              SAKINA
51   M              SAKINA
52   C              DELPHIA
53   H              DELPHIA
54   B              CHERYL
55   G              CHERYL
56   C              KATRINA
57   D              KATRINA
58   O              ROBERT
59   O              ROBERT
60   A              KIM
61   S              KIM
62   M              GERALDINE
63   M              GERALDINE
64   G              MARIAN
65   M              MARIAN
66   T              RAPHEAL
67   T              RAPHEAL
68   S              DERICK
69   S              DERICK
70   G              DIANE
71   R              DIANE
72   D              ESTHER
73   D              ESTHER
74   G              LORETTA
75   P              LORETTA
76   M              FRANCES
77   M              FRANCES
78   C              SHERON
79   P              SHERON
80   T              LINDA
81   T              LINDA
82   G              KATHLEEN
83   G              KATHLEEN
84   J              JACQUELINE
85   T              JACQUELINE
86   R              LUSTER
87   R              LUSTER
88   D              KHARY
89   D              KHARY
90   A              KATHRYN
91   A              KATHRYN
92   D              RACHEL
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          C              D
 93   K             RACHEL
 94   S             MARK
 95   S             MARK
 96   B             NATHAN
 97   B             NATHAN
 98   S             ROSE
 99   S             ROSE
100   H             KIM
101   R             KIM
102   K             ANDRE
103   K             ANDRE
104   H             NETTIE
105   M             NETTIE
106   B             LINDA
107   B             LINDA
108   C             RORY
109   S             RORY
110   J             JILL
111   S             JILL
112   B             BEVERLY
113   B             BEVERLY
114   H             ROMONA
115   H             ROMONA
116   B             MARY
117   D             MARY
118   S             CORTEZ
119   S             CORTEZ
120   R             JEFFREY
121   R             JEFFREY
122   D             MILDRED
123   D             MILDRED
124   H             ELAINE
125   L             ELAINE
126   K             VANESSA
127   W             VANESSA
128   H             VIOLA
129   H             VIOLA
130   R             ADRIAN
131   R             ADRIAN
132   S             HENRY
133   S             HENRY
134   A             VENANCIO
135   G             VENANCIO
136   R             TERRY
137   T             TERRY
138   S             OLLIE
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          C              D
139   S             OLLIE
140   P             QUENTIN
141   P             QUENTIN
142   R             DONDRA
143   S             DONDRA
144   C             BETTY
145   M             BETTY
146   A             NANNER
147   C             NANNER
148   L             BRENDA
149   R             BRENDA
150   C             GWINNETTE
151   W             GWINNETTE
152   C             JERRY
153   H             JERRY
154   S             CLAUDIA
155   S             CLAUDIA
156   R             MATTHEW
157   R             MATTHEW
158   S             WILLIAM
159   S             WILLIAM
160   A             EULA
161   A             EULA
162   J             JOHN
163   J             JOHN
164   L             ANNA
165   R             ANNA
166   C             SHIRLEY
167   P             SHIRLEY
168   B             VELMA
169   H             VELMA
170   E             DEBORAH
171   L             DEBORAH
172   K             TERESA
173   R             TERESA
174   G             ERIC
175   G             ERIC
176   L             MICHAEL
177   L             MICHAEL
178   S             DEAVONTE
179   S             DEAVONTE
180   B             MARGARET
181   B             MARGARET
182   R             JACQUELINE
183   R             JACQUELINE
184   B             TONIA
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          C              D
185   C             TONIA
186   E             ANNETTE
187   E             ANNETTE
188   J             GLADYS
189   P             GLADYS
190   T             RAGER
191   T             RAGER
192   S             BETTY
193   S             BETTY
194   B             GEORGIA
195   B             GEORGIA
196   S             RICHARD
197   S             RICHARD
198   M             LYDIA
199   M             LYDIA
200   D             SHYLO
201   M             SHYLO
202   T             GORTON
203   T             GORTON
204   F             TINA
205   F             TINA
206   J             PATRICIA
207   W             PATRICIA
208   P             ANTONIO
209   P             ANTONIO
210   H             DOROTHY
211   R             DOROTHY
212   J             CORA
213   J             CORA
214   Y             TONIA
215   Y             TONIA
216   T             VANDORA
217   T             VANDORA
218   S             SARAH
219   S             SARAH
220   G             MAURICE
221   G             MAURICE
222   J             JERRALD
223   J             JERRALD
224   H             ANGELA
225   T             ANGELA
226   M             TERRIAN
227   M             TERRIAN
228   N             JACQUELINE
229   O             JACQUELINE
230   T             SHARI
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          C              D
231   T             SHARI
232   T             ALONZO
233   T             ALONZO
234   A             DONNA
235   W             DONNA
236   B             LUCILLE
237   H             LUCILLE
238   R             TIANDRA
239   R             TIANDRA
240   C             WANDA
241   K             WANDA
242   C             LONDON
243   C             LONDON
244   R             OLLIE
245   T             OLLIE
246   F             ELMER
247   N             ELMER
248   B             JANICE
249   D             JANICE
250   C             SHARON
251   T             SHARON
252   L             DEBORAH
253   L             DEBORAH
254   K             JANET
255   S             JANET
256   T             SHAMEKA
257   W             SHAMEKA
258   L             LINDA
259   R             LINDA
260   W             DELLA
261   W             DELLA
262   R             DAVID
263   R             DAVID
264   M             SHARON
265   W             SHARON
266   H             GEORGE
267   H             GEORGE
268   G             DOMINIQUE
269   G             DOMINIQUE
270   R             JANAE
271   R             JANAE
272   C             CRISTINA
273   C             CRISTINA
274   A             BEVERLY
275   H             BEVERLY
276   M             JEWEL
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          C              D
277   M             JEWEL
278   B             SHARON
279   B             SHARON
280   M             DWAYNE
281   W             DWAYNE
282   C             ALISA
283   L             ALISA
284   C             WANDA
285   L             WANDA
286   B             LINDA
287   W             LINDA
288   H             DERRICK
289   H             DERRICK
290   B             GRACIE
291   P             GRACIE
292   C             TERRIE
293   H             TERRIE
294   H             BETTY
295   R             BETTY
296   G             ARON
297   G             ARON
298   B             SABRINA
299   M             SABRINA
300   S             LISA
301   T             LISA
302   B             ROSITA
303   C             ROSITA
304   S             VALERIE
305   S             VALERIE
306   C             ROSHANDA
307   C             ROSHANDA
308   B             BELINDA
309   M             BELINDA
310   D             EVELYN
311   S             EVELYN
312   B             VONCILE
313   M             VONCILE
314   F             ANGEL
315   P             ANGEL
316   B             SHARON
317   B             SHARON
318   E             KATHY
319   E             KATHY
320   G             MICHELLE
321   L             MICHELLE
322   P             JESSIE
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          C              D
323   P             JESSIE
324   C             ROSE
325   S             ROSE
326   S             ROSE
327   P             TRACIE
328   P             TRACIE
329   S             KIRK
330   S             KIRK
331   N             CANDICE
332   T             CANDICE
333   D             PAULINE
334   D             PAULINE
335   P             TAMIKA
336   P             TAMIKA
337   M             JACQUELINE
338   M             JACQUELINE
339   D             PATRICIA
340   D             PATRICIA
341   N             CHRISTOPHER
342   N             CHRISTOPHER
343   L             RICHARD
344   L             RICHARD
345   W             LORRAINE
346   W             LORRAINE
347   T             PENELOPE
348   T             PENELOPE
349   O             JASMINE
350   Y             JASMINE
351   S             WILLA
352   S             WILLA
353   G             TONYA
354   R             TONYA
355   L             WILLIE
356   M             WILLIE
357   M             EVA
358   T             EVA
359   E             CEDRIC
360   E             CEDRIC
361   C             SHEBABE
362   K             SHEBABE
363   B             DONNA
364   F             DONNA
365   G             KIMBERLY
366   S             KIMBERLY
367   P             ANTHONY
368   P             ANTHONY
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           C              D
369   L              DEBORAH
370   T              DEBORAH
371   S              DEMETRIS
372   S              DEMETRIS
373   C              MARILYN
374   H              MARILYN
375   M              MARY
376   M              MARY
377   J              CAROLYN
378   J              CAROLYN
379   M              GLORIA
380   M              GLORIA
381   C              PATRICIA
382   R              PATRICIA
383   P              ANA
384   P              ANA
385   P              RASHAWNDA
386   P              RASHAWNDA
387   D              ETHEL
388   D              ETHEL
389   W              KENNETH
390   W              KENNETH
391   O              JAMES
392   O              JAMES
393   C              GLORIA
394   D              GLORIA
395   C              DELEON
396   V              DELEON
397   F              FANTASIA
398   F              FANTASIA
399   T              VICTOR
400   T              VICTOR
401   M              RONALD
402   M              RONALD
403   W              JAMES
404   W              JAMES
405   K              ERIKA
406   M              ERIKA
407   C              LOLA
408   W              LOLA
409   R              ASIA
410   R              ASIA
411   B              INGRID
412   B              INGRID
413   M              REGINALD
414   M              REGINALD
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           C              D
415   D              MICHAEL
416   S              MICHAEL
417   B              VIOLA
418   M              VIOLA
419   G              JULIA
420   M              JULIA
421   T              ALONA
422   W              ALONA
423   G              DIANA
424   G              DIANA
425   S              SHARNESA
426   S              SHARNESA
427   E              JANICE
428   S              JANICE
429   C              BRENDA
430   C              BRENDA
431   M              FRANCINE
432   R              FRANCINE
433   C              LAURA
434   C              LAURA
435   B              OSCAR
436   B              OSCAR
437   W              ROBERT
438   W              ROBERT
439   C              SAMANTHA
440   T              SAMANTHA
441   J              NICOLE
442   S              NICOLE
443   A              ROSALIND
444   W              ROSALIND
445   W              JEFFREY
446   W              JEFFREY
447   D              PAMELA
448   J              PAMELA
449   I              BARBARA
450   O              BARBARA
451   J              OTIE
452   J              OTIE
453   G              DELORES
454   G              DELORES
455   D              GLETA
456   R              GLETA
457   D              DOROTHY
458   R              DOROTHY
459   W              SHIRLEY
460   W              SHIRLEY
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           C              D
461   G              KARLA
462   R              KARLA
463   H              CHERYL
464   J              CHERYL
465   A              LAVELL
466   A              LAVELL
467   F              LAKEISHA
468   N              LAKEISHA
469   T              TANYA
470   W              TANYA
471   Y              LESTER
472   Y              LESTER
473   A              SHEILA
474   B              SHEILA
475   C              LATONYA
476   D              LATONYA
477   M              SEBRENA
478   S              SEBRENA
479   B              RHONDA
480   W              RHONDA
481   W              MICHELLE
482   W              MICHELLE
483   M              GWENDOLYN
484   Y              GWENDOLYN
485   C              VANESSA
486   P              VANESSA
487   F              ERNEST
488   F              ERNEST
489   L              MARVIN
490   L              MARVIN
491   B              JOHNNIE
492   R              JOHNNIE
493   G              SHIRLEY
494   S              SHIRLEY
495   S              WILL
496   S              WILL
497   B              CURTIS
498   B              CURTIS
499   D              PATRICIA
500   D              PATRICIA
501   S              CHARLOTTE
502   W              CHARLOTTE
503   C              LINDA
504   N              LINDA
505   L              CAROL
506   L              CAROL
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           C               D
507   L              ANDREA
508   L              ANDREA
509   L              CHERYL
510   R              CHERYL
511   L              CARRIE
512   L              CARRIE
513   S              DORIS
514   M              DORIS
515   H              TATAINA
516   M              TATAINA
517   B              LISA
518   M              LISA
519   C              AYRIEL
520   C              AYRIEL
521   E              DIANA
522   S              DIANA
523   G              DORIS
524   P              DORIS
525   B              IVONIA
526   M              IVONIA
527   G              LENICE
528   O              LENICE
529   A              LINDA
530   F              LINDA
531   T              ANGELA
532   T              ANGELA
533   C              LUIS
534   O              LUIS
535   C              MARIA
536   S              MARIA
537   W              LUTHER
538   W              LUTHER
539   W              DENISESSA
540   W              DENISESSA
541   B              VIVIAN
542   B              VIVIAN
543   E              MYCHELLE
544   E              MYCHELLE
545   O              VANESSA
546   S              VANESSA
547   H              ROBIN
548   H              ROBIN
549   R              LANAE
550   S              LANAE
551   F              MARIAN
552   M              MARIAN
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           C              D
553   M              KATHRYN
554   M              KATHRYN
555   B              YVONNE
556   G              YVONNE
557   M              JOSEPH
558   M              JOSEPH
559   H              ROBERT
560   S              ROBERT
561   K              LINDA
562   K              LINDA
563   W              MARKIETH
564   W              MARKIETH
565   C              TINA
566   M              TINA
567   O              AIRENNA
568   S              AIRENNA
569   L              SHAWN
570   L              SHAWN
571   D              JOHNGELLA
572   S              JOHNGELLA
573   A              CHRISTINA
574   D              CHRISTINA
575   G              LEATRICE
576   M              LEATRICE
577   H              KALONYA
578   H              KALONYA
579   D              CORNELIUS
580   D              CORNELIUS
581   C              SHARON
582   W              SHARON
583   S              FLORA
584   S              FLORA
585   S              JACQUELINE
586   S              JACQUELINE
587   W              DONNIE
588   W              DONNIE
589   B              WILLIE
590   B              WILLIE
591   D              SPENCER
592   D              SPENCER
593   B              EDITH
594   G              EDITH
595   G              ALICE
596   S              ALICE
597   B              NORMA
598   S              NORMA
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           C               D
599   P              DORIS
600   P              DORIS
601   H              KARAN
602   H              KARAN
603   S              QUACEY
604   S              QUACEY
605   L              FREDERICK
606   L              FREDERICK
607   H              KIMBERLY
608   M              KIMBERLY
609   C              ANGELIA
610   W              ANGELIA
611   O              COZETTA
612   W              COZETTA
613   J              DELORES
614   M              DELORES
615   J              EXIE
616   W              EXIE
617   D              WANDA
618   P              WANDA
619   R              RICKY
620   R              RICKY
621   R              KEVON
622   R              KEVON
623   R              KHIREIN
624   R              KHIREIN
625   B              ROBERT
626   B              ROBERT
627   S              MICHAEL
628   S              MICHAEL
629   J              CAROLYN
630   J              CAROLYN
631   H              YUMIKA
632   H              YUMIKA
633   H              MARI
634   H              MARI
635   W              JAMES
636   W              JAMES
637   W              MILTON
638   W              MILTON
639   R              DARNELL
640   R              DARNELL
641   H              VANESSA
642   T              VANESSA
643   E              VALERIE
644   W              VALERIE
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           C              D
645   B              JANET
646   R              JANET
647   G              HELENA
648   G              HELENA
649   H              ANTHONY
650   H              ANTHONY
651   C              SHARON
652   L              SHARON
653   P              CARL
654   P              CARL
655   B              EVELYN
656   B              EVELYN
657   A              TYIKESHA
658   A              TYIKESHA
659   K              GHOLAMREZA
660   K              GHOLAMREZA
661   B              DOROTHY
662   H              DOROTHY
663   B              LECONDA
664   W              LECONDA
665   F              IESHIA
666   F              IESHIA
667   H              DAVITA
668   P              DAVITA
669   C              BRITTANY
670   C              BRITTANY
671   D              TRACEY
672   W              TRACEY
673   B              RUTH
674   S              RUTH
675   E              ROBIN
676   M              ROBIN
677   W              DELORES
678   W              DELORES
679   C              MELISSA
680   P              MELISSA
681   A              HAMZA
682   A              HAMZA
683   S              BARBARA
684   T              BARBARA
685   C              JOHNNY
686   C              JOHNNY
687   R              CARLOS
688   R              CARLOS
689   R              LULA
690   W              LULA
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           C              D
691   B              KAREN
692   F              KAREN
693   F              BRENDA
694   F              BRENDA
695   G              JAMES
696   G              JAMES
697   H              MARITA
698   J              MARITA
699   E              PETER
700   E              PETER
701   T              CYNTHIA
702   W              CYNTHIA
703   P              KYJUANA
704   T              KYJUANA
705   D              WILLA
706   D              WILLA
707   T              DOROTHY
708   T              DOROTHY
709   M              BERTHA
710   P              BERTHA
711   C              MILDRED
712   K              MILDRED
713   C              TERRY
714   L              TERRY
715   M              ALICIA
716   N              ALICIA
717   B              MARIA
718   R              MARIA
719   L              BELINDA
720   L              BELINDA
721   H              CLARA
722   H              CLARA
723   W              KELLEY
724   W              KELLEY
725   D              DEBORAH
726   L              DEBORAH
727   B              LENA
728   B              LENA
729   H              JOSE
730   H              JOSE
731   J              ALETHEA
732   Y              ALETHEA
733   G              VIDAL
734   G              VIDAL
735   B              MARIE
736   O              MARIE
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           C              D
737   L              NONA
738   M              NONA
739   W              MARSHA
740   W              MARSHA
741   C              ANA
742   R              ANA
743   E              JUANA
744   E              JUANA
745   G              LISA
746   J              LISA
747   P              JABARI
748   T              JABARI
749   C              OMORO
750   C              OMORO
751   C              JUANITA
752   D              JUANITA
753   F              GINA
754   T              GINA
755   F              PAMELA
756   R              PAMELA
757   B              BRIDGETT
758   B              BRIDGETT
759   B              GABRIEL
760   J              GABRIEL
761   F              NIESHA
762   S              NIESHA
763   K              LARRY
764   K              LARRY
765   B              LAURA
766   S              LAURA
767   S              MELLROSE
768   W              MELLROSE
769   H              EARNESTINE
770   R              EARNESTINE
771   R              JOANNA
772   R              JOANNA
773   B              MINNIE
774   B              MINNIE
775   G              ADRIANA
776   S              ADRIANA
777   W              DAVID
778   W              DAVID
779   S              DARLENE
780   S              DARLENE
781   D              MATTHEW
782   D              MATTHEW
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           C              D
783   B              SHAQUOIA
784   M              SHAQUOIA
785   B              PATRICIA
786   M              PATRICIA
787   D              MABLE
788   D              MABLE
789   A              SALVADOR
790   A              SALVADOR
791   P              DEBORAH
792   P              DEBORAH
793   H              JENNIFER
794   H              JENNIFER
795   P              FLORENCE
796   W              FLORENCE
797   S              LEVLIN
798   S              LEVLIN
799   K              MAXINE
800   M              MAXINE
801   W              ANTHONY
802   W              ANTHONY
803   M              SYLVIA
804   M              SYLVIA
805   P              AARON
806   P              AARON
807   W              MATTIE
808   W              MATTIE
809   J              FREDDIE
810   J              FREDDIE
811   V              RAQUEL
812   Z              RAQUEL
813   P              CHRISTOPHER
814   P              CHRISTOPHER
815   K              KATHY
816   M              KATHY
817   G              SHARON
818   H              SHARON
819   R              JOSEPH
820   R              JOSEPH
821   B              KAREN
822   G              KAREN
823   J              JENNIFER
824   J              JENNIFER
825   F              MELINDA
826   S              MELINDA
827   W              JACOB
828   W              JACOB
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           C              D
829   S              BANCA
830   S              BANCA
831   M              REBECCA
832   M              REBECCA
833   B              KEITH
834   B              KEITH
835   J              CLINTON
836   J              CLINTON
837   H              BRENDA
838   V              BRENDA
839   L              KRISTEN
840   L              KRISTEN
841   E              MARIA
842   M              MARIA
843   G              JOE
844   G              JOE
845   R              TERRI
846   S              TERRI
847   R              CALVIN
848   R              CALVIN
849   M              SHEILA
850   N              SHEILA
851   R              DIANE
852   S              DIANE
853   R              MARIA
854   W              MARIA
855   P              JEREMIAH
856   P              JEREMIAH
857   P              GLORIA
858   P              GLORIA
859   M              NORITA
860   M              NORITA
861   E              THEDOSHA
862   H              THEDOSHA
863   B              SHYULNIC
864   B              SHYULNIC
865   J              SHAWNTRELL
866   T              SHAWNTRELL
867   G              MARESSA
868   S              MARESSA
869   P              RUSSELL
870   P              RUSSELL
871   A              MICHELE
872   K              MICHELE
873   B              DILLINGHAM
874   B              DILLINGHAM
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           C              D
875   A              SANDRA
876   M              SANDRA
877   M              KEITH
878   M              KEITH
879   H              BERNARDINE
880   R              BERNARDINE
881   R              GREGORY
882   R              GREGORY
883   A              RUBY
884   A              RUBY
885   Z              PIOTR
886   Z              PIOTR
887   B              LORRAINE
888   C              LORRAINE
889   E              MATTHEW
890   E              MATTHEW
891   H              EBONY
892   H              EBONY
893   C              NICHOLE
894   C              NICHOLE
895   G              CEDRIC
896   G              CEDRIC
897   B              BARBARA
898   S              BARBARA
899   B              PHOENICIA
900   B              PHOENICIA
901   F              VERA
902   F              VERA
903   H              SOFINER
904   H              SOFINER
905   H              ALLYSSA
906   H              ALLYSSA
907   M              ORLENA
908   M              ORLENA
909   M              ORLENA
910   D              KATHY
911   M              KATHY
912   L              YVONNE
913   V              YVONNE
914   B              VERNITA
915   M              VERNITA
916   B              CARL
917   B              CARL
918   B              TONY
919   B              TONY
920   M              CLIFTON
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           C              D
921   M              CLIFTON
922   N              MICHAEL
923   N              MICHAEL
924   A              KIMAN
925   A              KIMAN
926   R              BARBARA
927   R              BARBARA
928   J              VERAMONICA
929   J              VERAMONICA
930   W              BRIANA
931   W              BRIANA
932   R              ANNIE
933   R              ANNIE
934   D              LAVERONICA
935   D              LAVERONICA
936   W              MICHAEL
937   W              MICHAEL
938   G              MONICA
939   G              MONICA
940   B              TONY
941   B              TONY
942   D              DANIELLE
943   D              DANIELLE
944   M              KYMM
945   M              KYMM
946   M              LILLIAN
947   S              LILLIAN
948   S              INEZ
949   S              INEZ
950   T              STEPHANIE
951   T              STEPHANIE
952   D              CLARICE
953   S              CLARICE
954   S              CARLA
955   W              CARLA
956   J              DAWN
957   W              DAWN
958   N              DJUAN
959   P              DJUAN
960   M              DONALD
961   M              DONALD
962   G              KATHEY
963   O              KATHEY
964   H              TANYA
965   H              TANYA
966   H              HERBERT
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           C              D
967    H             HERBERT
968    B             BRENDA
969    R             BRENDA
970    H             BRIDGET
971    H             BRIDGET
972    P             CORLISS
973    R             CORLISS
974    P             PHYLLIS
975    P             PHYLLIS
976    G             SUBRINA
977    M             SUBRINA
978    H             TIARRA
979    H             TIARRA
980    J             ROBBIE
981    W             ROBBIE
982    G             JENNIFER
983    G             JENNIFER
984    D             GARY
985    D             GARY
986    L             JAZAR
987    L             JAZAR
988    M             DOROTHY
989    M             DOROTHY
990    W             KATIE
991    W             KATIE
992    M             MARY
993    M             MARY
994    H             STEPHANIE
995    M             STEPHANIE
996    W             MARSHA
997    W             MARSHA
998    B             JESSIE
999    B             JESSIE
1000   D             SENOIL
1001   H             SENOIL
1002   D             SHAWNTANISE
1003   K             SHAWNTANISE
1004   M             ANTHONY
1005   M             ANTHONY
1006   C             MURDIS
1007   C             MURDIS
1008   H             CLAUDINA
1009   M             CLAUDINA
1010   B             GEORGIA
1011   M             GEORGIA
1012   L             CHRISTIAN
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           C              D
1013   L             CHRISTIAN
1014   C             NEICOL
1015   R             NEICOL
1016   M             EARL
1017   M             EARL
1018   L             SHARON
1019   M             SHARON
1020   C             ZACKERY
1021   C             ZACKERY
1022   H             SANDRA
1023   S             SANDRA
1024   H             MONIQUE
1025   T             MONIQUE
1026   B             ANTONIO
1027   B             ANTONIO
1028   K             TONI
1029   W             TONI
1030   W             DARRYL
1031   W             DARRYL
1032   J             TIMOTHY
1033   J             TIMOTHY
1034   I             ADRIANA
1035   I             ADRIANA
1036   M             WARREN
1037   M             WARREN
1038   C             DAVID
1039   C             DAVID
1040   F             FLORA
1041   F             FLORA
1042   D             ELIZABETH
1043   D             ELIZABETH
1044   A             VALERIE
1045   W             VALERIE
1046   M             JACQUELINE
1047   M             JACQUELINE
1048   H             JOHN
1049   H             JOHN
1050   S             ROSIE
1051   S             ROSIE
1052   D             LAWRENCE
1053   D             LAWRENCE
1054   B             MARK
1055   B             MARK
1056   R             KEVIN
1057   R             KEVIN
1058   C             VERNELL
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           C              D
1059   S             VERNELL
1060   B             JOHN
1061   S             JOHN
1062   R             BROBERICK
1063   R             BROBERICK
1064   S             MARCITA
1065   S             MARCITA
1066   D             CAROLYN
1067   D             CAROLYN
1068   M             BRANDON
1069   M             BRANDON
1070   G             LARRY
1071   G             LARRY
1072   A             DONNA
1073   F             DONNA
1074   O             PIPER
1075   O             PIPER
1076   F             EDWARD
1077   F             EDWARD
1078   F             WILLIE
1079   F             WILLIE
1080   M             ANDREA
1081   M             ANDREA
1082   F             DESIREE
1083   F             DESIREE
1084   F             CHRISTOPHER
1085   F             CHRISTOPHER
1086   S             GREGORY
1087   S             GREGORY
1088   J             JOHN
1089   P             JOHN
1090   B             SHARLENE
1091   T             SHARLENE
1092   H             ORA
1093   W             ORA
1094   B             CASHMIRE
1095   B             CASHMIRE
1096   H             DENISE
1097   H             DENISE
1098   P             MARGUERITA
1099   P             MARGUERITA
1100   J             NICOLE
1101   J             NICOLE
1102   I             IVOR
1103   I             IVOR
1104   M             PATRICIA
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           C              D
1105   P             PATRICIA
1106   G             ROWSHANDA
1107   G             ROWSHANDA
1108   J             MARLA
1109   J             MARLA
1110   B             VARNEY
1111   B             VARNEY
1112   B             LILLIE
1113   J             LILLIE
1114   A             MADISON
1115   A             MADISON
1116   C             DORREEN
1117   W             DORREEN
1118   M             NADIA
1119   M             NADIA
1120   B             THOMAS
1121   B             THOMAS
1122   J             LAWRENCE
1123   J             LAWRENCE
1124   R             LORENZO
1125   R             LORENZO
1126   K             PATRICIA
1127   M             PATRICIA
1128   K             ASHLEY
1129   M             ASHLEY
1130   D             LATIFA
1131   M             LATIFA
1132   R             HUBERT
1133   R             HUBERT
1134   J             EARL
1135   J             EARL
1136   M             DONNA
1137   P             DONNA
1138   B             LOIS
1139   H             LOIS
1140   F             PARIS
1141   S             PARIS
1142   B             WALTER
1143   B             WALTER
1144   H             KRYSTAL
1145   H             KRYSTAL
1146   O             MARSHA
1147   O             MARSHA
1148   J             PENELOPE
1149   S             PENELOPE
1150   T             JOHN
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           C              D
1151   W             JOHN
1152   G             GEORGE
1153   G             GEORGE
1154   H             TAWANA
1155   H             TAWANA
1156   K             MINNIE
1157   K             MINNIE
1158   C             JENNIFER
1159   F             JENNIFER
1160   B             NICOLE
1161   M             NICOLE
1162   C             ROSE
1163   M             ROSE
1164   C             KIMBERLY
1165   C             KIMBERLY
1166   P             BRITTANY
1167   P             BRITTANY
1168   J             MARCELLA
1169   J             MARCELLA
1170   D             IDA
1171   L             IDA
1172   D             VANESSA
1173   J             VANESSA
1174   A             MAHDI
1175   E             MAHDI
1176   M             LEILA
1177   M             LEILA
1178   G             DORIS
1179   L             DORIS
1180   M             GWENDOLYN
1181   M             GWENDOLYN
1182   F             TIMOTHY
1183   F             TIMOTHY
1184   C             CYNTHIA
1185   S             CYNTHIA
1186   W             JAMES
1187   W             JAMES
1188   A             JULIE
1189   B             JULIE
1190   A             JOSE
1191   A             JOSE
1192   M             JULIA
1193   M             JULIA
1194   W             BREA
1195   W             BREA
1196   R             DENISE
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           C              D
1197   W             DENISE
1198   M             AMOS
1199   M             AMOS
1200   A             HAMOD
1201   A             HAMOD
1202   F             SUSAN
1203   F             SUSAN
1204   M             DENNON
1205   N             DENNON
1206   T             FARRIN
1207   T             FARRIN
1208   L             MARCEL
1209   L             MARCEL
1210   T             CATHERINE
1211   T             CATHERINE
1212   H             WILMA
1213   H             WILMA
1214   B             TERRELL
1215   B             TERRELL
1216   D             LAPONDA
1217   M             LAPONDA
1218   B             AYOBAMI
1219   T             AYOBAMI
1220   O             CAROLYN
1221   S             CAROLYN
1222   E             CHARLENE
1223   E             CHARLENE
1224   D             ANNA
1225   T             ANNA
1226   M             ANGELA
1227   M             ANGELA
1228   D             RAMONA
1229   D             RAMONA
1230   B             LATRICIA
1231   G             LATRICIA
1232   T             ERIK
1233   T             ERIK
1234   E             ERNELL
1235   E             ERNELL
1236   T             VALENCIA
1237   T             VALENCIA
1238   J             MICHELE
1239   J             MICHELE
1240   L             DOROTHY
1241   L             DOROTHY
1242   V             KELSEY
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           C              D
1243   V             KELSEY
1244   H             MARTIN
1245   Y             MARTIN
1246   N             BOBETTE
1247   N             BOBETTE
1248   F             JAMES
1249   F             JAMES
1250   G             TERRANCE
1251   G             TERRANCE
1252   O             COLIN
1253   O             COLIN
1254   S             KARIN
1255   V             KARIN
1256   B             BRENDA
1257   M             BRENDA
1258   T             PHILLIP
1259   T             PHILLIP
1260   E             BEATRICE
1261   M             BEATRICE
1262   P             ETHEL
1263   S             ETHEL
1264   J             CAROL
1265   S             CAROL
1266   M             LILLIAN
1267   M             LILLIAN
1268   M             CURTIS
1269   M             CURTIS
1270   C             FABLIHA
1271   C             FABLIHA
1272   A             MARIA
1273   A             MARIA
1274   F             LENORA
1275   F             LENORA
1276   W             DURWIN
1277   W             DURWIN
1278   F             MYRON
1279   F             MYRON
1280   M             DIAMOND
1281   R             DIAMOND
1282   W             ISABELLA
1283   W             ISABELLA
1284   M             BARBARA
1285   M             BARBARA
1286   S             SHAWN
1287   S             SHAWN
1288   E             DEBRA
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           C               D
1289   T             DEBRA
1290   S             ISAURO
1291   S             ISAURO
1292   B             CHRISTINE
1293   J             CHRISTINE
1294   G             NICOLE
1295   G             NICOLE
1296   G             RICKY
1297   G             RICKY
1298   J             WILLIE
1299   J             WILLIE
1300   V             FARRAND
1301   V             FARRAND
1302   C             VERONICA
1303   C             VERONICA
1304   F             SALLY
1305   M             SALLY
1306   F             MARY
1307   F             MARY
1308   G             JOSEFINA
1309   G             JOSEFINA
1310   G             RAYMOND
1311   G             RAYMOND
1312   S             DONNA
1313   S             DONNA
1314   G             MARIA
1315   G             MARIA
1316   D             BARBARA
1317   V             BARBARA
1318   Y             LARRY
1319   Y             LARRY
1320   D             BARBARA
1321   J             BARBARA
1322   J             ANDREA
1323   R             ANDREA
1324   P             KEELA
1325   P             KEELA
1326   H             TAMIKA
1327   H             TAMIKA
1328   B             SONYA
1329   B             SONYA
1330   V             SEAN
1331   V             SEAN
1332   D             MAXINE
1333   W             MAXINE
1334   P             DWAYNE
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           C              D
1335   P             DWAYNE
1336   H             NADIE
1337   P             NADIE
1338   L             ELIZABETH
1339   S             ELIZABETH
1340   Y             ROBERT
1341   Y             ROBERT
1342   P             ALFRED
1343   P             ALFRED
1344   C             ARPRI
1345   G             ARPRI
1346   M             JOHNNY
1347   M             JOHNNY
1348   K             KEVIN
1349   K             KEVIN
1350   M             MALIK
1351   M             MALIK
1352   D             DEBORAH
1353   H             DEBORAH
1354   G             TIFFANY
1355   G             TIFFANY
1356   A             RAY
1357   A             RAY
1358   W             TYRONE
1359   W             TYRONE
1360   C             PEGGIE
1361   C             PEGGIE
1362   G             MARION
1363   M             MARION
1364   B             JOAN
1365   B             JOAN
1366   M             JOHN
1367   M             JOHN
1368   H             DAISY
1369   H             DAISY
1370   A             HAMID
1371   A             HAMID
1372   A             JOYCE
1373   W             JOYCE
1374   F             SHEILA
1375   F             SHEILA
1376   H             JUANE
1377   H             JUANE
1378   E             COLE
1379   E             COLE
1380   G             RANDOLPH
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           C              D
1381   J             RANDOLPH
1382   T             MARVIN
1383   T             MARVIN
1384   L             LYNETTRA
1385   W             LYNETTRA
1386   R             DVONTE
1387   R             DVONTE
1388   A             JOSEPH
1389   A             JOSEPH
1390   W             MARTHA
1391   W             MARTHA
1392   T             CARMEL
1393   T             CARMEL
1394   T             MARVIN
1395   T             MARVIN
1396   G             MICHAEL
1397   W             MICHAEL
1398   R             JEANETTE
1399   R             JEANETTE
1400   E             WILLIE
1401   E             WILLIE
1402   A             HAZEL
1403   S             HAZEL
1404   C             NISHAT
1405   C             NISHAT
1406   J             JOAN
1407   J             JOAN
1408   F             RYAN
1409   F             RYAN
1410   G             DESHAWN
1411   G             DESHAWN
1412   C             YVETTE
1413   S             YVETTE
1414   G             JAMES
1415   G             JAMES
1416   P             CHRISTOPHER
1417   P             CHRISTOPHER
1418   C             VALERIE
1419   C             VALERIE
1420   J             IDA
1421   J             IDA
1422   I             CAROLYN
1423   W             CAROLYN
1424   C             KORI
1425   C             KORI
1426   W             LEONARD
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           C              D
1427   W             LEONARD
1428   S             LUCY
1429   W             LUCY
1430   M             JEANETTE
1431   N             JEANETTE
1432   J             RONALD
1433   J             RONALD
1434   E             BERNICE
1435   T             BERNICE
1436   W             JUAN
1437   W             JUAN
1438   M             WILLIAM
1439   M             WILLIAM
1440   N             LAURA
1441   N             LAURA
1442   D             SHEILA
1443   D             SHEILA
1444   G             BETTY
1445   T             BETTY
1446   S             ELEANOR
1447   W             ELEANOR
1448   W             ERIC
1449   W             ERIC
1450   G             ALBERTA
1451   P             ALBERTA
1452   W             ANTHONY
1453   W             ANTHONY
1454   A             HANAN
1455   A             HANAN
1456   A             SALEH
1457   A             SALEH
1458   G             LULA
1459   G             LULA
1460   S             TINA
1461   S             TINA
1462   I             ADERONKE
1463   I             ADERONKE
1464   P             RITA
1465   S             RITA
1466   B             EDWARD
1467   B             EDWARD
1468   W             DANIELLE
1469   W             DANIELLE
1470   B             SHERRA
1471   D             SHERRA
1472   S             RAMSEY
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           C              D
1473   S             RAMSEY
1474   C             ELTON
1475   T             ELTON
1476   W             CALVIN
1477   W             CALVIN
1478   H             LORENA
1479   H             LORENA
1480   P             JULIO
1481   P             JULIO
1482   R             ARTHUR
1483   R             ARTHUR
1484   B             SUZANNE
1485   P             SUZANNE
1486   H             SHELIA
1487   W             SHELIA
1488   L             ANDREA
1489   S             ANDREA
1490   B             MARILYN
1491   K             MARILYN
1492   M             FERN
1493   M             FERN
1494   A             ROXIE
1495   Q             ROXIE
1496   A             ROBIN
1497   M             ROBIN
1498   J             TRACY
1499   J             TRACY
1500   D             PATRICIA
1501   L             PATRICIA
1502   F             LYNDA
1503   H             LYNDA
1504   P             GWENDOLYN
1505   P             GWENDOLYN
1506   G             IVORY
1507   G             IVORY
1508   G             IRMA
1509   S             IRMA
1510   H             KATHY
1511   W             KATHY
1512   H             FREDDIE
1513   H             FREDDIE
1514   M             BERENICE
1515   M             BERENICE
1516   J             ANTHONY
1517   J             ANTHONY
1518   I             STEPHEN
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           C              D
1519   I             STEPHEN
1520   B             LESILY
1521   B             LESILY
1522   B             ZINA
1523   S             ZINA
1524   D             MELISSA
1525   W             MELISSA
1526   R             CORTNEY
1527   R             CORTNEY
1528   S             GREGORY
1529   S             GREGORY
1530   B             RAQUEL
1531   W             RAQUEL
1532   P             DELRITA
1533   P             DELRITA
1534   P             CARMEN
1535   V             CARMEN
1536   K             LARAHN
1537   K             LARAHN
1538   M             RENEE
1539   M             RENEE
1540   C             TARA
1541   D             TARA
1542   I             HASSAN
1543   I             HASSAN
1544   I             WANDA
1545   I             WANDA
1546   W             CLYDE
1547   W             CLYDE
1548   M             KIMBERLYE
1549   M             KIMBERLYE
1550   P             JUANITA
1551   P             JUANITA
1552   B             EDDIE
1553   B             EDDIE
1554   H             CHAYA
1555   T             CHAYA
1556   R             MAREESA
1557   R             MAREESA
1558   A             EARNEST
1559   A             EARNEST
1560   J             DENISE
1561   J             DENISE
1562   G             LOUVENIA
1563   G             LOUVENIA
1564   C             REBECCA
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           C              D
1565   G             REBECCA
1566   N             DEXTER
1567   R             DEXTER
1568   Q             BRENDA
1569   T             BRENDA
1570   G             LUIS
1571   V             LUIS
1572   W             FRED
1573   W             FRED
1574   A             AUBREY
1575   A             AUBREY
1576   J             PAMELA
1577   W             PAMELA
1578   R             LUPE
1579   R             LUPE
1580   S             EVA
1581   S             EVA
1582   A             NOHAD
1583   M             NOHAD
1584   S             VERTILLA
1585   S             VERTILLA
1586   F             RODERICK
1587   F             RODERICK
1588   S             CORRINE
1589   S             CORRINE
1590   H             SHADEED
1591   R             SHADEED
1592   R             KELI
1593   R             KELI
1594   M             MARIBEL
1595   O             MARIBEL
1596   N             MARTEZ
1597   N             MARTEZ
1598   A             FATIMA
1599   M             FATIMA
1600   C             ROSE
1601   P             ROSE
1602   H             STACIE
1603   H             STACIE
1604   B             THERIE
1605   K             THERIE
1606   C             OMEGA
1607   G             OMEGA
1608   H             BEATRICE
1609   R             BEATRICE
1610   L             LINDA
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           C              D
1611   L             LINDA
1612   H             ZOE
1613   H             ZOE
1614   D             ANN
1615   I             ANN
1616   M             KK
1617   M             KK
1618   H             LANITA
1619   P             LANITA
1620   S             LAURA
1621   S             LAURA
1622   L             YETTA
1623   T             YETTA
1624   H             OZIE
1625   H             OZIE
1626   D             RITA
1627   M             RITA
1628   B             ALICE
1629   J             ALICE
1630   M             ABDULGABER
1631   S             ABDULGABER
1632   C             ROSA
1633   C             ROSA
1634   C             ROOSEVELT
1635   C             ROOSEVELT
1636   A             HISHAM
1637   A             HISHAM
1638   G             EULA
1639   H             EULA
1640   F             SHELLEY
1641   F             SHELLEY
1642   M             DONNA
1643   P             DONNA
1644   G             ALBERTA
1645   G             ALBERTA
1646   R             IMOGENE
1647   R             IMOGENE
1648   H             EMILIO
1649   H             EMILIO
1650   W             CAREY
1651   W             CAREY
1652   B             RAFEAL
1653   S             RAFEAL
1654   T             TERESA
1655   W             TERESA
1656   S             JAMES
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           C              D
1657   S             JAMES
1658   J             LISA
1659   S             LISA
1660   J             LESLIE
1661   J             LESLIE
1662   L             LINDA
1663   M             LINDA
1664   F             UMAR
1665   S             UMAR
1666   S             TERREN
1667   S             TERREN
1668   C             GAIL
1669   G             GAIL
1670   B             ALEJANDRO
1671   R             ALEJANDRO
1672   G             TARA
1673   M             TARA
1674   D             LESTER
1675   D             LESTER
1676   J             WILLIE
1677   M             WILLIE
1678   D             SHIRLEY
1679   M             SHIRLEY
1680   A             FUAD
1681   A             FUAD
1682   R             JACQUELINE
1683   S             JACQUELINE
1684   B             DAVID
1685   B             DAVID
1686   A             MAHMOOD
1687   A             MAHMOOD
1688   B             NEVA
1689   B             NEVA
1690   P             PAMELA
1691   V             PAMELA
1692   M             JOSHUA
1693   M             JOSHUA
1694   J             KENNETH
1695   J             KENNETH
1696   B             MENZIE
1697   B             MENZIE
1698   B             YOLANDA
1699   T             YOLANDA
1700   F             RASHAD
1701   F             RASHAD
1702   M             SAMUEL
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           C               D
1703   M             SAMUEL
1704   O             MARGARET
1705   O             MARGARET
1706   P             BROOKE
1707   R             BROOKE
1708   M             AUJANEE
1709   M             AUJANEE
1710   W             BERTHA
1711   W             BERTHA
1712   T             THELMA
1713   W             THELMA
1714   W             AUISHA
1715   W             AUISHA
1716   D             ANDRE
1717   D             ANDRE
1718   E             ARWAN
1719   E             ARWAN
1720   R             ALICE
1721   R             ALICE
1722   F             PHILLISTINE
1723   F             PHILLISTINE
1724   S             CHARLES
1725   S             CHARLES
1726   H             SELITA
1727   H             SELITA
1728   S             COREY
1729   S             COREY
1730   C             RICHARD
1731   C             RICHARD
1732   R             JUAN
1733   R             JUAN
1734   M             GLENDA
1735   M             GLENDA
1736   A             CAROLYN
1737   K             CAROLYN
1738   M             MARIA
1739   M             MARIA
1740   G             SYDELL
1741   G             SYDELL
1742   H             CARRIE
1743   L             CARRIE
1744   C             SALLIE
1745   S             SALLIE
1746   H             JURLINE
1747   H             JURLINE
1748   P             ANTHONY
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           C              D
1749   P             ANTHONY
1750   S             MARCELINO
1751   S             MARCELINO
1752   L             ARLETTE
1753   L             ARLETTE
1754   W             GEORGE
1755   W             GEORGE
1756   A             RASHA
1757   A             RASHA
1758   M             PAMELA
1759   S             PAMELA
1760   B             PRISCILLA
1761   L             PRISCILLA
1762   H             GEORGIA
1763   H             GEORGIA
1764   D             LISA
1765   M             LISA
1766   W             DIANE
1767   W             DIANE
1768   M             MICHINO
1769   P             MICHINO
1770   A             MOE
1771   A             MOE
1772   O             JANINE
1773   O             JANINE
1774   A             ZAYNAB
1775   A             ZAYNAB
1776   C             JAVAY
1777   N             JAVAY
1778   T             DAQUANE
1779   T             DAQUANE
1780   A             HUSSAIN
1781   A             HUSSAIN
1782   K             ALYSSA
1783   K             ALYSSA
1784   M             ALICIA
1785   M             ALICIA
1786   R             DARYL
1787   R             DARYL
1788   F             CLIFFORD
1789   J             CLIFFORD
1790   P             KAY
1791   R             KAY
1792   G             GERALD
1793   G             GERALD
1794   W             AMBER
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           C              D
1795   W             AMBER
1796   B             BEULAH
1797   S             BEULAH
1798   B             MYRA
1799   B             MYRA
1800   S             JESSIE
1801   W             JESSIE
1802   F             REGINA
1803   H             REGINA
1804   F             STEVEN
1805   F             STEVEN
1806   N             ANGELA
1807   T             ANGELA
1808   S             ALICE
1809   S             ALICE
1810   J             RHONDA
1811   R             RHONDA
1812   H             FRANCIS
1813   H             FRANCIS
1814   P             COLLINS
1815   P             COLLINS
1816   D             ANITA
1817   J             ANITA
1818   V             MARTIN
1819   V             MARTIN
1820   S             EMMA
1821   T             EMMA
1822   F             RAFAEL
1823   F             RAFAEL
1824   T             JENNELL
1825   T             JENNELL
1826   B             TAMARA
1827   B             TAMARA
1828   R             CHAQUITA
1829   R             CHAQUITA
1830   A             LORI
1831   A             LORI
1832   W             RONNIE
1833   W             RONNIE
1834   H             DIANE
1835   J             DIANE
1836   P             ADRIANE
1837   P             ADRIANE
1838   A             VIVIAN
1839   D             VIVIAN
1840   P             DENNIS
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           C              D
1841   P             DENNIS
1842   P             DONOVAN
1843   P             DONOVAN
1844   O             MIGUEL
1845   O             MIGUEL
1846   C             PATRICIA
1847   M             PATRICIA
1848   G             THERESA
1849   T             THERESA
1850   E             EMANUEL
1851   H             EMANUEL
1852   R             LINDA
1853   V             LINDA
1854   C             CYNTHIA
1855   R             CYNTHIA
1856   J             DONJI
1857   P             DONJI
1858   P             ARENA
1859   P             ARENA
1860   C             MILDRED
1861   C             MILDRED
1862   S             LYDA
1863   S             LYDA
1864   M             WILLIE
1865   M             WILLIE
1866   P             MELLODY
1867   R             MELLODY
1868   P             JOAN
1869   W             JOAN
1870   A             ALAA
1871   A             ALAA
1872   A             SIMMION
1873   B             SIMMION
1874   R             JOHN
1875   R             JOHN
1876   M             JANIECE
1877   M             JANIECE
1878   F             STEVEN
1879   G             STEVEN
1880   B             DEAN
1881   B             DEAN
1882   O             DEBORAH
1883   T             DEBORAH
1884   S             SHEILA
1885   S             SHEILA
1886   G             TANIA
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           C              D
1887   G             TANIA
1888   G             WANDA
1889   Y             WANDA
1890   P             NICOLE
1891   P             NICOLE
1892   L             CARLOS
1893   N             CARLOS
1894   H             MARK
1895   H             MARK
1896   B             DOMINIQUE
1897   K             DOMINIQUE
1898   B             MARY
1899   M             MARY
1900   C             OSWALDO
1901   C             OSWALDO
1902   A             DANIEL
1903   A             DANIEL
1904   C             AMPARO
1905   D             AMPARO
1906   W             ANTHONY
1907   W             ANTHONY
1908   C             WANDA
1909   S             WANDA
1910   H             SAMANTHA
1911   J             SAMANTHA
1912   G             LAKEETHA
1913   G             LAKEETHA
1914   C             DOROTHY
1915   M             DOROTHY
1916   H             PAM
1917   H             PAM
1918   C             JAMES
1919   C             JAMES
1920   L             TRECA
1921   W             TRECA
1922   W             TRECA
1923   D             PHENIQUE
1924   M             PHENIQUE
1925   O             CAROLYN
1926   W             CAROLYN
1927   H             ELIZABETH
1928   M             ELIZABETH
1929   G             CORINNA
1930   L             CORINNA
1931   B             DOROTHY
1932   P             DOROTHY
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           C              D
1933   B             LUCINDA
1934   L             LUCINDA
1935   G             JOSEPH
1936   G             JOSEPH
1937   L             ROSA
1938   L             ROSA
1939   F             XAVIER
1940   F             XAVIER
1941   M             PATRICIA
1942   M             PATRICIA
1943   R             HANNAH
1944   R             HANNAH
1945   G             JENEATRE
1946   G             JENEATRE
1947   W             DAMON
1948   W             DAMON
1949   P             MAE
1950   P             MAE
1951   M             ANGELA
1952   P             ANGELA
1953   B             TYRONE
1954   B             TYRONE
1955   M             MARCUS
1956   M             MARCUS
1957   P             JAMES
1958   P             JAMES
1959   A             MAYRA
1960   A             MAYRA
1961   R             CECILIA
1962   R             CECILIA
1963   P             EDWARD
1964   P             EDWARD
1965   L             LAKEESHA
1966   L             LAKEESHA
1967   C             BRIGETTE
1968   N             BRIGETTE
1969   L             CARLTON
1970   L             CARLTON
1971   S             DELJUAN
1972   S             DELJUAN
1973   B             BRADFORD
1974   B             BRADFORD
1975   P             CATHERINE
1976   S             CATHERINE
1977   C             BONITA
1978   S             BONITA
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           C               D
1979   L             ARLENE
1980   R             ARLENE
1981   F             SHIRLEY
1982   S             SHIRLEY
1983   H             WILLIE
1984   H             WILLIE
1985   H             MARILYN
1986   M             MARILYN
1987   W             LISA
1988   W             LISA
1989   G             FRANCES
1990   W             FRANCES
1991   P             JASMINE
1992   P             JASMINE
1993   S             NEAL
1994   S             NEAL
1995   W             TIMOTHY
1996   W             TIMOTHY
1997   B             GLORY
1998   L             GLORY
1999   R             ELYSA
2000   T             ELYSA
2001   L             JAMES
2002   L             JAMES
2003   L             MELISSA
2004   L             MELISSA
2005   B             ANDREA
2006   L             ANDREA
2007   B             INEZ
2008   B             INEZ
2009   M             MILLICENT
2010   M             MILLICENT
2011   R             ABRAHAM
2012   R             ABRAHAM
2013   T             MARK
2014   T             MARK
2015   B             LASHAWN
2016   P             LASHAWN
2017   R             CAROLYN
2018   R             CAROLYN
2019   T             SARA
2020   T             SARA
2021   R             DONALD
2022   R             DONALD
2023   B             IRENE
2024   P             IRENE
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           C              D
2025   S             REGINALD
2026   S             REGINALD
2027   R             JOWANNA
2028   R             JOWANNA
2029   R             TIFFANY
2030   R             TIFFANY
2031   L             JAJUAN
2032   L             JAJUAN
2033   M             MICHAEL
2034   M             MICHAEL
2035   M             MICHELLE
2036   M             MICHELLE
2037   C             KATHY
2038   G             KATHY
2039   M             TARA
2040   P             TARA
2041   E             MAHMOUD
2042   G             MAHMOUD
2043   D             CYNTHIA
2044   Y             CYNTHIA
2045   R             RAMON
2046   R             RAMON
2047   S             STEVIE
2048   S             STEVIE
2049   E             LEONARD
2050   E             LEONARD
2051   W             PHYLLIS
2052   W             PHYLLIS
2053   E             ALETHEA
2054   H             ALETHEA
2055   B             EMMA
2056   W             EMMA
2057   M             MARGUERITE
2058   M             MARGUERITE
2059   W             MICHAEL
2060   W             MICHAEL
2061   B             JESSIE
2062   L             JESSIE
2063   R             GENE
2064   W             GENE
2065   H             JEFFERY
2066   H             JEFFERY
2067   J             SHARON
2068   J             SHARON
2069   J             BRIANNA
2070   J             BRIANNA
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           C              D
2071   W             DESHAWN
2072   W             DESHAWN
2073   M             BETTIE
2074   T             BETTIE
2075   C             GLORIA
2076   S             GLORIA
2077   G             MITCHELL
2078   G             MITCHELL
2079   S             YVETTE
2080   S             YVETTE
2081   L             JULIE
2082   L             JULIE
2083   B             JOANN
2084   B             JOANN
2085   S             TAMALA
2086   T             TAMALA
2087   G             BARBRA
2088   G             BARBRA
2089   W             WILLIE
2090   W             WILLIE
2091   H             PEGGY
2092   V             PEGGY
2093   S             GREGERY
2094   S             GREGERY
2095   J             FRANCES
2096   J             FRANCES
2097   B             TERRI
2098   B             TERRI
2099   C             SUNDAE
2100   M             SUNDAE
2101   D             ZANDRA
2102   T             ZANDRA
2103   P             STEVEN
2104   P             STEVEN
2105   B             DAWN
2106   H             DAWN
2107   W             DENISE
2108   W             DENISE
2109   C             BEVERLY
2110   C             BEVERLY
2111   F             OLGA
2112   F             OLGA
2113   B             TALETHA
2114   G             TALETHA
2115   M             EDWARD
2116   N             EDWARD
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           C              D
2117   M             KENYATTA
2118   M             KENYATTA
2119   L             KAREN
2120   R             KAREN
2121   B             CHRYSANTHEA
2122   B             CHRYSANTHEA
2123   T             EARL
2124   T             EARL
2125   M             SIMONA
2126   S             SIMONA
2127   L             AMBER
2128   L             AMBER
2129   M             CYNTHIA
2130   M             CYNTHIA
2131   E             KEVIN
2132   E             KEVIN
2133   G             KEWANDA
2134   O             KEWANDA
2135   M             TERRY
2136   W             TERRY
2137   J             HOWARD
2138   J             HOWARD
2139   S             KENNETH
2140   S             KENNETH
2141   A             SAMANTHA
2142   A             SAMANTHA
2143   D             RUBY
2144   O             RUBY
2145   J             ABIGAIL
2146   J             ABIGAIL
2147   K             SANDRA
2148   P             SANDRA
2149   T             FLORIA
2150   T             FLORIA
2151   E             SHEILA
2152   T             SHEILA
2153   G             WILLIAM
2154   G             WILLIAM
2155   S             YOLANDA
2156   S             YOLANDA
2157   R             ELISE
2158   T             ELISE
2159   M             CALLIE
2160   S             CALLIE
2161   E             KHAALIDA
2162   P             KHAALIDA
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           C              D
2163   C             TERRY
2164   C             TERRY
2165   T             LEDRA
2166   V             LEDRA
2167   T             BARBARA
2168   T             BARBARA
2169   H             LASSANDRA
2170   H             LASSANDRA
2171   G             MARY
2172   G             MARY
2173   T             ROSEVELT
2174   T             ROSEVELT
2175   N             DEBRA
2176   P             DEBRA
2177   N             MERRIELLEN
2178   N             MERRIELLEN
2179   G             REGINA
2180   H             REGINA
2181   J             KURTIS
2182   J             KURTIS
2183   F             BRANDY
2184   R             BRANDY
2185   D             KAY
2186   D             KAY
2187   C             WENDY
2188   S             WENDY
2189   W             LEONARD
2190   W             LEONARD
2191   L             SHAQUILLE
2192   L             SHAQUILLE
2193   P             JANICE
2194   P             JANICE
2195   H             JESSICA
2196   P             JESSICA
2197   J             FREDDIE
2198   T             FREDDIE
2199   W             JOE
2200   W             JOE
2201   J             JOSEPHINE
2202   J             JOSEPHINE
2203   J             GAYE
2204   M             GAYE
2205   J             LORETTA
2206   J             LORETTA
2207   B             MICHELE
2208   B             MICHELE
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           C              D
2209   S             LARRY
2210   S             LARRY
2211   C             LILYBETH
2212   C             LILYBETH
2213   I             MINERVA
2214   I             MINERVA
2215   A             TRAMMANUEL
2216   D             TRAMMANUEL
2217   R             BARBARA
2218   R             BARBARA
2219   J             TONYA
2220   M             TONYA
2221   O             JAMES
2222   O             JAMES
2223   P             DOROTHY
2224   T             DOROTHY
2225   R             WATT
2226   R             WATT
2227   F             YVONNE
2228   F             YVONNE
2229   R             DESHAWN
2230   R             DESHAWN
2231   R             SOLEDAD
2232   V             SOLEDAD
2233   M             ANA
2234   V             ANA
2235   S             NIKO
2236   S             NIKO
2237   B             JUNE
2238   B             JUNE
2239   D             MALIEKA
2240   H             MALIEKA
2241   C             MARTHA
2242   G             MARTHA
2243   B             THERESA
2244   B             THERESA
2245   M             TONI
2246   W             TONI
2247   J             WILLIE
2248   S             WILLIE
2249   D             DEBORAH
2250   D             DEBORAH
2251   R             JONATHAN
2252   R             JONATHAN
2253   M             THELMA
2254   M             THELMA
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           C              D
2255   R             CAROLYN
2256   R             CAROLYN
2257   G             PHYLLIS
2258   G             PHYLLIS
2259   N             SHEILA
2260   T             SHEILA
2261   C             GWENDOLYN
2262   C             GWENDOLYN
2263   F             TIFFANI
2264   F             TIFFANI
2265   J             RAYCENE
2266   W             RAYCENE
2267   B             ROSA
2268   H             ROSA
2269   S             DWIGHT
2270   S             DWIGHT
2271   P             SHANNON
2272   W             SHANNON
2273   B             MICHELLE
2274   D             MICHELLE
2275   D             STEPHANIE
2276   W             STEPHANIE
2277   F             JACOB
2278   F             JACOB
2279   B             DEANN
2280   B             DEANN
2281   G             BEVERLY
2282   P             BEVERLY
2283   B             KIARA
2284   M             KIARA
2285   B             STEPHANIE
2286   S             STEPHANIE
2287   B             ANGULA
2288   J             ANGULA
2289   C             GLORIA
2290   D             GLORIA
2291   G             JAMES
2292   G             JAMES
2293   H             YVONNE
2294   W             YVONNE
2295   G             SHEILA
2296   G             SHEILA
2297   E             HERBERT
2298   E             HERBERT
2299   H             MARY
2300   R             MARY
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           C              D
2301   S             DONNA
2302   T             DONNA
2303   P             DECARREO
2304   P             DECARREO
2305   J             TRACY
2306   J             TRACY
2307   H             DEQUINDA
2308   H             DEQUINDA
2309   J             CLARIECE
2310   J             CLARIECE
2311   N             WANDA
2312   W             WANDA
2313   W             MARY
2314   W             MARY
2315   R             DARRYL
2316   R             DARRYL
2317   A             SANDRA
2318   C             SANDRA
2319   T             SAMANTHA
2320   W             SAMANTHA
2321   G             DAVID
2322   G             DAVID
2323   A             THELMA
2324   L             THELMA
2325   M             ORONDE
2326   M             ORONDE
2327   J             REBECCA
2328   J             REBECCA
2329   G             MICHELLE
2330   R             MICHELLE
2331   K             VERONICA
2332   K             VERONICA
2333   M             KAREN
2334   M             KAREN
2335   M             VANESSA
2336   S             VANESSA
2337   B             HELEN
2338   H             HELEN
2339   H             DETRIA
2340   P             DETRIA
2341   G             AMOS
2342   G             AMOS
2343   H             CATHRYN
2344   H             CATHRYN
2345   C             ROSE
2346   M             ROSE
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           C              D
2347   O             VICANGELO
2348   O             VICANGELO
2349   J             KATRINA
2350   T             KATRINA
2351   H             LINDA
2352   H             LINDA
2353   B             HENRY
2354   B             HENRY
2355   J             CYNTHIA
2356   S             CYNTHIA
2357   D             MARTHA
2358   R             MARTHA
2359   L             YOLANDA
2360   L             YOLANDA
2361   F             DONNH
2362   F             DONNH
2363   P             GWENDOLYN
2364   T             GWENDOLYN
2365   D             TANYA
2366   J             TANYA
2367   H             ABRAM
2368   H             ABRAM
2369   C             SHARITA
2370   G             SHARITA
2371   C             RUDDIE
2372   C             RUDDIE
2373   D             KEVIN
2374   D             KEVIN
2375   C             HENRI
2376   C             HENRI
2377   D             SHERRY
2378   M             SHERRY
2379   N             ROSIE
2380   W             ROSIE
2381   B             ANDREA
2382   M             ANDREA
2383   K             BARBARA
2384   K             BARBARA
2385   G             MAMIE
2386   P             MAMIE
2387   C             REBA
2388   G             REBA
2389   T             DESMAN
2390   T             DESMAN
2391   S             JAMES
2392   S             JAMES
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           C              D
2393   O             JOE
2394   O             JOE
2395   M             WILLIE
2396   W             WILLIE
2397   M             MICHELLE
2398   M             MICHELLE
2399   B             SARAH
2400   J             SARAH
2401   C             SHYNETTA
2402   C             SHYNETTA
2403   M             TATIANA
2404   M             TATIANA
2405   B             MARY
2406   M             MARY
2407   B             ROSEMARY
2408   J             ROSEMARY
2409   F             DARLENE
2410   F             DARLENE
2411   G             MARY
2412   G             MARY
2413   D             KYRA
2414   D             KYRA
2415   R             DAMON
2416   R             DAMON
2417   G             KATHERINE
2418   R             KATHERINE
2419   D             CARNELL
2420   D             CARNELL
2421   G             ADRIENNE
2422   M             ADRIENNE
2423   M             GENA
2424   W             GENA
2425   R             BARBARA
2426   S             BARBARA
2427   C             JASMINE
2428   M             JASMINE
2429   W             LUCILLE
2430   W             LUCILLE
2431   H             KEVIN
2432   H             KEVIN
2433   D             GORDON
2434   D             GORDON
2435   C             JUNE
2436   G             JUNE
2437   M             AMOS
2438   M             AMOS
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           C              D
2439   H             JANET
2440   H             JANET
2441   C             ELVA
2442   G             ELVA
2443   D             WALTER
2444   D             WALTER
2445   M             LARUTH
2446   S             LARUTH
2447   S             MARTELL
2448   S             MARTELL
2449   M             THERESA
2450   S             THERESA
2451   W             SANDRA
2452   W             SANDRA
2453   J             LEON
2454   J             LEON
2455   R             STEPHEN
2456   R             STEPHEN
2457   M             MICHAEL
2458   M             MICHAEL
2459   H             GWENDOLYN
2460   K             GWENDOLYN
2461   M             DEZAREE
2462   M             DEZAREE
2463   B             SEAN
2464   B             SEAN
2465   G             JAREKA
2466   G             JAREKA
2467   M             ELAINE
2468   W             ELAINE
2469   B             ANGELA
2470   J             ANGELA
2471   L             RYAN
2472   L             RYAN
2473   J             PENELOPE
2474   J             PENELOPE
2475   L             KIMBERLY
2476   W             KIMBERLY
2477   W             CHARLES
2478   W             CHARLES
2479   D             THORNTON
2480   D             THORNTON
2481   T             ANTHONY
2482   T             ANTHONY
2483   C             RICKY
2484   C             RICKY
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           C              D
2485   J             BABY
2486   J             BABY
2487   C             JOHNNIE
2488   L             JOHNNIE
2489   R             VEE‐ESTHER
2490   R             VEE‐ESTHER
2491   W             CHRISTOPHER
2492   W             CHRISTOPHER
2493   L             WILLIAM
2494   L             WILLIAM
2495   G             KATHERINE
2496   H             KATHERINE
2497   W             ANTHONY
2498   W             ANTHONY
2499   F             JESSICA
2500   F             JESSICA
2501   C             LILLIAN
2502   C             LILLIAN
2503   S             DONALD
2504   S             DONALD
2505   B             CARRIE
2506   S             CARRIE
2507   C             CATHY
2508   M             CATHY
2509   H             KRYSTALLE
2510   K             KRYSTALLE
2511   B             DELONDA
2512   L             DELONDA
2513   L             GEORGINIA
2514   M             GEORGINIA
2515   R             LARRY
2516   R             LARRY
2517   A             LEVON
2518   W             LEVON
2519   N             DEBORAH
2520   W             DEBORAH
2521   J             GWENDOLYN
2522   W             GWENDOLYN
2523   D             SHAUNTELL
2524   T             SHAUNTELL
2525   L             ICYEBELLE
2526   S             ICYEBELLE
2527   W             TAMECA
2528   Y             TAMECA
2529   G             SHAWN
2530   G             SHAWN
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           C              D
2531   L             CHARNITA
2532   S             CHARNITA
2533   F             CHARLOTTA
2534   M             CHARLOTTA
2535   P             TAMARA
2536   S             TAMARA
2537   H             DAVID
2538   H             DAVID
2539   J             DIANE
2540   J             DIANE
2541   M             CYNTHIA
2542   M             CYNTHIA
2543   A             RENE
2544   Z             RENE
2545   C             CAROLYN
2546   W             CAROLYN
2547   M             MIGUEL
2548   M             MIGUEL
2549   L             ADA
2550   L             ADA
2551   A             DHAFIR
2552   R             DHAFIR
2553   F             JACQUELINE
2554   N             JACQUELINE
2555   F             CYNTHIA
2556   W             CYNTHIA
2557   B             DEBORAH
2558   J             DEBORAH
2559   B             CATHERINE
2560   W             CATHERINE
2561   P             DEMARKESS
2562   P             DEMARKESS
2563   M             ESTHER
2564   P             ESTHER
2565   B             KEVIN
2566   B             KEVIN
2567   G             EULANDA
2568   G             EULANDA
2569   B             TERESA
2570   S             TERESA
2571   A             MARSHA
2572   P             MARSHA
2573   G             LEOBARDO
2574   G             LEOBARDO
2575   D             PAMELA
2576   H             PAMELA
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           C              D
2577   L             RUEL
2578   L             RUEL
2579   S             STEVEN
2580   S             STEVEN
2581   W             ROY
2582   W             ROY
2583   C             CATHERINE
2584   D             CATHERINE
2585   F             VIRGINIA
2586   F             VIRGINIA
2587   P             ROBERT
2588   P             ROBERT
2589   S             DENISE
2590   S             DENISE
2591   H             DAMIN
2592   H             DAMIN
2593   H             CAROLYN
2594   S             CAROLYN
2595   C             PENNIE
2596   R             PENNIE
2597   D             ELSIE
2598   D             ELSIE
2599   M             CALVIN
2600   M             CALVIN
2601   S             BRENDA
2602   S             BRENDA
2603   R             JIMMIE
2604   R             JIMMIE
2605   H             LOUISE
2606   H             LOUISE
2607   J             LONNIE
2608   J             LONNIE
2609   B             LOUIS
2610   B             LOUIS
2611   B             DEBORAH
2612   B             DEBORAH
2613   J             KATIMA
2614   J             KATIMA
2615   B             EUGENIA
2616   B             EUGENIA
2617   L             VANESSA
2618   L             VANESSA
2619   B             TUJUANA
2620   O             TUJUANA
2621   P             LINDA
2622   P             LINDA
       Case 1:20-cv-00708-CCCECF
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           C              D
2623   A             PERNELL
2624   A             PERNELL
2625   A             MICAH
2626   A             MICAH
2627   B             COURTNEY
2628   B             COURTNEY
2629   R             MARISSA
2630   V             MARISSA
2631   P             EUGENE
2632   P             EUGENE
2633   P             ODIS
2634   P             ODIS
2635   L             JAYLIN
2636   L             JAYLIN
2637   C             ANNETTE
2638   C             ANNETTE
2639   B             WILLIE
2640   B             WILLIE
2641   F             CARLEAN
2642   R             CARLEAN
2643   D             WENDELL
2644   D             WENDELL
2645   E             FLORIA
2646   T             FLORIA
2647   R             MIGUEAL
2648   R             MIGUEAL
2649   R             LINDA
2650   S             LINDA
2651   M             SURQUETTA
2652   M             SURQUETTA
2653   G             ALICIA
2654   Y             ALICIA
2655   M             ROBERTA
2656   M             ROBERTA
2657   B             DEBORAH
2658   H             DEBORAH
2659   H             MONICA
2660   H             MONICA
2661   F             LARINDA
2662   F             LARINDA
2663   M             DEBRA
2664   M             DEBRA
2665   H             DOROTHY
2666   W             DOROTHY
2667   G             LINDA
2668   S             LINDA
       Case 1:20-cv-00708-CCCECF
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           C              D
2669   B             TRALLIS
2670   L             TRALLIS
2671   B             ALONZO
2672   B             ALONZO
2673   H             PEARSON
2674   H             PEARSON
2675   L             ANITA
2676   T             ANITA
2677   E             JAMAR
2678   E             JAMAR
2679   A             LUCY
2680   A             LUCY
2681   C             NATHANIEL
2682   C             NATHANIEL
2683   A             ANGEL
2684   A             ANGEL
2685   H             MARY
2686   H             MARY
2687   Y             NAMON
2688   Y             NAMON
2689   J             FRANCINE
2690   M             FRANCINE
2691   L             BRANDON
2692   P             BRANDON
2693   H             YVONNE
2694   R             YVONNE
2695   N             NORAH
2696   N             NORAH
2697   H             JASON
2698   H             JASON
2699   H             NICOLO
2700   L             NICOLO
2701   R             ROSE
2702   S             ROSE
2703   C             HATTIE
2704   C             HATTIE
2705   H             MARY
2706   H             MARY
2707   A             DANIEL
2708   A             DANIEL
2709   M             ANTHONY
2710   M             ANTHONY
2711   B             RONDA
2712   M             RONDA
2713   B             HATTIE
2714   R             HATTIE
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           C              D
2715   A             MIRANDA
2716   A             MIRANDA
2717   B             ROSA
2718   B             ROSA
2719   M             RAYNONDO
2720   M             RAYNONDO
2721   H             ANITA
2722   H             ANITA
2723   H             ARTHUR
2724   H             ARTHUR
2725   B             JULIA
2726   B             JULIA
2727   B             SYLVIA
2728   P             SYLVIA
2729   M             TEOIN
2730   M             TEOIN
2731   H             ROLAND
2732   H             ROLAND
2733   E             THOMAS
2734   E             THOMAS
2735   M             RONALD
2736   M             RONALD
2737   R             JASON
2738   R             JASON
2739   M             SHARNEE
2740   M             SHARNEE
2741   J             MAE
2742   J             MAE
2743   J             LIONEL
2744   J             LIONEL
2745   M             JUSTIN
2746   M             JUSTIN
2747   B             ALBERT
2748   B             ALBERT
2749   B             FONTAINE
2750   B             FONTAINE
2751   S             GERARD
2752   S             GERARD
2753   W             DAVID
2754   W             DAVID
2755   S             DWAYNE
2756   S             DWAYNE
2757   H             BARBARA
2758   S             BARBARA
2759   B             ROSIE
2760   S             ROSIE
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           C              D
2761   P             ALEX
2762   P             ALEX
2763   M             MARY
2764   P             MARY
2765   C             MARTELL
2766   S             MARTELL
2767   B             KING
2768   B             KING
2769   R             ANTHONY
2770   R             ANTHONY
2771   F             KAYJONA
2772   J             KAYJONA
2773   E             ANDRE
2774   E             ANDRE
2775   A             BETTY
2776   L             BETTY
2777   F             MICHAEL
2778   F             MICHAEL
2779   G             TIMOTHY
2780   G             TIMOTHY
2781   B             NONA
2782   G             NONA
2783   W             ROMELL
2784   W             ROMELL
2785   A             BARBARA
2786   A             BARBARA
2787   H             SYRUS
2788   H             SYRUS
2789   T             FRANK
2790   T             FRANK
2791   R             LATOYA
2792   R             LATOYA
2793   C             ETTA
2794   W             ETTA
2795   H             ALICE
2796   H             ALICE
2797   M             VALERIE
2798   R             VALERIE
2799   G             DANDRA
2800   H             DANDRA
2801   W             TOMMIE
2802   W             TOMMIE
2803   M             ROSITA
2804   M             ROSITA
2805   H             CYNTHIE
2806   H             CYNTHIE
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           C              D
2807   J             MARCEL
2808   J             MARCEL
2809   J             LILLIE
2810   M             LILLIE
2811   A             RICHARD
2812   A             RICHARD
2813   D             MARILYNN
2814   W             MARILYNN
2815   A             YVONNE
2816   H             YVONNE
2817   S             DORIS
2818   S             DORIS
2819   H             SARAH
2820   H             SARAH
2821   G             CHRISTAL
2822   P             CHRISTAL
2823   H             DDIOR
2824   T             DDIOR
2825   F             ALICE
2826   F             ALICE
2827   L             MARY
2828   M             MARY
2829   B             YARKPAZUO
2830   B             YARKPAZUO
2831   J             ANDRE
2832   J             ANDRE
2833   D             MIDGE
2834   M             MIDGE
2835   D             SANDRA
2836   N             SANDRA
2837   B             BRANDON
2838   B             BRANDON
2839   C             BARBARA
2840   T             BARBARA
2841   R             LILLIAN
2842   R             LILLIAN
2843   H             MAGGIE
2844   H             MAGGIE
2845   G             WILLIAM
2846   G             WILLIAM
2847   C             JOSEPHINE
2848   C             JOSEPHINE
2849   D             HUBERT
2850   D             HUBERT
2851   M             TRUDY
2852   S             TRUDY
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           C              D
2853   J             TAMEKA
2854   R             TAMEKA
2855   B             DOROTHY
2856   Y             DOROTHY
2857   P             RENETA
2858   P             RENETA
2859   P             JEANETTE
2860   P             JEANETTE
2861   H             ROSA
2862   H             ROSA
2863   H             RENEE
2864   H             RENEE
2865   M             FORNESHIA
2866   M             FORNESHIA
2867   M             REGINALD
2868   M             REGINALD
2869   K             PATRICIA
2870   R             PATRICIA
2871   C             AUDREY
2872   M             AUDREY
2873   B             LYNNETTE
2874   H             LYNNETTE
2875   R             CYNTHIA
2876   R             CYNTHIA
2877   B             BIRTHA
2878   B             BIRTHA
2879   C             DAQUAN
2880   C             DAQUAN
2881   C             JESSIE
2882   S             JESSIE
2883   A             AILEEN
2884   W             AILEEN
2885   H             NICOLE
2886   S             NICOLE
2887   S             NELLIE
2888   S             NELLIE
2889   C             MARGUERITE
2890   W             MARGUERITE
2891   N             IZEGBE
2892   N             IZEGBE
2893   M             KATHY
2894   M             KATHY
2895   A             PATRICIA
2896   P             PATRICIA
2897   B             DELOIS
2898   R             DELOIS
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           C              D
2899   G             DORA
2900   R             DORA
2901   B             PATRICIA
2902   F             PATRICIA
2903   B             SYLVIA
2904   S             SYLVIA
2905   W             YUSUF
2906   W             YUSUF
2907   S             SHARLENE
2908   W             SHARLENE
2909   G             DOROTHY
2910   W             DOROTHY
2911   C             JOSEPH
2912   C             JOSEPH
2913   B             DOROTHY
2914   G             DOROTHY
2915   M             WILLIE
2916   M             WILLIE
2917   P             VERONICA
2918   P             VERONICA
2919   Y             PAULINE
2920   Y             PAULINE
2921   A             PAMELA
2922   S             PAMELA
2923   B             GERRI
2924   J             GERRI
2925   C             MELVIN
2926   C             MELVIN
2927   C             NORMA
2928   C             NORMA
2929   C             NORMA
2930   W             TORI
2931   W             TORI
2932   C             ZANA
2933   C             ZANA
2934   W             LARRY
2935   W             LARRY
2936   W             KISCHA
2937   W             KISCHA
2938   K             PATRICE
2939   T             PATRICE
2940   L             DAISY
2941   R             DAISY
2942   D             EVELYN
2943   D             EVELYN
2944   L             TYCHER
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           C              D
2945   S             TYCHER
2946   J             RUTH
2947   J             RUTH
2948   S             STEFFEN
2949   S             STEFFEN
2950   W             RAHIM
2951   W             RAHIM
2952   H             TYRONE
2953   H             TYRONE
2954   C             ERICA
2955   Y             ERICA
2956   D             HAZEL
2957   D             HAZEL
2958   W             STEVEN
2959   W             STEVEN
2960   D             JULIA
2961   P             JULIA
2962   R             CATRINA
2963   R             CATRINA
2964   B             JANICE
2965   V             JANICE
2966   O             GWENDOLYN
2967   R             GWENDOLYN
2968   T             ROBERT
2969   T             ROBERT
2970   M             MARY
2971   M             MARY
2972   P             DIANE
2973   P             DIANE
2974   W             AMANI
2975   W             AMANI
2976   W             AMANI
2977   B             LATANA
2978   F             LATANA
2979   W             JOSEPH
2980   W             JOSEPH
2981   H             GWENDOLYN
2982   K             GWENDOLYN
2983   B             SANTOSHA
2984   S             SANTOSHA
2985   M             CASSANDRA
2986   S             CASSANDRA
2987   S             ROBIN
2988   S             ROBIN
2989   T             LEON
2990   T             LEON
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           C              D
2991   O             DEVARRO
2992   O             DEVARRO
2993   M             AMY
2994   M             AMY
2995   W             ROY
2996   W             ROY
2997   H             EBONY
2998   H             EBONY
2999   C             TAMLA
3000   C             TAMLA
3001   J             MATTIE
3002   W             MATTIE
3003   N             SCOTTIE
3004   T             SCOTTIE
3005   S             BARBARA
3006   S             BARBARA
3007   F             RAPHAEL
3008   F             RAPHAEL
3009   G             TERRI
3010   R             TERRI
3011   F             ROBERT
3012   F             ROBERT
3013   P             LORI
3014   P             LORI
3015   B             DAMOND
3016   B             DAMOND
3017   S             KIMBERLY
3018   S             KIMBERLY
3019   R             BARBARA
3020   S             BARBARA
3021   R             GERALDINE
3022   T             GERALDINE
3023   M             JANICE
3024   W             JANICE
3025   D             STACEY
3026   D             STACEY
3027   C             MARCEA
3028   C             MARCEA
3029   B             ROY
3030   B             ROY
3031   D             MARIE
3032   D             MARIE
3033   J             CRYSTAL
3034   M             CRYSTAL
3035   G             MICHAEL
3036   G             MICHAEL
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           C              D
3037   G             MICHAEL
3038   T             CAROLYN
3039   T             CAROLYN
3040   M             CECILIA
3041   M             CECILIA
3042   G             CHERYL
3043   W             CHERYL
3044   C             STACEY
3045   C             STACEY
3046   F             BARBARA
3047   H             BARBARA
3048   N             LUCRETIA
3049   N             LUCRETIA
3050   B             MICHELL
3051   W             MICHELL
3052   W             ROBERT
3053   W             ROBERT
3054   F             TANYA
3055   T             TANYA
3056   Y             CRYSTAL
3057   Y             CRYSTAL
3058   G             CONTESSA
3059   G             CONTESSA
3060   P             ANNIE
3061   S             ANNIE
3062   H             DONITA
3063   Y             DONITA
3064   B             GAYLE
3065   M             GAYLE
3066   B             BRENDA
3067   J             BRENDA
3068   D             SHEILA
3069   S             SHEILA
3070   T             TASHARIA
3071   T             TASHARIA
3072   R             BARBARA
3073   S             BARBARA
3074   Z             BERNARD
3075   Z             BERNARD
3076   W             JONATHAN
3077   W             JONATHAN
3078   M             TONYA
3079   M             TONYA
3080   E             ELLA
3081   P             ELLA
3082   W             CLEVELAND
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           C              D
3083   W             CLEVELAND
3084   B             SANDRA
3085   J             SANDRA
3086   B             MARY
3087   H             MARY
3088   B             GLENDA
3089   W             GLENDA
3090   B             TYRA
3091   W             TYRA
3092   J             BRADFORD
3093   J             BRADFORD
3094   B             ROCHELLE
3095   F             ROCHELLE
3096   C             VERNELL
3097   C             VERNELL
3098   B             MARY
3099   S             MARY
3100   F             ANTANIA
3101   T             ANTANIA
3102   F             SHERY
3103   F             SHERY
3104   C             TAMICA
3105   G             TAMICA
3106   E             DAVID
3107   M             DAVID
3108   H             RUBY
3109   N             RUBY
3110   V             GERMAINE
3111   V             GERMAINE
3112   C             RETHA
3113   W             RETHA
3114   B             ARZELLA
3115   D             ARZELLA
3116   R             CLAUDIUS
3117   R             CLAUDIUS
3118   N             WILBUR
3119   N             WILBUR
3120   G             DEBORAH
3121   N             DEBORAH
3122   E             DONNA
3123   W             DONNA
3124   M             CORNELIOUS
3125   M             CORNELIOUS
3126   M             CYNTHIA
3127   W             CYNTHIA
3128   G             MINNIE
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           C               D
3129   G             MINNIE
3130   G             LULA
3131   W             LULA
3132   B             LINDA
3133   G             LINDA
3134   C             PEDRO
3135   L             PEDRO
3136   C             JUANA
3137   W             JUANA
3138   F             LERHUE
3139   P             LERHUE
3140   D             JUSTIN
3141   D             JUSTIN
3142   A             ALICE
3143   N             ALICE
3144   H             PAULA
3145   J             PAULA
3146   B             SANDRA
3147   V             SANDRA
3148   E             JANE
3149   E             JANE
3150   A             DAVID
3151   A             DAVID
3152   W             DEBORAH
3153   W             DEBORAH
3154   M             MAURICE
3155   M             MAURICE
3156   Y             DAMON
3157   Y             DAMON
3158   D             TERRELL
3159   J             TERRELL
3160   S             SHARON
3161   T             SHARON
3162   B             ELIZABETH
3163   P             ELIZABETH
3164   P             ELIZABETH
3165   S             BETTY
3166   W             BETTY
3167   S             LATICIA
3168   T             LATICIA
3169   H             EARLENE
3170   J             EARLENE
3171   W             ANTHONY
3172   W             ANTHONY
3173   M             LESSIE
3174   M             LESSIE
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           C              D
3175   G             MARILYN
3176   W             MARILYN
3177   C             PAUL
3178   C             PAUL
3179   H             LINDA
3180   O             LINDA
3181   R             KIMBERLY
3182   W             KIMBERLY
3183   M             DAVIN
3184   M             DAVIN
3185   T             MARY
3186   T             MARY
3187   H             CAROLYN
3188   M             CAROLYN
3189   M             SHIRLEY
3190   P             SHIRLEY
3191   D             PATRICIA
3192   R             PATRICIA
3193   R             TRACEY
3194   W             TRACEY
3195   B             KIMBERLY
3196   D             KIMBERLY
3197   S             JANICE
3198   W             JANICE
3199   O             SHIRLEY
3200   W             SHIRLEY
3201   L             TONIA
3202   P             TONIA
3203   H             RAQUEL
3204   H             RAQUEL
3205   C             MATTIE
3206   C             MATTIE
3207   A             BERNADETT
3208   B             BERNADETT
3209   H             ELIZABETH
3210   M             ELIZABETH
3211   B             PAULA
3212   M             PAULA
3213   N             BEVERLY
3214   N             BEVERLY
3215   B             STEPHANIE
3216   T             STEPHANIE
3217   A             RONDA
3218   S             RONDA
3219   G             MONIQUE
3220   M             MONIQUE
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           C              D
3221   D             EVERETT
3222   D             EVERETT
3223   B             SHARON
3224   H             SHARON
3225   L             GLORIA
3226   M             GLORIA
3227   A             LINDA
3228   L             LINDA
3229   G             TIMOTHY
3230   G             TIMOTHY
3231   S             CARDELL
3232   S             CARDELL
3233   A             JACKIE
3234   H             JACKIE
3235   C             JOSEPH
3236   L             JOSEPH
3237   B             JOHNNIE
3238   B             JOHNNIE
3239   C             DEMETRIA
3240   C             DEMETRIA
3241   M             ROBERT
3242   M             ROBERT
3243   G             THERESA
3244   H             THERESA
3245   C             MICHAEL
3246   C             MICHAEL
3247   A             LOIS
3248   M             LOIS
3249   T             ALEXANDER
3250   T             ALEXANDER
3251   G             DANIELLE
3252   R             DANIELLE
3253   G             MARIA
3254   V             MARIA
3255   T             ANTHONY
3256   T             ANTHONY
3257   P             FAYE
3258   P             FAYE
3259   W             JACQUELYN
3260   W             JACQUELYN
3261   G             CAROLYN
3262   G             CAROLYN
3263   B             BRENDA
3264   V             BRENDA
3265   S             SYLVIA
3266   S             SYLVIA
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           C              D
3267   M             ANGELA
3268   T             ANGELA
3269   M             GERLYN
3270   P             GERLYN
3271   G             CYNTHIA
3272   G             CYNTHIA
3273   S             KIMBERLY
3274   S             KIMBERLY
3275   B             LARRY
3276   B             LARRY
3277   B             TAMMIE
3278   C             TAMMIE
3279   M             SHARILYN
3280   S             SHARILYN
3281   R             WILMA
3282   S             WILMA
3283   H             ANDREA
3284   H             ANDREA
3285   M             FATIMA
3286   M             FATIMA
3287   D             RUTH
3288   R             RUTH
3289   W             DEVONAIR
3290   W             DEVONAIR
3291   M             ALICE
3292   S             ALICE
3293   C             CAROLYN
3294   S             CAROLYN
3295   B             WALTER
3296   B             WALTER
3297   M             EARLEAN
3298   M             EARLEAN
3299   B             LAMAR
3300   B             LAMAR
3301   M             SHIRLEY
3302   M             SHIRLEY
3303   M             CAROL
3304   M             CAROL
3305   H             DARKETTA
3306   M             DARKETTA
3307   D             ROLANDO
3308   D             ROLANDO
3309   S             ELDER
3310   S             ELDER
3311   P             CORINE
3312   P             CORINE
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           C              D
3313   H             CAROL
3314   M             CAROL
3315   H             THEODORE
3316   H             THEODORE
3317   C             JESSE
3318   C             JESSE
3319   G             RETHA
3320   P             RETHA
3321   S             PHILLIP
3322   S             PHILLIP
3323   K             DENNIS
3324   K             DENNIS
3325   A             MYRA
3326   J             MYRA
3327   H             HATTIE
3328   S             HATTIE
3329   R             CHRISTIAN
3330   R             CHRISTIAN
3331   J             BOBBIE
3332   J             BOBBIE
3333   J             BOBBIE
3334   L             RHONDA
3335   L             RHONDA
3336   D             EMMA
3337   P             EMMA
3338   H             MARLAN
3339   J             MARLAN
3340   H             MARY
3341   W             MARY
3342   R             MARGARET
3343   S             MARGARET
3344   B             SALITA
3345   P             SALITA
3346   B             RAYMOND
3347   B             RAYMOND
3348   R             LATOYA
3349   R             LATOYA
3350   L             PEARLIE
3351   L             PEARLIE
3352   B             JEARLENE
3353   P             JEARLENE
3354   B             RAYMOND
3355   B             RAYMOND
3356   H             TAMIKA
3357   M             TAMIKA
3358   C             EMMA
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           C              D
3359   C             EMMA
3360   L             RONALD
3361   L             RONALD
3362   B             DESIREE
3363   T             DESIREE
3364   I             PATSY
3365   J             PATSY
3366   B             ALITA
3367   O             ALITA
3368   M             MITCHELL
3369   M             MITCHELL
3370   M             MICHAEL
3371   M             MICHAEL
3372   A             ANQUANETTA
3373   B             ANQUANETTA
3374   J             JACQUELINE
3375   K             JACQUELINE
3376   J             VERNON
3377   J             VERNON
3378   C             RUTH
3379   J             RUTH
3380   W             SHEILA
3381   W             SHEILA
3382   F             ROSA
3383   R             ROSA
3384   E             SUSAN
3385   P             SUSAN
3386   Y             LAWRENCE
3387   Y             LAWRENCE
3388   H             SALAM
3389   H             SALAM
3390   C             DIONNE
3391   H             DIONNE
3392   R             LISA
3393   R             LISA
3394   T             DOMINIQUE
3395   T             DOMINIQUE
3396   W             MARISA
3397   W             MARISA
3398   S             DANIEL
3399   S             DANIEL
3400   G             FRANKIE
3401   H             FRANKIE
3402   B             SHIRLETHA
3403   D             SHIRLETHA
3404   G             MICHELE
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           C               D
3405   G             MICHELE
3406   P             AMANDA
3407   P             AMANDA
3408   R             PABLO
3409   R             PABLO
3410   E             RAY
3411   E             RAY
3412   S             MARY
3413   S             MARY
3414   B             ALMA
3415   M             ALMA
3416   R             BETTY
3417   R             BETTY
3418   P             GERALD
3419   P             GERALD
3420   T             DENISE
3421   T             DENISE
3422   D             CYNTHIA
3423   R             CYNTHIA
3424   J             JOANNE
3425   R             JOANNE
3426   D             JENNIFER
3427   D             JENNIFER
3428   S             MARLO
3429   S             MARLO
3430   M             NAKISHA
3431   S             NAKISHA
3432   O             MARILYN
3433   W             MARILYN
3434   B             KAY
3435   B             KAY
3436   S             KAREN
3437   W             KAREN
3438   C             EVADNEY
3439   T             EVADNEY
3440   B             MARCIA
3441   N             MARCIA
3442   G             SHIRLEY
3443   M             SHIRLEY
3444   C             JOHNNY
3445   C             JOHNNY
3446   P             NODIA
3447   P             NODIA
3448   J             BETTY
3449   W             BETTY
3450   G             BARBARA
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           C              D
3451   T             BARBARA
3452   J             SHEREE
3453   W             SHEREE
3454   A             PATRICIA
3455   H             PATRICIA
3456   M             RAVON
3457   M             RAVON
3458   J             KENNETH
3459   J             KENNETH
3460   J             MARGIE
3461   W             MARGIE
3462   C             VERNEITTA
3463   C             VERNEITTA
3464   C             DARLENE
3465   M             DARLENE
3466   B             ALLEN
3467   B             ALLEN
3468   C             ARNULFO
3469   C             ARNULFO
3470   G             DAWNZELLA
3471   L             DAWNZELLA
3472   J             SANDRA
3473   J             SANDRA
3474   D             LEONARD
3475   D             LEONARD
3476   P             DAYON
3477   P             DAYON
3478   M             YOLANDA
3479   W             YOLANDA
3480   D             SHANNON
3481   D             SHANNON
3482   K             PRINCESS
3483   M             PRINCESS
3484   C             CONNIE
3485   T             CONNIE
3486   B             ELICIA
3487   R             ELICIA
3488   G             RUBY
3489   J             RUBY
3490   J             JUANITA
3491   J             JUANITA
3492   H             VICTORIA
3493   H             VICTORIA
3494   S             ESTELL
3495   S             ESTELL
3496   B             WANDA
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           C              D
3497   S             WANDA
3498   L             SHERRY
3499   S             SHERRY
3500   H             KATHLEEN
3501   J             KATHLEEN
3502   M             BETTY
3503   M             BETTY
3504   R             ALEXUS
3505   R             ALEXUS
3506   B             ALETHEA
3507   W             ALETHEA
3508   C             JOANN
3509   M             JOANN
3510   C             MIA
3511   F             MIA
3512   T             DENISE
3513   T             DENISE
3514   G             ROBERT
3515   G             ROBERT
3516   G             VIRGIE
3517   G             VIRGIE
3518   S             TIFFANY
3519   S             TIFFANY
3520   D             PAMELA
3521   T             PAMELA
3522   E             BEN
3523   E             BEN
3524   A             KIMBERLY
3525   H             KIMBERLY
3526   H             DESHAWN
3527   H             DESHAWN
3528   H             DESHAWN
3529   T             LINDA
3530   T             LINDA
3531   F             CARLA
3532   F             CARLA
3533   S             WIAH
3534   S             WIAH
3535   P             ONDRE
3536   P             ONDRE
3537   J             DELORISE
3538   P             DELORISE
3539   T             MURRAY
3540   T             MURRAY
3541   G             TIMOTHY
3542   G             TIMOTHY
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           C              D
3543   S             ASHIA
3544   T             ASHIA
3545   G             LORETTA
3546   M             LORETTA
3547   T             SANFORD
3548   T             SANFORD
3549   A             LISA
3550   A             LISA
3551   L             DAVID
3552   L             DAVID
3553   K             CHRISTOPHER
3554   L             CHRISTOPHER
3555   G             BRIDGETTE
3556   G             BRIDGETTE
3557   C             ANTHONY
3558   C             ANTHONY
3559   S             MICHAEL
3560   S             MICHAEL
3561   R             LYNETTE
3562   W             LYNETTE
3563   B             FLOYD
3564   B             FLOYD
3565   B             GLORIA
3566   J             GLORIA
3567   B             MARY
3568   N             MARY
3569   G             MATTIE
3570   P             MATTIE
3571   D             DENIERA
3572   M             DENIERA
3573   G             LILLIAN
3574   S             LILLIAN
3575   A             PHYLLIS
3576   B             PHYLLIS
3577   R             GEORGE
3578   R             GEORGE
3579   J             LASHAWN
3580   L             LASHAWN
3581   S             JESUS
3582   V             JESUS
3583   J             MARY
3584   T             MARY
3585   H             CELIA
3586   T             CELIA
3587   J             EARNEST
3588   J             EARNEST
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           C              D
3589   B             BERNADETTE
3590   C             BERNADETTE
3591   B             CIARA
3592   J             CIARA
3593   H             PAMELA
3594   S             PAMELA
3595   A             MARTHA
3596   A             MARTHA
3597   G             MELINDA
3598   P             MELINDA
3599   M             BRIAN
3600   M             BRIAN
3601   B             SHAMARA
3602   B             SHAMARA
3603   B             CARMEN
3604   W             CARMEN
3605   K             LILLIAN
3606   K             LILLIAN
3607   D             CALVIN
3608   D             CALVIN
3609   P             DARIUS
3610   P             DARIUS
3611   A             DOROTHY
3612   R             DOROTHY
3613   W             CHARLES
3614   W             CHARLES
3615   B             DAJUAN
3616   C             DAJUAN
3617   H             CHARON
3618   R             CHARON
3619   N             RITA
3620   S             RITA
3621   P             KHYLA
3622   P             KHYLA
3623   G             BRENDA
3624   G             BRENDA
3625   J             ANTWUAN
3626   J             ANTWUAN
3627   M             CORLISS
3628   R             CORLISS
3629   M             ELIZABETH
3630   M             ELIZABETH
3631   B             LULA
3632   J             LULA
3633   R             LUTHER
3634   R             LUTHER
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           C              D
3635   O             JAMIYA
3636   O             JAMIYA
3637   R             FLORENCE
3638   S             FLORENCE
3639   R             VILMA
3640   R             VILMA
3641   B             REGINALD
3642   B             REGINALD
3643   H             DANNY
3644   H             DANNY
3645   C             KIM
3646   W             KIM
3647   K             KIMBERLY
3648   L             KIMBERLY
3649   P             NATHAN
3650   P             NATHAN
3651   C             DIANE
3652   G             DIANE
3653   J             TAMIKA
3654   W             TAMIKA
3655   C             CHARLENE
3656   S             CHARLENE
3657   J             GLORIA
3658   S             GLORIA
3659   F             ALANA
3660   S             ALANA
3661   G             VALERIE
3662   P             VALERIE
3663   P             RITA
3664   W             RITA
3665   C             JANET
3666   W             JANET
3667   S             JEANNETTA
3668   S             JEANNETTA
3669   E             ANNIE
3670   E             ANNIE
3671   M             MICHELLE
3672   W             MICHELLE
3673   E             TAQIYYA
3674   E             TAQIYYA
3675   B             FRANCIS
3676   B             FRANCIS
3677   H             BERNICE
3678   S             BERNICE
3679   S             BERNICE
3680   H             REGINALD
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           C              D
3681   H             REGINALD
3682   S             MARVIN
3683   S             MARVIN
3684   B             DONALD
3685   B             DONALD
3686   S             MICHELE
3687   S             MICHELE
3688   G             IZINA
3689   G             IZINA
3690   F             JOHN
3691   F             JOHN
3692   T             MANDY
3693   T             MANDY
3694   B             MARGUERITE
3695   S             MARGUERITE
3696   W             JOHN
3697   W             JOHN
3698   B             LINDA
3699   B             LINDA
3700   D             LINDA
3701   B             ANNETTE
3702   B             ANNETTE
3703   B             CLINT
3704   B             CLINT
3705   W             ESTER
3706   W             ESTER
3707   J             VIRGAIL
3708   J             VIRGAIL
3709   P             QUASHAWNA
3710   P             QUASHAWNA
3711   H             BOBREESE
3712   H             BOBREESE
3713   P             RYAN
3714   P             RYAN
3715   M             MARGIE
3716   P             MARGIE
3717   P             LATRISHA
3718   P             LATRISHA
3719   D             ALECIA
3720   R             ALECIA
3721   R             ERIC
3722   R             ERIC
3723   M             MARIO
3724   M             MARIO
3725   G             BLANCA
3726   V             BLANCA
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           C              D
3727   D             DON
3728   D             DON
3729   S             EUGENE
3730   S             EUGENE
3731   W             BLANCHE
3732   W             BLANCHE
3733   V             MARCUS
3734   V             MARCUS
3735   H             CHARISSE
3736   T             CHARISSE
3737   D             WANDA
3738   P             WANDA
3739   L             JAMES
3740   L             JAMES
3741   C             NORMA
3742   C             NORMA
3743   H             MARIE
3744   J             MARIE
3745   M             ROBBIE
3746   M             ROBBIE
3747   R             PEGGY
3748   R             PEGGY
3749   T             DONOVAN
3750   T             DONOVAN
3751   E             LORINE
3752   E             LORINE
3753   B             KATHY
3754   S             KATHY
3755   B             MARSHA
3756   W             MARSHA
3757   B             THELMA
3758   B             THELMA
3759   N             KERVIN
3760   N             KERVIN
3761   E             LINDA
3762   H             LINDA
3763   R             PAMELA
3764   W             PAMELA
3765   C             BARBARA
3766   C             BARBARA
3767   H             LAQUISHA
3768   H             LAQUISHA
3769   S             MACK
3770   S             MACK
3771   M             ALICIA
3772   M             ALICIA
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           C              D
3773   M             PENNY
3774   W             PENNY
3775   C             KEITH
3776   C             KEITH
3777   M             JOANN
3778   M             JOANN
3779   C             JANEEN
3780   G             JANEEN
3781   S             CURTISENE
3782   W             CURTISENE
3783   M             TERESA
3784   W             TERESA
3785   R             JIM
3786   R             JIM
3787   J             ANGELO
3788   J             ANGELO
3789   T             MARY
3790   T             MARY
3791   R             MARY
3792   R             MARY
3793   R             THELMA
3794   R             THELMA
3795   D             PAULA
3796   M             PAULA
3797   C             JORDAN
3798   M             JORDAN
3799   H             MYRTLE
3800   H             MYRTLE
3801   L             DIANE
3802   T             DIANE
3803   B             TRACI
3804   R             TRACI
3805   S             TIMEKA
3806   W             TIMEKA
3807   N             MARTHA
3808   N             MARTHA
3809   B             ROSA
3810   S             ROSA
3811   G             JOEL
3812   G             JOEL
3813   C             DEJUAN
3814   C             DEJUAN
3815   M             GLADIS
3816   W             GLADIS
3817   A             ELIZABETH
3818   P             ELIZABETH
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           C              D
3819   F             JEREMY
3820   F             JEREMY
3821   D             OMAR
3822   D             OMAR
3823   D             OMAR
3824   A             LIDIA
3825   A             LIDIA
3826   B             MICHAEL
3827   B             MICHAEL
3828   S             EVELYN
3829   S             EVELYN
3830   H             SHEMIKA
3831   H             SHEMIKA
3832   B             BARBARA
3833   B             BARBARA
3834   G             BARBARA
3835   L             YVONNE
3836   P             YVONNE
3837   M             MARY
3838   M             MARY
3839   J             ADAIUS
3840   L             ADAIUS
3841   I             ROBERT
3842   U             ROBERT
3843   M             HARRIET
3844   W             HARRIET
3845   H             THOMAS
3846   H             THOMAS
3847   D             KAREN
3848   G             KAREN
3849   P             VERONICA
3850   W             VERONICA
3851   M             CHARLES
3852   M             CHARLES
3853   F             DELPHINE
3854   M             DELPHINE
3855   D             RALPH
3856   D             RALPH
3857   H             DEBORAH
3858   H             DEBORAH
3859   H             GARLAND
3860   H             GARLAND
3861   E             ZINA
3862   G             ZINA
3863   P             JAVAUGHN
3864   P             JAVAUGHN
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           C              D
3865   J             ANGELA
3866   T             ANGELA
3867   H             CHARLIE
3868   H             CHARLIE
3869   M             PAMELA
3870   M             PAMELA
3871   A             CHERYL
3872   T             CHERYL
3873   C             GWENDOLYN
3874   K             GWENDOLYN
3875   S             JASON
3876   T             JASON
3877   E             BRENDA
3878   R             BRENDA
3879   P             CHARLEMAGNE
3880   P             CHARLEMAGNE
3881   W             JACQUES
3882   W             JACQUES
3883   L             DAVID
3884   L             DAVID
3885   S             ANGELA
3886   S             ANGELA
3887   F             SHELLEY
3888   M             SHELLEY
3889   B             VICKIE
3890   B             VICKIE
3891   B             GLORIA
3892   B             GLORIA
3893   M             LATONIA
3894   P             LATONIA
3895   B             YVONNE
3896   T             YVONNE
3897   A             AARON
3898   A             AARON
3899   T             VELMA
3900   T             VELMA
3901   J             JUWAN
3902   J             JUWAN
3903   H             CHELSEA
3904   M             CHELSEA
3905   B             DEDAN
3906   B             DEDAN
3907   R             DONNA
3908   S             DONNA
3909   H             ETHEL
3910   W             ETHEL
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           C              D
3911   S             SHANA
3912   S             SHANA
3913   H             MELANIE
3914   J             MELANIE
3915   B             HAVERD
3916   B             HAVERD
3917   C             CRYSTAL
3918   W             CRYSTAL
3919   C             DALE
3920   C             DALE
3921   C             JEANETTE
3922   S             JEANETTE
3923   C             MARY
3924   S             MARY
3925   G             SALLIE
3926   G             SALLIE
3927   M             DAVID
3928   M             DAVID
3929   T             ANTONIO
3930   T             ANTONIO
3931   F             ALLEN
3932   G             ALLEN
3933   D             IDELLA
3934   D             IDELLA
3935   C             DEBRA
3936   C             DEBRA
3937   C             DOLORES
3938   C             DOLORES
3939   B             KAREN
3940   H             KAREN
3941   H             TAMMY
3942   L             TAMMY
3943   M             ALICIA
3944   S             ALICIA
3945   J             KYRA
3946   K             KYRA
3947   S             SARAH
3948   T             SARAH
3949   R             CLAREATHA
3950   S             CLAREATHA
3951   W             ERIKA
3952   Y             ERIKA
3953   B             BRENDA
3954   C             BRENDA
3955   H             LESLIE
3956   P             LESLIE
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           C              D
3957   A             ARLEEN
3958   H             ARLEEN
3959   S             FRANK
3960   S             FRANK
3961   B             DORIS
3962   B             DORIS
3963   H             ROSE
3964   S             ROSE
3965   A             MICHELLE
3966   P             MICHELLE
3967   H             LAURA
3968   M             LAURA
3969   H             JASON
3970   H             JASON
3971   L             SIERRA
3972   M             SIERRA
3973   B             WILLIE
3974   B             WILLIE
3975   L             MARK
3976   T             MARK
3977   S             RONALD
3978   S             RONALD
3979   K             SONJA
3980   L             SONJA
3981   L             LASONYA
3982   L             LASONYA
3983   I             MISCHELLE
3984   I             MISCHELLE
3985   M             WANDA
3986   W             WANDA
3987   J             DANICE
3988   J             DANICE
3989   F             BARBARA
3990   F             BARBARA
3991   S             CHERRYE
3992   S             CHERRYE
3993   H             ALICE
3994   H             ALICE
3995   R             IRENE
3996   S             IRENE
3997   H             WILLIE
3998   R             WILLIE
3999   R             DONNA
4000   S             DONNA
4001   R             BESSIE
4002   W             BESSIE
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           C              D
4003   L             JENNIFER
4004   O             JENNIFER
4005   B             RUTH
4006   R             RUTH
4007   H             LEROY
4008   H             LEROY
4009   C             WILLAMENIA
4010   C             WILLAMENIA
4011   B             DANIEL
4012   B             DANIEL
4013   J             MERITHA
4014   J             MERITHA
4015   M             RASUL
4016   M             RASUL
4017   C             DESTINY
4018   S             DESTINY
4019   H             MELVIN
4020   H             MELVIN
4021   G             RUBY
4022   L             RUBY
4023   J             BRUCE
4024   J             BRUCE
4025   R             JOHN
4026   R             JOHN
4027   H             TORONE
4028   H             TORONE
4029   B             VALESHA
4030   B             VALESHA
4031   I             INI
4032   I             INI
4033   R             ANHTHU
4034   W             ANHTHU
4035   A             TURANDA
4036   S             TURANDA
4037   B             KATHERINE
4038   G             KATHERINE
4039   C             ERNEST
4040   C             ERNEST
4041   B             DAMARIO
4042   B             DAMARIO
4043   G             LINDA
4044   G             LINDA
4045   E             RUTHIE
4046   L             RUTHIE
4047   J             FAYE
4048   S             FAYE
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           C              D
4049   C             MICHAEL
4050   C             MICHAEL
4051   Y             MICHELE
4052   Y             MICHELE
4053   P             CYNTHIA
4054   P             CYNTHIA
4055   B             EBONEE
4056   H             EBONEE
4057   G             ROBERT
4058   S             ROBERT
4059   E             DEANDRE
4060   T             DEANDRE
4061   H             ROCHELLE
4062   H             ROCHELLE
4063   C             MARIA
4064   M             MARIA
4065   M             ARMINDA
4066   R             ARMINDA
4067   H             ERIC
4068   H             ERIC
4069   L             RYAN
4070   L             RYAN
4071   L             JOANN
4072   R             JOANN
4073   W             DONALD
4074   W             DONALD
4075   J             GWENDOLYN
4076   J             GWENDOLYN
4077   J             URSULA
4078   J             URSULA
4079   P             ANTHONY
4080   P             ANTHONY
4081   M             YOLANDA
4082   M             YOLANDA
4083   D             KIERSTEN
4084   L             KIERSTEN
4085   L             BOUA
4086   L             BOUA
4087   Y             KER
4088   Y             KER
4089   M             RHONDA
4090   M             RHONDA
4091   B             DENISE
4092   H             DENISE
4093   B             RICHARD
4094   P             RICHARD
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           C              D
4095   B             CATHERINE
4096   P             CATHERINE
4097   B             DOROTHY
4098   B             DOROTHY
4099   S             DELLA
4100   W             DELLA
4101   G             JACQUELINE
4102   G             JACQUELINE
4103   J             DORIS
4104   P             DORIS
4105   C             NORA
4106   K             NORA
4107   D             MEATTA
4108   R             MEATTA
4109   G             KIMBERLY
4110   L             KIMBERLY
4111   M             KARON
4112   R             KARON
4113   A             MURRAY
4114   A             MURRAY
4115   G             FRANCISCO
4116   G             FRANCISCO
4117   W             DENISE
4118   W             DENISE
4119   B             BERNESTINE
4120   T             BERNESTINE
4121   F             JEANETTE
4122   F             JEANETTE
4123   G             GEORGIA
4124   T             GEORGIA
4125   T             GEORGIA
4126   T             DARYEL
4127   T             DARYEL
4128   C             RUDOLPH
4129   C             RUDOLPH
4130   F             ZANETA
4131   T             ZANETA
4132   C             EDDIE
4133   C             EDDIE
4134   E             CATHY
4135   L             CATHY
4136   H             SHERYL
4137   L             SHERYL
4138   M             THERESA
4139   W             THERESA
4140   W             EBONY
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           C              D
4141   W             EBONY
4142   W             MICHELLE
4143   W             MICHELLE
4144   A             VALERIA
4145   D             VALERIA
4146   O             CARMELITA
4147   O             CARMELITA
4148   J             JUDITH
4149   W             JUDITH
4150   G             ANNIE
4151   G             ANNIE
4152   J             ROYCE
4153   J             ROYCE
4154   B             PRENTICE
4155   B             PRENTICE
4156   G             DANYELL
4157   G             DANYELL
4158   C             CARMEN
4159   C             CARMEN
4160   C             SHEILA
4161   C             SHEILA
4162   R             PATRICIA
4163   R             PATRICIA
4164   P             KANDIS
4165   P             KANDIS
4166   B             SHIRLEY
4167   C             SHIRLEY
4168   M             NIKANGELA
4169   M             NIKANGELA
4170   P             KIM
4171   W             KIM
4172   M             MARQUADA
4173   M             MARQUADA
4174   E             OREA
4175   N             OREA
4176   B             ESTELLA
4177   U             ESTELLA
4178   F             CYNTHIA
4179   F             CYNTHIA
4180   L             LARRY
4181   L             LARRY
4182   H             TYRONE
4183   H             TYRONE
4184   B             BEATRICE
4185   M             BEATRICE
4186   J             HARRIETT
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           C              D
4187   T             HARRIETT
4188   G             TAJUANA
4189   W             TAJUANA
4190   T             PAMELA
4191   U             PAMELA
4192   S             JACQUELINE
4193   W             JACQUELINE
4194   M             DANNY
4195   M             DANNY
4196   M             ALICIA
4197   M             ALICIA
4198   G             JABARI
4199   G             JABARI
4200   L             LUCILLE
4201   R             LUCILLE
4202   J             ADRIANNE
4203   R             ADRIANNE
4204   G             CARLA
4205   P             CARLA
4206   D             MANUEL
4207   D             MANUEL
4208   D             EVELYN
4209   M             EVELYN
4210   B             KIMBERLY
4211   D             KIMBERLY
4212   J             CHARITY
4213   J             CHARITY
4214   F             TONETTE
4215   J             TONETTE
4216   G             TAMMIE
4217   T             TAMMIE
4218   R             BARBARA
4219   R             BARBARA
4220   C             SANDY
4221   L             SANDY
4222   S             JAMES
4223   S             JAMES
4224   B             CHERRITA
4225   C             CHERRITA
4226   L             SELENA
4227   P             SELENA
4228   K             IILEEN
4229   W             IILEEN
4230   J             VERONICA
4231   T             VERONICA
4232   P             RITA
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           C              D
4233   T             RITA
4234   H             PAMELA
4235   H             PAMELA
4236   P             DENISE
4237   P             DENISE
4238   C             ALONZO
4239   C             ALONZO
4240   B             DUANE
4241   B             DUANE
4242   A             GAYNETTE
4243   B             GAYNETTE
4244   H             ELIJAH
4245   H             ELIJAH
4246   F             JANICE
4247   F             JANICE
4248   B             VIDA
4249   G             VIDA
4250   F             JAMES
4251   F             JAMES
4252   E             CHERI
4253   M             CHERI
4254   O             ROSE
4255   V             ROSE
4256   J             RITA
4257   J             RITA
4258   R             VERONICA
4259   S             VERONICA
4260   K             DOLORES
4261   K             DOLORES
4262   M             ANGELA
4263   T             ANGELA
4264   L             JACQUELYN
4265   L             JACQUELYN
4266   T             DERRICK
4267   T             DERRICK
4268   C             VERA
4269   C             VERA
4270   W             WILLARD
4271   W             WILLARD
4272   M             LISA
4273   R             LISA
4274   J             GREGORY
4275   J             GREGORY
4276   P             SARAH
4277   S             SARAH
4278   M             GILBERT
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           C              D
4279   M             GILBERT
4280   A             GENESTA
4281   W             GENESTA
4282   N             STEPHAN
4283   N             STEPHAN
4284   R             ARTHUR
4285   R             ARTHUR
4286   T             TIERRA
4287   T             TIERRA
4288   K             GERALDNETTA
4289   W             GERALDNETTA
4290   T             CAROL
4291   T             CAROL
4292   H             CRYSTAL
4293   J             CRYSTAL
4294   B             CHELONA
4295   B             CHELONA
4296   J             ROBIN
4297   R             ROBIN
4298   G             LINDA
4299   W             LINDA
4300   S             BARBARA
4301   W             BARBARA
4302   L             HARRIET
4303   L             HARRIET
4304   M             LINDA
4305   T             LINDA
4306   B             SANDRA
4307   J             SANDRA
4308   R             TERRELL
4309   R             TERRELL
4310   B             SCHARISSE
4311   F             SCHARISSE
4312   B             LEE
4313   C             LEE
4314   S             MELODY
4315   S             MELODY
4316   S             JANE
4317   W             JANE
4318   S             GWENELLE
4319   S             GWENELLE
4320   P             TONYA
4321   T             TONYA
4322   H             DION
4323   K             DION
4324   C             MILTON
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           C              D
4325   C             MILTON
4326   M             CYNTHIA
4327   M             CYNTHIA
4328   G             LINDA
4329   S             LINDA
4330   L             MARY
4331   M             MARY
4332   B             MICHAEL
4333   B             MICHAEL
4334   C             DEBORAH
4335   W             DEBORAH
4336   T             HARRY
4337   T             HARRY
4338   S             FINLANDIA
4339   S             FINLANDIA
4340   H             KARAN
4341   P             KARAN
4342   C             LESLEY
4343   R             LESLEY
4344   F             DARRELL
4345   F             DARRELL
4346   B             CHARLOTTE
4347   B             CHARLOTTE
4348   B             GAIL
4349   M             GAIL
4350   M             GAIL
4351   M             SHANITA
4352   P             SHANITA
4353   R             TRACY
4354   R             TRACY
4355   S             JONATHAN
4356   S             JONATHAN
4357   R             SHARON
4358   S             SHARON
4359   H             MICHELE
4360   P             MICHELE
4361   H             VANESSA
4362   M             VANESSA
4363   B             MINYON
4364   S             MINYON
4365   D             SANDRA
4366   K             SANDRA
4367   H             MAGGIE
4368   Y             MAGGIE
4369   R             YOLANDA
4370   T             YOLANDA
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           C              D
4371   W             JAMES
4372   W             JAMES
4373   H             GLENDA
4374   H             GLENDA
4375   C             CHRISTOPHER
4376   L             CHRISTOPHER
4377   W             JACQUELYN
4378   W             JACQUELYN
4379   S             ARCHIE
4380   S             ARCHIE
4381   C             OLGA
4382   G             OLGA
4383   R             SHANI
4384   S             SHANI
4385   W             SONJA
4386   W             SONJA
4387   B             AARON
4388   B             AARON
4389   H             DEWANDA
4390   H             DEWANDA
4391   G             TONJA
4392   M             TONJA
4393   W             LOUIE
4394   W             LOUIE
4395   B             LEOTIS
4396   O             LEOTIS
4397   D             TERRI
4398   D             TERRI
4399   B             JOYCELYN
4400   M             JOYCELYN
4401   E             CLAUDIA
4402   M             CLAUDIA
4403   F             TANYA
4404   S             TANYA
4405   F             ELAINE
4406   F             ELAINE
4407   D             ARTHUR
4408   D             ARTHUR
4409   R             INDY‐JAH
4410   R             INDY‐JAH
4411   B             ARTHUR
4412   B             ARTHUR
4413   C             BARBARA
4414   D             BARBARA
4415   J             ALTHEA
4416   S             ALTHEA
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           C              D
4417   P             SADIE
4418   P             SADIE
4419   S             TOMI
4420   S             TOMI
4421   T             MICHELLE
4422   T             MICHELLE
4423   S             AUBREY
4424   S             AUBREY
4425   S             PATRICIA
4426   S             PATRICIA
4427   G             BRUCE
4428   G             BRUCE
4429   R             JAMES
4430   R             JAMES
4431   C             ADRIA
4432   S             ADRIA
4433   B             CAROLYN
4434   R             CAROLYN
4435   W             NIKKI
4436   W             NIKKI
4437   I             DAVID
4438   I             DAVID
4439   G             BRENDA
4440   J             BRENDA
4441   H             VANESSA
4442   H             VANESSA
4443   M             ROSE
4444   M             ROSE
4445   M             JOSEPH
4446   M             JOSEPH
4447   G             ALICE
4448   M             ALICE
4449   B             LILLIE
4450   B             LILLIE
4451   D             LINDA
4452   S             LINDA
4453   R             DOMINIQUE
4454   R             DOMINIQUE
4455   A             ANDRE
4456   A             ANDRE
4457   W             ANTOINE
4458   W             ANTOINE
4459   K             DEMARIO
4460   K             DEMARIO
4461   M             TONYA
4462   M             TONYA
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           C              D
4463   S             NINA
4464   S             NINA
4465   M             ROSALIND
4466   M             ROSALIND
4467   M             ROSALIND
4468   P             RENEE
4469   S             RENEE
4470   S             LINDA
4471   S             LINDA
4472   D             REGINA
4473   G             REGINA
4474   P             CARRIE
4475   P             CARRIE
4476   W             GRACE
4477   W             GRACE
4478   H             EUNICE
4479   H             EUNICE
4480   P             CALVIN
4481   P             CALVIN
4482   C             CRYSTAL
4483   W             CRYSTAL
4484   G             KARRIE
4485   P             KARRIE
4486   R             DARWIN
4487   R             DARWIN
4488   L             WANDA
4489   M             WANDA
4490   W             CHRISTOPHER
4491   W             CHRISTOPHER
4492   L             KATHONIA
4493   L             KATHONIA
4494   K             SHAWN
4495   K             SHAWN
4496   B             RENEE
4497   G             RENEE
4498   G             RENEE
4499   O             DONNA
4500   O             DONNA
4501   J             SANDRA
4502   S             SANDRA
4503   S             KRISTIN
4504   S             KRISTIN
4505   G             CRISTYL
4506   G             CRISTYL
4507   D             CHRISTOPHER
4508   D             CHRISTOPHER
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           C              D
4509   L             LISABETTE
4510   L             LISABETTE
4511   F             CYNTHIA
4512   S             CYNTHIA
4513   C             LAMAR
4514   C             LAMAR
4515   P             WILLIE
4516   P             WILLIE
4517   B             MARQUITA
4518   M             MARQUITA
4519   M             YOLANDA
4520   M             YOLANDA
4521   J             CARLA
4522   K             CARLA
4523   S             ATARAH
4524   W             ATARAH
4525   J             TYRESE
4526   J             TYRESE
4527   D             MICHAEL
4528   D             MICHAEL
4529   F             CLIFFORD
4530   F             CLIFFORD
4531   H             ARNETIA
4532   W             ARNETIA
4533   H             MARY
4534   J             MARY
4535   W             SHAQUITTA
4536   W             SHAQUITTA
4537   P             KENDRICK
4538   P             KENDRICK
4539   G             TONI
4540   S             TONI
4541   K             TERRENCE
4542   K             TERRENCE
4543   D             JUDITH
4544   J             JUDITH
4545   B             JOHN
4546   B             JOHN
4547   M             MYRTIS
4548   W             MYRTIS
4549   C             LEOLA
4550   Z             LEOLA
4551   F             SHALONDA
4552   F             SHALONDA
4553   K             FREDRICK
4554   L             FREDRICK
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           C              D
4555   E             JEAN
4556   E             JEAN
4557   E             BOBBIE
4558   R             BOBBIE
4559   D             KAREN
4560   G             KAREN
4561   B             EASTER
4562   D             EASTER
4563   L             KENDRALA
4564   L             KENDRALA
4565   H             STANLEY
4566   H             STANLEY
4567   S             MICHAEL
4568   S             MICHAEL
4569   A             DONNA
4570   B             DONNA
4571   D             CARL
4572   D             CARL
4573   T             JANET
4574   T             JANET
4575   B             GLORIA
4576   P             GLORIA
4577   S             LESLIE
4578   W             LESLIE
4579   M             MARGARET
4580   M             MARGARET
4581   T             MIKOLAS
4582   T             MIKOLAS
4583   W             BARBARA
4584   W             BARBARA
4585   D             LARRY
4586   D             LARRY
4587   L             DAMON
4588   L             DAMON
4589   K             CHAMARA
4590   P             CHAMARA
4591   M             ROSZELL
4592   M             ROSZELL
4593   B             DOROTHY
4594   B             DOROTHY
4595   T             STACEY
4596   T             STACEY
4597   E             DENISE
4598   H             DENISE
4599   C             ROSALYN
4600   H             ROSALYN
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           C              D
4601   J             WILLIE
4602   J             WILLIE
4603   T             GREGORY
4604   T             GREGORY
4605   B             PAUL
4606   B             PAUL
4607   W             DONNA
4608   W             DONNA
4609   B             JILL
4610   P             JILL
4611   G             JAMES
4612   G             JAMES
4613   W             WILLIAM
4614   W             WILLIAM
4615   N             CYNTHIA
4616   S             CYNTHIA
4617   B             SHIRLEY
4618   F             SHIRLEY
4619   T             DEBRA
4620   W             DEBRA
4621   M             THOMAS
4622   M             THOMAS
4623   B             KRYSTAL
4624   R             KRYSTAL
4625   P             LATONYA
4626   P             LATONYA
4627   B             JACQUELINE
4628   L             JACQUELINE
4629   M             MARGARET
4630   M             MARGARET
4631   K             MATTIE
4632   K             MATTIE
4633   S             TAYLOR
4634   S             TAYLOR
4635   F             CASANDRA
4636   F             CASANDRA
4637   M             DELISA
4638   R             DELISA
4639   H             LAVON
4640   H             LAVON
4641   J             TERRY
4642   J             TERRY
4643   D             MIA
4644   M             MIA
4645   R             NICHOLAS
4646   R             NICHOLAS
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           C              D
4647   S             CHRISTOPHER
4648   S             CHRISTOPHER
4649   B             HERSHELL
4650   B             HERSHELL
4651   J             THELMA
4652   L             THELMA
4653   P             VELMA
4654   T             VELMA
4655   W             FRANK
4656   W             FRANK
4657   B             CORA
4658   J             CORA
4659   W             SEAN
4660   W             SEAN
4661   W             MELVIN
4662   W             MELVIN
4663   E             ADDIE
4664   E             ADDIE
4665   E             LEWIS
4666   E             LEWIS
4667   L             RAYMOND
4668   L             RAYMOND
4669   S             VELMA
4670   T             VELMA
4671   B             ROSALIND
4672   Y             ROSALIND
4673   C             JEANETTE
4674   S             JEANETTE
4675   B             SHAWANA
4676   B             SHAWANA
4677   C             YAEL
4678   C             YAEL
4679   M             EMANUEL
4680   M             EMANUEL
4681   C             QUEEN
4682   S             QUEEN
4683   F             ANTHONY
4684   F             ANTHONY
4685   A             DIANE
4686   D             DIANE
4687   H             CYNTHIA
4688   T             CYNTHIA
4689   C             KAREN
4690   R             KAREN
4691   O             KIM
4692   O             KIM
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           C              D
4693   M             AUDREY
4694   M             AUDREY
4695   B             JOY
4696   J             JOY
4697   M             YOLANDA
4698   T             YOLANDA
4699   E             SARAH
4700   E             SARAH
4701   M             RAESHAWN
4702   M             RAESHAWN
4703   C             ANDRE
4704   C             ANDRE
4705   A             ROBERT
4706   S             ROBERT
4707   A             TIERRA
4708   A             TIERRA
4709   R             BETTY
4710   R             BETTY
4711   L             JEFFERINE
4712   L             JEFFERINE
4713   R             MITCHELL
4714   R             MITCHELL
4715   P             VIRGINIA
4716   P             VIRGINIA
4717   B             SAKINA
4718   R             SAKINA
4719   W             DEBRA
4720   W             DEBRA
4721   S             SHAWN
4722   Y             SHAWN
4723   T             REBECCA
4724   W             REBECCA
4725   H             EVELYN
4726   H             EVELYN
4727   W             MARTEZ
4728   W             MARTEZ
4729   S             JOHN
4730   S             JOHN
4731   B             SHERYL
4732   D             SHERYL
4733   D             VICKI
4734   G             VICKI
4735   B             HENRIETTA
4736   R             HENRIETTA
4737   A             HECTOR
4738   A             HECTOR
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           C              D
4739   H             KENYA
4740   J             KENYA
4741   S             RUTH
4742   S             RUTH
4743   T             CHRISTINA
4744   T             CHRISTINA
4745   B             KRYSTAL
4746   H             KRYSTAL
4747   J             NIKITA
4748   J             NIKITA
4749   N             CORTLAND
4750   N             CORTLAND
4751   B             DEBORAH
4752   H             DEBORAH
4753   P             KENNETH
4754   P             KENNETH
4755   L             PATRICIA
4756   S             PATRICIA
4757   F             RAMONA
4758   M             RAMONA
4759   M             LOVIE
4760   M             LOVIE
4761   B             LINDA
4762   M             LINDA
4763   M             LINDA
4764   P             RAVONDA
4765   P             RAVONDA
4766   T             MARK
4767   T             MARK
4768   M             IRIS
4769   M             IRIS
4770   D             STEFON
4771   D             STEFON
4772   A             SHIRLEY
4773   A             SHIRLEY
4774   B             TAMMIE
4775   B             TAMMIE
4776   D             CAROLYN
4777   D             CAROLYN
4778   W             LARRY
4779   W             LARRY
4780   B             JACQUELINE
4781   D             JACQUELINE
4782   B             DOROTHY
4783   P             DOROTHY
4784   R             SANDRA
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               C              D
4785   S                 SANDRA
4786   D                 BLENDIA
4787   W                 BLENDIA
4788   L                 ADRENA
4789   L                 ADRENA
4790
4791
4792   Maiden/Married              1015
4793   Middle Name                  353
4794   Duplicate                    301
4795   DOB                          121
4796   Triplicate                    18
4797   Clerical Typo                289
4798   Multiple Issues              277
4799   Gender                        10
4800   Total                       2384
4801
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Kaylan Phillips

From:                              Kaylan Phillips
Sent:                              Monday, November 11, 2019 12:07 PM
To:                                'Gina Avery-Walker'; Janice Winfrey; George Azzouz
Cc:                                Noel Johnson
Subject:                           RE: Follow-up regarding Detroit's voter roll list maintenance


Ms. Avery‐Walker,

I did not hear back from you last week to confirm a time for our visit this Friday, November 15, 2019. As I mentioned,
we prefer a morning start time.

Thank you,

Kaylan Phillips

From: Gina Avery‐Walker <averyg@detroitmi.gov>
Sent: Tuesday, November 5, 2019 9:12 AM
To: Kaylan Phillips <kphillips@PublicInterestLegal.org>; Janice Winfrey <winfreyj@detroitmi.gov>; George Azzouz
<azzouzg@detroitmi.gov>
Cc: Noel Johnson <njohnson@PublicInterestLegal.org>
Subject: RE: Follow‐up regarding Detroit's voter roll list maintenance

Good Morning,

I will check my colleagues schedule to see whose available and will get back with you before the end of the week to
confirm.

Thanks

Gina Avery‐Walker, BBA CERA
Deputy Director of Elections
2978 W. Grand Blvd.
Detroit, MI. 48202
Office: 313 876‐0221
Fax: 313 876‐0053

From: Kaylan Phillips [mailto:kphillips@PublicInterestLegal.org]
Sent: Monday, November 04, 2019 5:25 PM
To: Janice Winfrey; George Azzouz; Gina Avery‐Walker
Cc: Noel Johnson
Subject: RE: Follow‐up regarding Detroit's voter roll list maintenance

Ms. Winfrey, Mr. Azzouz, and Ms. Avery‐Walker,

This is in regards to the letter we sent on September 13, 2019 and the follow‐up email sent on October 10, 2019. To
date, we have not received a response of any kind.


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In order to avoid further delay, we have made arrangements to visit your office on Friday, November 15, 2019 for a
follow‐up meeting. We request a morning start time.

Thank you,

Kaylan Phillips



From: Noel Johnson
Sent: Thursday, October 10, 2019 1:21 PM
To: 'winfreyj@detroitmi.gov' <winfreyj@detroitmi.gov>; 'azzouzg@detroitmi.gov' <azzouzg@detroitmi.gov>;
'averyg@detroitmi.gov' <averyg@detroitmi.gov>
Cc: Kaylan Phillips <kphillips@PublicInterestLegal.org>
Subject: RE: Follow‐up regarding Detroit's voter roll list maintenance

Good afternoon, Ms. Winfrey.

I am following up on the email sent by my colleague about a month ago. Can you please provide an update on your
progress or intended plans for the voter roll material we submitted. We would be happy to discuss in person or via
telephone.

Thank you,

Noel Johnson

From: Kaylan Phillips <kphillips@PublicInterestLegal.org>
Sent: Friday, September 13, 2019 5:42 PM
To: 'winfreyj@detroitmi.gov' <winfreyj@detroitmi.gov>; 'azzouzg@detroitmi.gov' <azzouzg@detroitmi.gov>;
'averyg@detroitmi.gov' <averyg@detroitmi.gov>
Subject: Follow‐up regarding Detroit's voter roll list maintenance

Ms. Winfrey,

Please see the attached letter and spreadsheets. This is a follow‐up to our visit with Mr. Azzouz and Ms. Avery‐Walker
on July 30, 2019. Please let me know if you have any questions or concerns.

Thank you,

Kaylan Phillips


Kaylan L. Phillips
Litigation Counsel
Public Interest Legal Foundation
32 E. Washington Street, Suite 1675
Indianapolis, IN 46204
(317) 203-5599
kphillips@publicinterestlegal.org
www.publicinterestlegal.org

The above communication is confidential and may be protected by the attorney-client privilege and/or

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the work product doctrine. If you believe you received this email by mistake, please do not read it,
notify the sender by return email as soon as possible, and erase or delete the message.

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To the extent the preceding message contains advice relating to a federal tax issue, unless expressly
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recipient or any other taxpayer, for the purpose of avoiding federal tax penalties, and was not written
to support the promotion or marketing of any transaction or matter discussed herein.




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